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              STATE OF RHODE ISLAND                                                SUPERIOR COURT
              KENT, SC
              ____________________________________
                                                  :
              REVITY EPC, LLC;                    :
              SOLAR ENERGY EPC, LLC,              :
                                                  :
                          Plaintiffs,             :
                                                  :
                          v.                      :                         C.A. No. KC- 2021-0144
                                                  :
              COLONY INSURANCE COMPANY,           :
                                                  :
                          Defendant.              :
              ____________________________________:

                                                        COMPLAINT

                     Plaintiffs, Revity EPC, LLC (“Revity EPC”) and Solar Energy EPC, LLC (“Solar EPC”)

              hereby file this Complaint against Defendant, Colony Insurance Company (“CIC” or “Defendant”)

              and allege as follows:

                                                      INTRODUCTION

                     1.      This action for declaratory judgment, breach of contract and violation of Rhode

              Island’s bad faith insurance practices statute arises out of Plaintiffs’ claim for insurance coverage

              under a commercial general liability policy sold to Plaintiffs by CIC.

                     2.      Commercial general liability policies cover costs and damages incurred by a

              policyholder as a result of property damage and bodily injury.

                     3.      Revity EPC is in the engineering, procurement and construction business and,

              through 2019 and 2020, served as the general contractor to Southern Sky Renewable Energy RI-

              Alton Rd-Hopkinton, LLC (“Southern Sky”) to provide design, engineering, procurement,

              installation and related services for an approximately 17.55 MWdc (megawatt direct current) fixed




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              tilt, ground mounted solar photovoltaic electric generation facility located in Hopkinton, Rhode

              Island.

                        4.   Prior to Revity EPC, in 2019, Solar EPC served as the general contractor for

              Southern Sky to provide those same design, engineering, procurement, installation and related

              services for the Hopkinton facility until Solar EPC assigned its duties and responsibilities to Revity

              EPC.

                        5.   During the relevant period of time, the Plaintiffs maintained a General Liability

              Bodily Injury and Property Damage Policy with CIC which provides coverage for sums that the

              insureds become legally obligated to pay as damages due to “bodily injury or property damage

              that takes place during the policy period and is caused by an occurrence in the coverage territory.”

              (Emphasis omitted).

                        6.   An electrical subcontractor, Mass. Electric Construction Co. (“MECC”), was

              engaged by the Plaintiffs to, inter alia, construct, install and test the solar panels and supporting

              equipment to be used in Southern Sky’s solar photovoltaic electric generation facility.

                        7.   Following MECC’s work, Plaintiffs discovered that a significant portion of the

              panels had sustained backside scratches causing damage to the solar cells, lower panel output and

              hot spots, significant safety hazard, and risk serious long-term issues like ground faults. The

              damage is estimated to cost at least $3.1 million to repair, not including third party fees in

              connection with Plaintiffs’ investigation of the damage.

                        8.   On September 21, 2020, Plaintiffs, through their insurance brokers, filed a claim

              with CIC for coverage under its commercial general liability policy with CIC. In response, CIC

              has issued two reservation of rights letters citing numerous exclusions that it believes may apply

              to bar coverage for the claim.



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                                             PARTIES AND JURISDICTION

                     9.       Revity EPC is a limited liability company organized under the laws of Rhode Island

              with its principal place of business located at 117 Metro Center Blvd., Suite 1007 in Warwick,

              Rhode Island.

                     10.      Solar EPC is a limited liability company organized under the laws of Rhode Island

              with its principal place of business located at 117 Metro Center Blvd., Suite 1007 in Warwick,

              Rhode Island.

                     11.      Colony Insurance Company is a corporation organized under the laws of Virginia

              with its principal place of business at 8720 Stony Point Parkway, Suite 400 in Richmond, Virginia.

                     12.      This Court has jurisdiction over this action because Revity EPC is incorporated

              under the laws of Rhode Island, with its principal place of business in Rhode Island, and because,

              pursuant to Rhode Island General Laws § 8-2-14, the amount in controversy exceeds the sum of

              ten thousand dollars ($10,000).

                     13.      Venue is proper in this Court, pursuant to Rhode Island General Laws § 9-4-4,

              because Plaintiffs are located in Kent County.

                     14.      All conditions precedent to coverage and recovery by Plaintiffs have been

              performed and/or occurred.

                                                           FACTS

                     15.      Southern Sky is a Rhode Island limited liability company in the business of owning

              and operating renewable energy (more specifically, solar energy) generation facilities located in

              Rhode Island. To that end, Southern Sky, in May of 2019, engaged Solar EPC to serve as a general

              contractor to provide design, engineering, procurement, installation and related services for the

              construction of an approximately 17.55 MWdc fixed tilt, ground mounted solar photovoltaic



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              electric generation facility on a parcel of land on Alton Bradford Road in Hopkinton, Rhode Island

              (the “Project Site”).

                     16.     On March 1, 2019, Solar EPC and Southern Sky executed the Solar System

              Engineering, Procurement and Construction Agreement (“EPC Agreement”).

                     17.     On May 29, 2019, Solar EPC executed a Purchase Order for 43,650 solar panel

              modules to be manufactured and delivered to the Project Site by LG Electronics USA. The

              Purchase Order Sum was $9,192,690.

                     18.     Under the EPC Agreement, ownership of and title to the solar panels transferred

              immediately to Southern Sky.

                     19.     On June 12, 2019, Solar Energy executed a Solar System Electrical Installation

              Subcontract with MECC pursuant to which MECC was obligated to perform, inter alia, “the

              construction, installation and testing” of the solar panel modules at the Project Site as well as the

              supporting equipment to be used in Southern Sky’s solar photovoltaic electric generation facility.

                     20.     Delivery of the solar panel modules to the Project Site began in the late summer of

              2019 and MECC completed its installation in December of 2019.

                     21.     On November 12, 2019, Revity EPC and Southern Sky executed an Amended and

              Restated Solar System Engineering, Procurement and Construction Agreement (“Amended EPC

              Agreement”) pursuant to which Revity EPC took over as the general contractor.

                     22.     The Amended EPC Agreement contained the following indemnification provision:

                     Contractor’s Indemnity. Contractor shall fully indemnify, save, hold harmless
                     and defend Owner, the Financing Parties and Landlord from and against any and
                     all costs, claims, and expenses (“Indemnity Claims”) incurred by Owner, the
                     Financing Parties, or Landlord in connection with or arising from any claim by a
                     Third Party for physical damage to or physical destruction of property, or death of
                     or bodily injury to any Person, but only to the extent directly caused by the
                     negligence or willful misconduct of Contractor or its agents, Subcontractors, or
                     employees or others under Contractor’s control; provided, however, that


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                    Contractor’s obligations shall not extend to Indemnity Claims, demands, lawsuits
                    or actions for liability to the extent attributable to the negligence or willful
                    misconduct of Owner, the Financing Parties or Landlord. Notwithstanding the
                    foregoing, the maximum aggregate liability of Contractor for the payment of claims
                    for indemnification made pursuant to this Section 14.1 shall be limited to fifty
                    percent (50%) of the Contract Price.

             Amended EPC Agreement at § 14.1 (emphases in original).

                    23.    On November 12, 2019, Revity EPC and Solar EPC executed an Assignment and

             Assumption Agreement which contained the following indemnification provision:

                    Assignee shall indemnify, defend, and hold Assignor harmless from any and all
                    costs, claims, demands, liabilities, damages, and actions arising from or related to
                    the EPC Agreement, or the failure of Assignee to comply with the terms and
                    conditions thereof, from the Effective Date and at any time thereafter. Assignor
                    shall indemnify, defend, and hold Assignee harmless from any and all costs, claims,
                    demands, liabilities, and actions arising from or related to the EPC Agreement, or
                    the failure of Assignor to comply with the terms and conditions thereof, prior to the
                    Effective Date.

             Assignment and Assumption Agreement at § 2.4.

                    24.    In late January of 2020, representatives of Southern Sky discovered issues with the

             solar module panels to include punctures and scratching in the backside of the panels appears as

             follows:




                    25.     On January 23, 2020, Acuity Power Group, Inc. (“Acuity”) headquartered in

             Lawrence, Massachusetts, delivered an Issue Log Report, observing that “PV [photovoltaic]

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             modules found exhibiting a ‘snail trail’ type phenomenon on front side; and with some modules

             this correlated with significant scratch on backsheet” which “seems to indicate cracked or broken

             cells from backsheet scratch * * *.”

                    26.     In February of 2020, Southern Sky gave notice to the panel manufacturer (LG

             Electronics USA) of the panel damages and LG Electronics USA began investigating the damage.

                    27.     On July 7, 2020, LG Electronics USA issued a 44-page Report which concluded

             that the majority of the damage had occurred during the installation process.

                    28.     LG’s Report explained that the microcracks occurred in modules with different

             pallet identification numbers and different production dates which LG Electronics USA opined

             indicated that the microcracks were not caused by an error occurring during any particular

             production run but rather the installation process.

                    29.     Acuity proceeded through a more exhaustive analysis of the panel field and, on

             September 3, 2020, issued a 108 page report (“Acuity Report”) which concluded that 23.1% of the

             sampled modules had backside scratches which created microcracks on the panels and 14% had

             backside scratches that had resulted in cracked solar cells and posed significant risk of panel

             degradation and safety hazard.

                    30.     Acuity sampled 962 modules from each array in the field (A1, A2, B1, B2, C1 and

             C2) to determine the quantity and classification of the modules damaged by backside scratches

             and punctures and “to provide a rough frequency of occurrence and severity” of the damage.

                    31.     Acuity also analyzed several batches of the spare modules on Project Site that were

             not taken out of the box or handled. They discovered no scratches on any of those modules.




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                    32.     Based on Acuity’s conclusion that 23.1% of the panels studied have structural

             maladies, and extrapolating that figure across the 43,342 panels installed by MECC at the Project

             Site, the number of damaged panels may be approximately 10,012 panels.

                    33.     Each panel costs $212.19 with labor costs per panel estimated at $100 and so the

             costs associated with replacing the damaged panels approximately $3,125,646.28.

                    34.     On December 29, 2020, Acuity issued a supplemental correspondence regarding

             the implications of the solar panel module backsheet scratches for solar system safety and

             performance.

                    35.     In that correspondence, Acuity stated that “PV module backsheet scratches and

             cracks, as well as any associated PV cell cracks where impacts may have occurred, have the

             potential to cause both safety and energy performance issues, and the likelihood of experiencing

             these potential issues may increase over time.”

                    36.     Acuity continued that “[s]ignificant penetration through the backsheet from a

             scratch may compromise the insulating effects of the backsheet, and allow electrical leakage to the

             module frame which could result in a safety hazard, particularly in wet conditions which occur

             frequently in New England” and “moisture ingress through compromised backsheets may also

             likely allow vapor inside the PV module, which can accumulate and cause leakage current to reach

             the module frame.”

                    37.     Acuity further opined that “[i]n addition to safety hazards, inverter fault detection

             may also trip, causing downtime and energy production loss” and “[m]oisture ingress inside the

             PV module may have a corrosive effect in the metallic components within the module, such as the

             solder on the silver busbars and other metallic components.”




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                     38.     Southern Sky issued a formal, written demand notice to Revity EPC citing Revity

             EPC’s contractual and common law indemnity obligations on January 25, 2021.

                     39.     Revity EPC issued a formal, written demand notice to Solar EPC citing Solar EPC’s

             contractual and common law indemnity obligations on January 25, 2021.

                     40.     CIC issued Energy EPC, LLC the EnviroPACE Environmental Pollution &

             Casualty Exposures Policy (Policy No. PACE306698) with an effective period from February 1,

             2019 to February 1, 2020 (the “Policy” and attached hereto as Exhibit A).

                     41.     Solar EPC and Revity EPC are listed as Named Insureds on the Policy.

                     42.     Coverage Part 1A of the Policy (titled “General Liability Bodily Injury and

             Property Damage”) provides that CIC “will pay those sums that the insured becomes legally

             obligated to pay as damages because of bodily injury or property damage that takes place during

             the policy period and is caused by an occurrence in the coverage territory.” (Emphases in

             original).

                     43.     With respect to Coverage Part 1, the Policy defines “Property damage” as

             “[p]hysical injury to tangible property, including all resulting loss of use of that property” or “[l]oss

             of use of tangible property that is not physically injured” and defines “coverage territory” to

             include the United States of America.

                     44.     Plaintiffs, through their insurance broker, made a claim on the Policy on September

             21, 2020 by transmitting written notice to CIC representatives.

                     45.     On October 29, 2020, Jesse Russell, CIC’s senior technical claims specialist,

             transmitted a correspondence to Plaintiffs stating that CIC was reserving its rights under the Policy

             pending further investigation (the “Russell Correspondence” and attached hereto as Exhibit B).




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                    46.    In his correspondence, Mr. Russell cited a number of exclusions that CIC believed

             may apply to exclude coverage under the Policy for the damage to the solar panel modules.

                    47.    More specifically, Mr. Russell cited Exclusions (g), (h), (i) and (n).

                    48.    Exclusions (g), (h), (i), and (n) to Coverage Part 1 provide as follows:

                    The following exclusions apply to all Part 1 Coverages except where indicated. Part
                    1 Coverages do not apply to:

                           ***

                           g. Damage to Property
                              Property damage or environmental damage to:

                          (1) Property you own, rent, occupy, including any costs or expenses incurred
                              by you, or any other person, organization or entity, for repair,
                              replacement, enhancement, restoration or maintenance of such property
                              for any reason, including prevention of injury to a person or damage to
                              another’s property;
                          (2) Premises you sell, give away or abandon, if the property damage or
                              environmental damage arises out of any part of those premises;
                          (3) Property loaned to you;
                          (4) Personal property in the care, custody or control of the insured;
                          (5) That particular part of any real property on which you or any contractors
                              or subcontractors, whether working directly or indirectly on your behalf,
                              are performing operations, if the property damage or environmental
                              damage arises out of those operations; or
                          (6) That particular part of any property that must be restored, repaired or
                              replaced because your work was incorrectly performed on it.

                    Paragraphs (1), (3) and (4) of this Exclusions do not apply to property damage
                    (other than damage by fire) to premises, including the contents of such premises,
                    rented to you for a period of 7 or fewer consecutive days. A separate limit of
                    insurance applies to Damage to Premises Rented to You as described in section
                    XXI. LIMITS OF LIABILITY AND DEDUCTIBLE.

                    Paragraph (2) of this Exclusion does not apply if the premises are your work and
                    were never occupied, rented or held for rental by you.

                    Paragraphs (3), (4), (5) and (6) of this Exclusion do not apply to liability assumed
                    under a sidetrack agreement.

                    Paragraph (6) of this Exclusion does not apply to property damage or
                    environmental damage included in the products-completed operations hazard.


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                            h. Damage to Your Product
                               Property damage or environmental damage to your product,
                               arising or any part of it.

                            i. Damage to Your Work
                                Property damage or environmental damage to your work arising out
                                of it or any part of it and included in the products-completed operations
                                hazard.

                             This Exclusion does not apply if the damaged work or the work out of
                             which the damage arises was performed on your behalf by a subcontractor.

                            ***

                            n. Internal Expenses
                               Any costs, charges or expenses incurred by any insured for goods
                               supplied or services performed by any temporary workers, voluntary
                               workers, staff or salaried employees of the insured, its parent, subsidiary
                               or affiliate.

             Exhibit A (EPACE001-0415) at pp. 12-17 (emphases in original).

                    49.     The Russell Correspondence stated that “CIC must reserve its right to restrict or

             disclaim coverage to the extent that the facts do not satisfy the Insuring Agreement that ‘property

             damage’ was caused by an ‘occurrence’” and “[t]o the extent that the Energy EPC was performing

             operations on the damaged solar panels at issue, CIC must reserve its rights to disclaim coverage

             for such costs.” Exhibit B at p. 4.

                    50.     The Russell Correspondence continued that “[t]o the extent the damaged solar

             panels are determined to be the Insured’s product, CIC must reserve its rights to disclaim coverage

             for such costs” and CIC “reserve[d] the right to file a declaratory relief action to determine its

             rights and duties under the Policy.” Exhibit B at p. 5.

                    51.     On December 1, 2020, Plaintiffs’ representatives and CIC’s representatives

             conducted a conference call to discuss the status of the claim investigation. During this call, CIC

             suggested that CIC would continue its investigation to determine the extent of coverage.



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                    52.     On December 23, 2020, Attorney William L. Boesch of Sugarman, Rogers,

             Barshak & Cohen, P.C. transmitted a correspondence, on behalf of CIC, to the Plaintiffs “to

             provide an updated explanation of Colony’s assessment of the matter, and to request that

             [Plaintiffs] provide additional information needed to complete the coverage analysis” (the

             “Sugarman Correspondence” and attached hereto as Exhibit C).

                    53.     The Sugarman Correspondence stated that “the policy’s coverage would apply to a

             claim for damage to the solar panels only if the damage was caused by an ‘occurrence’—that is,

             an accident” and that “[i]t is widely recognized in insurance law that ‘a claim for faulty

             workmanship . . . is not an occurrence under a commercial general liability policy because a failure

             of workmanship does not involve the fortuity required to constitute an accident.” Exhibit C at p.

             4 (emphasis supplied).

                    54.     Attorney Boesch continued that “the policy makes clear that it does not apply to

             property damage ‘for which the insured is obligated to pay damages by reason of the obligation to

             perform under, or the assumption of liability in, a contract or agreement’” and “[i]n the event

             Southern Sky Alton Road were to assert a claim that an insured was liable under the EPC

             agreement for the Alton Bradford Road facility for damage to the solar panels, there would be no

             coverage.” Exhibit C at p. 4.

                    55.     The Sugarman Correspondence further stated that “[t]he policy also makes clear

             that it affords no coverage for property damage to an insured’s own ‘product.’—including any

             product that the insured ‘distributed,’ ‘sold,’ or ‘handled’” and “[t]o the extent an insured was

             involved in procurement of the solar panels for the Alton Bradford Road project, this exclusion

             could bar coverage.” Exhibit C at p. 5.




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                    56.     The Sugarman Correspondence also emphasized that “[p]rocurement and

             installation of the solar panels on the Alton Bradford Road project appears to have been part of an

             insured’s ‘work’ within the meaning of the policy, which defines ‘your work’ as ‘works or

             operations performed by you or on your behalf’” and “[t]hus, any claim involving an alleged

             deficiency in the handling and/or installation of the panels would appear likely to fall outside the

             policy’s coverage.” Exhibit C at p. 5.

                    57.     Plaintiffs responded to the Russell Correspondence and the Sugarman

             Correspondence on January 28, 2021 refuting the exclusions cited in each, providing documents

             as requested by the Sugarman Correspondence, and requesting confirmation of coverage within

             fourteen (14) days of the correspondence. (January 28, 2021 correspondence attached hereto as

             Exhibit D).

                    58.     Plaintiffs’ January 28 letter advised CIC that there are “safety hazards posed by the

             backside scratches include[ing] an increased risk of personal injury to personnel working at the

             Property” and that the Plaintiffs “have advised all such personnel of the issue and are undertaking

             a safety taping regime (as recommended by the engineers) to limit any risk; however, Colony’s

             continued refusal to replace these panels increases the risk of a serious personal injury at the

             Property.”

                    59.     The Plaintiffs’ letter explained that “Coverage 1A of the Policy entitled ‘General

             Liability Bodily Injury and Property Damage’ provides coverage for losses for which the insured

             becomes legally obligated to pay in connection with property damage caused by an occurrence”

             and that third party analysis concluded that “a significant portion of the panels installed at the

             Property in 2019 have microcracks resulting from backside scratches caused during the installation

             of the panels by MECC.”



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                    60.      The Plaintiffs further stated that the “damage to the solar panels is property damage

             that occurred on premises that the insureds do not own or rent and, moreover, Revity EPC’s work

             had been completed when the products were damaged during MEC’s installation” and further, the

             “solar panels are not products that were manufactured, sold, handled, distributed, altered or

             repaired by the insureds or ‘others trading in’ the insureds’ name” and thus the exclusions cited in

             the Russell Correspondence and the Sugarman Correspondence do not apply.

                    61.      CIC has not confirmed coverage as requested.

                                                    CAUSES OF ACTION

                                                     COUNT I
                                              DECLARATORY JUDGMENT

                    62.      Revity EPC repeats and re-alleges each and every allegation in this Complaint and

             incorporates each allegation in this Count, as if fully set forth herein.

                    63.      Pursuant to Rule 57 of the Rhode Island Superior Court Rules of Civil Procedure

             and the Rhode Island Uniform Declaratory Judgment Act (Rhode Island General Laws § 9-30-1,

             et seq.), a person with an interest in a written contract whose rights, status or other legal relations

             are affected may seek relief from the Superior Court to have determined any question of

             construction or validity arising under the contract and obtain a declaration of rights, status and

             other legal relations thereunder.

                    64.      An actual and justiciable controversy has arisen between Revity EPC and CIC

             regarding the availability of coverage under the Policy for Revity EPC’s claim.

                    65.      Accordingly, Revity EPC seeks a declaration from the Court that:

                          a. Revity EPC is an Insured under the Policy;

                          b. The various coverage provisions identified herein are triggered by Revity EPC’s

                             claim;


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                           c. No Policy exclusion applies to bar or limit coverage for Revity EPC’s claim; and

                           d. The Policy covers Revity EPC’s claim.

                                                      COUNT II
                                                 BREACH OF CONTRACT

                     66.      Revity EPC repeats and re-alleges each and every allegation in this Complaint and

             incorporates each allegation in this Court, as if fully set forth herein.

                     67.      The Policy is a valid and enforceable contract between Revity EPC and CIC.

                     68.      In the Policy, CIC agreed to cover sums that Revity EPC becomes legally obligated

             to pay as damages because of bodily injury or property damage that takes place during the policy

             period and is caused by an occurrence within the coverage territory.

                     69.      Southern Sky has notified Revity EPC that Revity EPC is legally obligated to pay

             damages as a result of backside scratches to the solar panels at the Project Site.

                     70.      No exclusions apply to bar coverage.

                     71.      Revity EPC complied with all applicable Policy provisions, including paying

             premiums and providing timely notice of its claim.

                     72.      Nonetheless, CIC has unjustifiably refused to indemnify Revity EPC for Revity

             EPC’s legal obligation in connection with damages to the solar panels at the Project Site.

                     73.      Revity EPC has suffered and continues to suffer damages as a result of CIC’s

             breach of the Policy.

                     74.      Revity EPC is entitled to damages as a result of CIC’s breach in an amount to be

             determined at trial, including pre- and post-judgment interest and any other costs and relief that

             this Court deems appropriate.




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                                            COUNT III
                       BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

                       75.   Revity EPC repeats and re-alleges each and every allegation in this Complaint and

             incorporates each allegation in this Count, as if fully set forth herein.

                       76.   CIC has denied Revity EPC’s claim for coverage under the Policy relating the

             losses associated with the damage to the solar panel modules.

                       77.   CIC failed to conduct a reasonable investigation of Revity EPC’s claim under the

             Policy and, therefore, CIC’s basis for its denial is unreasonable.

                       78.   CIC knew or was actually or implicitly aware of the lack of any reasonable basis to

             deny coverage.

                       79.   CIC acted with reckless disregard as to the unreasonableness of its denial.

                       80.   CIC breached its duty of good faith and fair dealing by failing to reasonably

             investigate Revity EPC’s claim and provide coverage.

                       81.   CIC’s denial of coverage constitutes bad faith.

                       82.   As a direct and proximate result of CIC’s bad faith, Revity EPC has suffered and

             continues to suffer damages.

                       83.   Revity EPC is entitled to an award of damages as a result of CIC’s bad faith in an

             amount to be determined at trial, including attorney’s fees, pre- and post-judgment interest and

             any other costs and relief that this Court deems appropriate.

                                                    COUNT IV
                                              DECLARATORY JUDGMENT

                       84.   As an alternative to Count I, Solar EPC repeats and re-alleges each and every

             allegation in this Complaint and incorporates each allegation in this Count, as if fully set forth

             herein.



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                       85.      Pursuant to Rule 57 of the Rhode Island Superior Court Rules of Civil Procedure

             and the Rhode Island Uniform Declaratory Judgment Act (Rhode Island General Laws § 9-30-1,

             et seq.), a person with an interest in a written contract whose rights, status or other legal relations

             are affected may seek relief from the Superior Court to have determined any question of

             construction or validity arising under the contract and obtain a declaration of rights, status and

             other legal relations thereunder.

                       86.      An actual and justiciable controversy has arisen between Solar EPC and CIC

             regarding the availability of coverage under the Policy for Solar EPC’s claim.

                       87.      Accordingly, as an alternative to Count I, Solar EPC seeks a declaration from the

             Court that:

                             a. Solar EPC is an Insured under the Policy;

                             b. The various coverage provisions identified herein are triggered by Solar EPC’s

                                claim;

                             c. No Policy exclusion applies to bar or limit coverage for Solar EPC’s claim; and

                             d. The Policy covers Solar EPC’s claim.

                                                        COUNT V
                                                   BREACH OF CONTRACT

                       88.      As an alternative to Count II, Solar EPC repeats and re-alleges each and every

             allegation in this Complaint and incorporates each allegation in this Court, as if fully set forth

             herein.

                       89.      The Policy is a valid and enforceable contract between Solar EPC and CIC.

                       90.      In the Policy, CIC agreed to cover sums that Solar EPC becomes legally obligated

             to pay as damages because of bodily injury or property damage that takes place during the policy

             period and is caused by an occurrence in the coverage territory.


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                       91.    Southern Sky has notified Solar EPC that it is legally obligated to pay damages as

             a result of backside scratches to the solar panels at the Project Site.

                       92.    No exclusions apply to bar coverage.

                       93.    Solar EPC complied with all applicable Policy provisions, including paying

             premiums and providing timely notice of its claim.

                       94.    Nonetheless, CIC has unjustifiably refused to indemnify Solar EPC for its legal

             obligation in connection to damages to the solar panels at the Project Site.

                       95.    Solar EPC has suffered and continues to suffer damages as a result of CIC’s breach

             of the Policy.

                       96.    As an alternative to Count II, Solar EPC is entitled to damages as a result of CIC’s

             breach in an amount to be determined at trial, including pre- and post-judgment interest and any

             other costs and relief that this Court deems appropriate.

                                            COUNT VI
                       BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

                       97.    As an alternative to Count III, Solar EPC repeats and re-alleges each and every

             allegation in this Complaint and incorporates each allegation in this Count, as if fully set forth

             herein.

                       98.    CIC has denied Solar EPC’s claim for coverage under the Policy relating the losses

             associated with the damage to the solar panel modules.

                       99.    CIC failed to conduct a reasonable investigation of Solar EPC’s claim under the

             Policy and, therefore, CIC’s basis for its denial is unreasonable.

                       100.   CIC knew or was actually or implicitly aware of the lack of any reasonable basis to

             deny coverage.

                       101.   CIC acted with reckless disregard as to the unreasonableness of its denial.


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                     102.    CIC breached its duty of good faith and fair dealing by failing to reasonably

             investigate Revity’s claim and provide coverage.

                     103.    CIC’s denial of coverage constitutes bad faith.

                     104.    As a direct and proximate result of CIC’s bad faith, Solar EPC has suffered and

             continues to suffer damages.

                     105.    As an alternative to Count III, Solar EPC is entitled to an award of damages as a

             result of CIC’s bad faith in an amount to be determined at trial, including attorney’s fees, pre- and

             post-judgment interest and any other costs and relief that this Court deems appropriate.

                                                        COUNT VII
                                                  R.I. GEN. LAWS § 9-1-33

                     106.    Plaintiffs repeat and re-allege each and every allegation in this Complaint and

             incorporate each allegation in this Court, as if fully set forth herein.

                     107.    The acts and omissions of CIC as complained in this Complaint, and also yet to be

             discovered in this matter, constitute bad faith under R.I. Gen. Laws § 9-1-33.

                     108.    Plaintiffs have sustained damages due to the legal obligations to pay for losses

             associated with the backside scratches for which CIC has failed to comply with its contractual

             obligation and has failed to compensate Plaintiffs for their claims.

                     109.    Plaintiffs are entitled to compensatory damages and punitive damages as a result of

             CIC’s bad faith.

                     110.    Plaintiffs have been required to retain the services of attorneys to commence this

             action and are further entitled to attorneys’ fees and costs.

                                                 REQUESTS FOR RELIEF

                     WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in their favor

             and against CIC as follows:


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                     1.      A declaration from the Court that:

                          a. The various coverage provisions identified herein are triggered by Plaintiffs’ claim;

                          b. No Policy exclusion applies to bar or limit coverage for Plaintiffs’ claim; and

                          c. The Policy covers Plaintiffs’ claim.

                     2.      An award for special and consequential damages against CIC in an amount to be

             proved at trial, in excess of $10,000;

                     3.      An award of pre- and post-judgment interest, as provided by law;

                     4.      An award of attorneys’ fees and costs of suit incurred; and

                     5.      For other and further relief as the Court deems just and proper.

                                                      JURY DEMAND

                     Plaintiffs hereby demand a trial by jury on all claims so triable.



                                                                    Respectfully Submitted,

                                                                    REVITY EPC, LLC; SOLAR EPC, LLC


                                                                    /s/ William M. Dolan III
                                                                    William M. Dolan III (#4524)
                                                                    Nicholas L. Nybo (#9038)
                                                                    ADLER POLLOCK & SHEEHAN P.C.
                                                                    One Citizens Plaza, 8th Floor
                                                                    Providence, Rhode Island 02903
                                                                    Tel: (401) 274-7200
                                                                    Fax: (401) 751-0604
                                                                    wdolan@apslaw.com
                                                                    nnybo@apslaw.com




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                                        EXHIBIT A
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                                                                       POLICY DECLARATIONS


      COLONY INSURANCE COMPANY                                                                POLICY NUMBER:
      PO BOX 85122                                                                            PACE306698
      RICHMOND, VA 23285


      1.   NAMED INSURED(S) AND MAILING ADDRESS:                                              PRODUCER: 18003
           ENERGY EPC, LLC                                                                    CRC INSURANCE SERVICES, INC. - ME,
           117 METRO CENTER BLVD #2007                                                        SCARBOROUGH
           WARWICK, RI 02886                                                                  25 SPRING STREET, SUITE 100
                                                                                              SCARBOROUGH, ME 04074



      2.   POLICY PERIOD:               Inception Date: 02/01/2020                                     Expiration Date:        02/01/2021
                                        At 12:01 A.M. Standard Time at the mailing address shown above.

      3.   COVERAGES, COVERAGE LIMITS, DEDUCTIBLES AND RETROACTIVE DATES:

           In return for your payment of the premium, and in reliance upon the statements and representations in the
           insured(s) application(s) for this insurance, we agree with you to provide insurance subject to the terms of the
           policy.
           This policy consists of the following coverage parts for which a limit is indicated. If no limit is shown and the words
           “Not Purchased” appear for a Coverage, then that Coverage does not apply.

           Other limits of liability may be indicated on attached coverage forms or endorsements. Coverages may have
           separate deductibles. Please review any applicable endorsements for specific deductible application.

                                                                         Part 1 Coverages
           General Aggregate Limit                                                                                                        $2,000,000
           General Aggregate Cap                                                                                                          Unlimited
           Products-Completed Operations Aggregate Limit                                                                                  $2,000,000
           Each Occurrence Limit                                                                                                          $1,000,000
           Coverage 1A - General Liability Bodily Injury and Property Damage.......................................... Included
           Coverage 1D - Products Pollution Liability..................................................................................   Not Purchased
           Coverage 1E- Hostile Fire and Building Equipment....................................................................           Included
           Coverage 1B - Personal and Advertising Injury Limit..................................................................          $1,000,000
           Coverage 1C - Medical Expense Limit - any one person............................................................               $5,000
           Coverage 1F - Employee Benefits Administration Limit - any one employee.............................                           $1,000,000
           Coverage 1G - Crisis Management Costs Limit..........................................................................          $25,000
           Damage to Premises Rented to You Limit - any one premises..................................................                    $300,000

                 Deductible - Part 1 (Other than Coverages 1D, 1F):                                  $5,000                    Each Occurrence
                 Deductible - Coverage Part 1D:                                                      Not Purchased             Each Pollution Condition
                 Deductible - Coverage Part 1F:                                                      $1,000                    Each Wrongful Act

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                                                         Part 2 - Special Pollution Coverages
                                                  Coverages 2C and 2D are Claims Made and Reported
     Pollution Liability Aggregate Limit                                                                                                          SEE EPACE 110
     Each Pollution Condition Limit                                                                                                               $1,000,000
     Coverages 2A - 2E are subject to the above Each Pollution Condition Limit
     Coverage 2A - Contracting Services Pollution Coverage...................................................................... Included
     Coverage 2B - Transportation Pollution Liability.................................................................................... Included
     Coverage 2C - Pollution Liability for Waste Disposal Facilities and Scheduled Non-Owned
                                                                                                                                                      Included
      Locations………...................................................................................................................................
     Coverage 2D - Pollution Liability for Your Sites
             a. Bodily Injury and Property Damage - Scheduled Sites............................................................ Not Purchased
             b. On-Site Cleanup Costs - Scheduled Sites............................................................................... Not Purchased
             c. Off-Site Cleanup Costs - Scheduled Sites............................................................................... Not Purchased
             d. Emergency Expenses - Scheduled Sites................................................................................. Not Purchased
             e. Time-Element Pollution Conditions - Unscheduled Sites......................................................... Not Purchased
     Coverage 2E - Environmental Crisis Management Costs...................................................................... Not Purchased

     Part 2 Deductible: The applicable Deductible shown below applies to Each Pollution Condition
     Deductible - 2A:                    $5,000
     Deductible - 2B:                    $5,000                                               NOTICE
     Deductible - 2C:                    $5,000
                                                                                              THIS INSURANCE CONTRACT HAS BEEN PLACED WITH AN
     Deductible - 2D a:                  Not Purchased                                        INSURER NOT LICENSED TO DO BUSINESS IN THE STATE
     Deductible - 2D b:                  Not Purchased                                        OF RHODE ISLAND BUT APPROVED AS A SURPLUS LINES
     Deductible - 2D c:                  Not Purchased                                        INSURER. THE INSURER IS NOT A MEMBER OF THE RHODE
                                                                                              ISLAND INSURERS INSOLVENCY FUND. SHOULD THE
     Deductible - 2D d:                  Not Purchased                                        INSURER BECOME INSOLVENT, THE PROTECTION AND
     Deductible - 2D e:                  Not Purchased                                        BENEFITS OF THE RHODE ISLAND INSURANCE
                                                                                              INSOLVENCY FUND ARE NOT AVAILABLE.

     Retroactive Date - Coverage 2C:                            02/01/2017
     Retroactive Date - Coverage 2D:                            N/A



                                  Coverage 3 - Professional Liability - Claims Made and Reported
         Professional Liability Aggregate Limit                                                                                                 SEE EPACE 110
         Each Wrongful Act Limit                                                                                                                $1,000,000

         Deductible - Coverage 3:                $5,000                   Each Wrongful Act

         Retroactive Date - Coverage 3:                  02/01/2017




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      4.   PREMIUM:                                                                                        $ 15,131.00
              Premium Charge for Certified Acts of Terrorism Coverage                                      $ N/A
              (Per Policyholder Disclosure TRIA2002Notice attached); or

              Coverage for Certified Acts of Terrorism Rejected; Exclusion attached
              (Per Policyholder Disclosure TRIA2002Notice attached)

           Total Annual Premium - Payable at Inception                                                     $ 15,131.00

      5.   FORMS APPLICABLE TO ALL COVERAGES:
           See Form U001-Schedule of Forms and Endorsements


      THESE DECLARATIONS TOGETHER WITH THE INSURANCE COVERAGE FORM, AND ENDORSEMENTS, IF ANY,
      ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


      COUNTERSIGNED:                                   BY:
                                     Date                    Authorized representative or countersignature, whichever applies




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                                                    Privacy Policy
             Argo Group US, Inc. (“Argo Group”) recognizes the importance of maintaining the privacy of our
             customers and the confidentiality of each individual’s nonpublic personal information, including
             Social Security numbers. We take seriously the responsibility that accompanies our collection
             of nonpublic personal information, including Social Security numbers. Accordingly, Argo’s
             corporate policy is to protect the privacy and confidentiality of our consumers and their
             nonpublic personal information as required by law.

             Information Collection and Use

             In order to conveniently and effectively provide and service the insurance products we sell, we
             may collect and use Social Security numbers and other nonpublic personal information. As
             such, this policy does not prohibit the collection or use of Social Security numbers and
             nonpublic personal information where legally authorized and/or required. This policy complies
             with the requirements of the Gramm-Leach-Bliley Act (GLBA) and applicable federal and state
             laws and regulations implementing the act. Such laws impose certain obligations upon third
             persons and organizations with which we share nonpublic personal information of our
             consumers, customers, former customers, or claimants. Accordingly, we prohibit the
             unauthorized disclosure of Social Security numbers and other protected nonpublic personal
             information, except as legally required or authorized.

             Information Sharing and Disclosure

             Argo Group does not rent, sell or share your personally identifiable information with nonaffiliated
             third parties. Argo Group may, however, share personally identifiable information with third-party
             contractors. These third-party contractors are prohibited from using the information for purposes
             other than performing services for Argo Group. Argo Group may disclose your information to
             third parties when obligated to do so by law and to investigate, prevent, or take action regarding
             suspected or actual prohibited activities, including but not limited to fraud and situations
             involving the security of our operations and employees.

             Finally, Argo Group may transfer information, including any personally identifiable information,
             to a successor entity in connection with a corporate merger, consolidation, sale of all or a
             portion of its assets, bankruptcy, or other corporate change.

             Security

             In order to protect your nonpublic personal information, we limit access to nonpublic personal
             information by only allowing authorized personnel to have access to such information.
             Furthermore, we maintain physical, electronic and procedural security protections to safeguard
             the nonpublic personal information in our records. Documents that contain an individual’s
             protected information are destroyed before disposal; this destruction process includes the
             shredding of print and disposable media and deletion of electronic media. Argo Group has
             security measures in place to protect the loss, misuse and alteration of the information under
             our control. Our hardware infrastructure is housed in a controlled access facility that restricts
             access to authorized individuals. The network infrastructure is protected by a firewall and traffic
             is monitored and logged both on the firewall and servers. Sensitive administrative activities are
             carried out over secure, encrypted links between our offices and hosting facility. Administrative


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             access is limited not only to authorized employees but also to specific remote administration
             protocols and IP addresses. All employees with access to personally identifiable information
             have been advised of Argo Group’s security policies and practices. Argo Group will continue to
             conduct internal audits of its security systems and make all necessary enhancements to ensure
             the safety of the website and its users. No method of transmission over the Internet or method
             of electronic storage is 100% secure; therefore, while Argo Group uses commercially
             acceptable means to protect your information, we cannot guarantee absolute security.

             Any Argo Group employee who becomes aware of the inappropriate use or disclosure of Social
             Security numbers and other protected nonpublic personal information is expected to
             immediately report such behavior to the General Counsel for further action.

             Corrected/Updated Information

             This policy applies to certain insureds of Argo Group, including but not limited to worker’s
             compensation claimants. If you have any questions about this Privacy Policy, please contact:

                                                   General Counsel
                                                 Argo Group US, Inc.
                                                   P.O. Box 469011
                                               San Antonio, Texas 78246
                                                    (210) 321-8400

             *Note: Argo Group is the parent of Argonaut Insurance Company; Argonaut-Southwest
             Insurance Company; Argonaut-Midwest Insurance Company; Argonaut Great Central Insurance
             Company; Argonaut Limited Risk Insurance Company; ARIS Title Insurance Corporation; Select
             Markets Insurance Company; Colony Insurance Company; Colony Specialty Insurance
             Company; Peleus Insurance Company (fka Colony National Insurance Company); Rockwood
             Casualty Insurance Company; Somerset Casualty Insurance Company; Grocers Insurance
             Agency, Inc.; Central Insurance Management, Inc.; Alteris Insurance Services, Inc.; Trident
             Insurance Services, LLC; Commercial Deposit Insurance Agency, Inc.; Sonoma Risk
             Management, LLC; John Sutak Insurance Brokers, Inc.; Colony Management Services, Inc.;
             Argonaut Management Services, Inc.; and Argonaut Claims Management, LLC. This Privacy
             Policy applies to all companies and business produced or underwritten within Argo Group.




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                                               SIGNATURE PAGE

      IN WITNESS WHEREOF, the company issuing this policy has caused this policy to be signed by its President and its
      Secretary and countersigned (if required) on the Declarations page by a duly authorized representative of the company.
      This endorsement is executed by the company stated in the Declarations.


      Colony Insurance Company




                       President                                Secretary




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        FORMS APPLICABLE -          ENVIRONMENTAL POLLUTION & CASUALTY EXPOSURES (ENVIROPACE)
                                    POLICY DECLARATIONS

        ENVCNR-0916                 CANCELLATION
        ENVNOTICE-0615              IMPORTANT POLICYHOLDER INFORMATION
        EPACE001-0415               ENVIROPACE INSURANCE POLICY
        EPACE104-0714               NAMED INSURED ENDORSEMENT
        EPACE108-0714               MINIMUM EARNED PREMIUM ENDORSEMENT
        EPACE110-0714               AMENDED GENERAL AGGREGATE ENDORSEMENT
        EPACE115-0714               HIRED AUTO AND NON-OWNED AUTO LIABILITY INSURANCE
        EPACE119NY-0715             ACTION OVER EXCLUSION - NEW YORK
        EPACE186-0616               EXCLUSION - UNMANNED AIRCRAFT
        EPACE196-1016               EXCLUSION-RECORDING AND DISTRIBUTION OF MATERIAL OR
                                    INFORMATION IN VIOLATION OF LAW
        EPACE205-0318               EXCLUSION - CYBER INJURY
        EV165B-0115                 CERTIFIED ACTS OF TERRORISM AND OTHER ACTS OF TERRORISM
                                    EXCLUSION
        ILP001-0104                 U.S. TREASURY DEPT’S “OFAC” ADVISORY NOTICE TO POLICYHOLDERS
        PRIVACYNOTICE-0415          PRIVACY NOTICE
        SIGCIC-0817                 SIGNATURE PAGE
        TRIANOTICEENV-0115          POLICYHOLDER DISCLOSURE-NOTICE OF TERRORISM INSURANCE
                                    COVERAGE
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Reviewer: Lindsay Z. THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                            SERVICE OF SUIT
          If service of process is to be made upon the Company by way of hand delivery or courier service,
          delivery should be made to the Company’s principal place of business:

          Claims Manager
           Colony Insurance Company,
           Colony Specialty Insurance Company, or
           Peleus Insurance Company
           8720 Stony Point Parkway, Suite 400
           Richmond, Virginia 23235

          If service of process is to be made upon the Company by way of the U.S. Postal Service, the following
          mailing address should be used:

          General Counsel
           Colony Insurance Company,
           Colony Specialty Insurance Company, or
           Peleus Insurance Company
           P.O. Box 469011
           San Antonio, Texas 78246

          Where required by statute, regulation, or other regulatory directive, the Company appoints the
          Commissioner of Insurance, or other designee specified for that purpose, as its attorney for
          acceptance of service of all legal process in the state in any action or proceeding arising out of this
          insurance.

          The Commissioner or other designee is requested to forward process to the Company as shown
          above, or if required in his/her particular state, to a designated resident agent for service of process.


                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                    Coverages. Coverages 2A, 2B, 2C, 2D and 2E are referred to as the Part 2 Coverages.
                    Coverage 3 is Professional Liability coverage.


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                              i.     Material Published with Knowledge of Falsity
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Reviewer: Lindsay Z.                c. Dishonest, Fraudulent, Criminal or Malicious Act
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                                 f.    Inadequate Investment Performance/Advise Given with Respect to Participation
                                g.    Insufficiency of Funds
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Reviewer: Lindsay Z.                2. Specific Exclusions
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             Colony Specialty EnviroPACE Insurance Policy

             This Policy provides certain insurance coverages on an occurrence, claims-made and reported, or
             discovery basis. Various provisions in this Policy restrict coverage. Please read the entire policy
             carefully to determine rights, duties and what is and is not covered.

             Throughout this Policy the words and phrases that appear in bold have special meaning and are
             defined in section XXV. DEFINITIONS. The terms “we”, “us”, “our” and “insurer” refer to the
             Company providing this insurance. The terms “you” and “your” refer to the Named Insured shown in
             the Declarations and any other person or entity that qualifies as a Named Insured under this Policy.

             In consideration of the payment of the premium and any deductible, when due, and in reliance upon
             all the statements made in the Application, made part of this Policy, including any other
             supplemental materials and information submitted in connection with the Application, and subject to
             all the terms of this Policy, the Company agrees to provide insurance coverage as described herein:


             I.    COVERAGES

                    Each of the following coverages applies only if shown as purchased in the Declarations.
                    Coverages 1A, 1B, 1C, 1D, 1E, 1F and 1G are referred to as the Part 1 Coverages.
                    Coverages 2A, 2B, 2C, 2D and 2E are referred to as the Part 2 Coverages. Coverage 3 is
                    Professional Liability coverage.


             II.   COVERAGE 1A – GENERAL LIABILITY BODILY INJURY AND PROPERTY
                    DAMAGE

                    1.   Insuring Agreement
                         We will pay those sums that the insured becomes legally obligated to pay as damages
                         because of bodily injury or property damage that takes place during the policy period
                         and is caused by an occurrence in the coverage territory.

                    2.   Specific Exclusions
                         In addition to the exclusions in section IX. COMMON EXCLUSIONS – PART 1
                         COVERAGES, Coverage 1A does not apply to:

                           a.    Personal and Advertising Injury
                                 Bodily injury arising out of personal and advertising injury.

                           b.    Pollution

                                 1. Bodily injury, property damage, or any loss, cost, or expense arising out of
                                    any pollution condition; or

                                 2. Any costs, charges or expense arising out of any:

                                    (a)   Request, demand, order or statutory or regulatory requirement that any
                                          insured or others test for, monitor, clean up, remediate, remove,
                                          contain, treat, detoxify, or neutralize, or in any way respond
                                          to, or assess the effects of pollutant or a pollution condition; or
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                                     (b)   Claim or suit by or on behalf of a governmental authority for damages
                                           because of testing for, investigating, monitoring, cleaning up,
                                           remediation, removing, containing, treating, detoxifying, or
                                           neutralizing, or in any way responding to, or assessing the effects of,
                                           any pollutant or pollution condition.


             III.   COVERAGE 1B – PERSONAL AND ADVERTISING INJURY LIABILITY

                     1.   Insuring Agreement
                          We will pay those sums that the insured becomes legally obligated to pay as damages
                          because of personal and advertising injury caused by an offense that arises out of
                          your business and was committed during the policy period in the coverage territory.

                     2. Specific Exclusions
                        In addition to the exclusions in section IX. COMMON EXCLUSIONS – PART 1
                        COVERAGES, Coverage 1B does not apply to personal and advertising injury:

                            a.    Breach of Contract
                                  Arising out of a breach of contract, except an implied contract to use another’s
                                  advertising idea in your advertisement.

                            b.    Contractual Liability
                                  Arising out of a contract or agreement. This Exclusion does not apply to liability
                                  for damages that the insured would have in the absence of the contract or
                                  agreement.

                            c.    Criminal Acts
                                  Arising out of a criminal act committed by or at the direction of the insured.

                            d.    Electronic Chat Rooms or Bulletin Boards
                                  Arising out of an electronic chat room or bulletin board the insured hosts, owns,
                                  or over which the insured exercises any degree of control.

                            e.    Infringement of Copyright, Patent, Trademark or Trade Secret
                                  Arising out of infringement of copyright, patent, trademark, trade secret or other
                                  intellectual property rights. Under this Exclusion, such other intellectual property
                                  rights do not include use of another’s advertising idea in your advertisement.

                                  However, this Exclusion does not apply to infringement, in your advertisement,
                                  of any copyright, trade dress or slogan.

                            f.    Insureds in Media and Internet Type Businesses
                                  Committed by an insured whose business is: (i) advertising, broadcasting,
                                  publishing, telecasting; (ii) designing or determining content of web-sites for
                                  others; or (iii) an internet search, access, content or service provider.

                                  This Exclusion does not apply to subparagraphs a. through c. of the definition of
                                  personal and advertising injury in section XXV. DEFINITIONS.

                                  For the purposes of this Exclusion, the placing of frames, borders or links, or
                                  advertising, for you or others anywhere on the Internet, is not by itself,
                                  considered the business of advertising, broadcasting, publishing or telecasting.

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                           g.    Knowing Violation of Rights of Another
                                 Caused by or at the direction of the insured with the knowledge that the act
                                 would violate the rights of another and would inflict personal and advertising
                                 injury.

                           h.    Material Published Prior to Policy Period
                                 Arising out of oral or written publication of material whose first publication took
                                 place before the beginning of the policy period.

                           i.    Material Published with Knowledge of Falsity
                                 Arising out of oral or written publication of material, if done by or at the direction
                                 of the insured with knowledge of its falsity.

                           j.    Pollution
                                 Arising out of any pollution condition, or any loss, cost or expense arising out
                                 of any pollution condition.

                           k.    Quality, Performance or Conformance Failure
                                 Arising out of the failure of goods, products or services to conform with any
                                 statement of quality or performance made in your advertisement.

                           l.    Unauthorized Use of Another’s Name or Product
                                 Arising out of the unauthorized use of another’s name or product in your e-mail
                                 address, domain name or metatag, or any other tactics which are alleged to
                                 mislead another’s potential customers.

                           m.    Wrong Description of Prices
                                 Arising out of the wrong description of the price of goods, products or services
                                 stated in your advertisement.


             IV.    COVERAGE 1C – MEDICAL PAYMENTS

                    1.   Insuring Agreement
                         We will pay medical expenses for bodily injury caused by an accident on premises you
                         own or rent, or on ways next to such premises, or because of your operations, provided:
                         (i) the accident takes place during the policy period and in the coverage territory, (ii)
                         the medical expenses are incurred and reported to us within one year of the date of the
                         accident, and (iii) the injured person submits to examination, at our expense, by
                         physicians of our choice as often as we reasonably require.

                         We will make these payments, regardless of fault. We will pay reasonable expenses for:
                         (i) first aid administered at the time of an accident; (ii) necessary medical, surgical, x-ray
                         and dental services, including prosthetic devices; and (iii) necessary ambulance,
                         hospital, professional nursing and funeral services.

                    2.   Specific Exclusions
                         In addition to the exclusions in section IX. COMMON EXCLUSIONS – PART 1
                         COVERAGES, Coverage 1C does not apply to bodily injury:

                           a.    Any Insured
                                 To any insured, except volunteer workers.

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                           b.    Athletics Activities
                                 To a person injured while practicing, instructing or participating in any physical
                                 exercises or games, sports, or athletic activities or contests.

                           c.    Hired Person
                                 To any person hired to do work for or on behalf of any insured or a tenant of any
                                 insured.

                           d.    Injury on Normally Occupied Premises
                                 To any person injured on that part of premises you own or rent that the person
                                 normally occupies, including common areas related to such premises.

                           e.    Products-Completed Operations Hazard
                                 Included within the products-completed operations hazard.

                           f.    Workers’ Compensation and Similar Laws
                                 To a person, whether or not an employee of any insured, if benefits for the
                                 bodily injury are payable or must be provided under a workers’ compensation
                                 or disability benefits law or a similar law, irrespective of whether such benefits
                                 are actually paid to or recoverable by such person.


             V.    COVERAGE 1D – PRODUCTS POLLUTION LIABILITY

                    We will pay those sums that the insured becomes legally obligated to pay as damages
                    because of bodily injury, property damage or environmental damage that takes place
                    during the policy period and results from a pollution condition in the coverage territory,
                    provided the pollution condition is caused by your product, and the bodily injury,
                    property damage or environmental damage is included in the products-completed
                    operations hazard.


             VI.   COVERAGE 1E – HOSTILE FIRE AND BUILDING EQUIPMENT

                    We will pay those sums that the insured becomes legally obligated to pay as damages
                    because of bodily injury, property damage or environmental damage that takes place
                    during the policy period and is caused by an occurrence in the coverage territory,
                    provided:

                    1.   The bodily injury, property damage or environmental damage arises out of heat,
                         smoke, fumes, vapor or soot from a hostile fire; or

                    2.   The bodily injury is sustained within a building and arises out of heat, smoke, fumes,
                         vapor or soot produced by or originating from equipment that is used to heat, cool or
                         dehumidify the building, or that is used to heat water for personal use by the building’s
                         occupants or their guests.


             VII. COVERAGE 1F – EMPLOYEE BENEFITS ADMINISTRATION LIABILITY

                    1.   Insuring Agreement
                         We will pay those sums that the insured becomes legally obligated to pay as damages
                         because of a wrongful act in the administration of your employee benefits program,

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                             a.    the wrongful act takes place in the coverage territory and during the policy
                                   period; and

                             b.    your employee or a dependant or beneficiary of your employee makes a claim
                                   for damages resulting from such wrongful act.

                      2.   Specific Exclusions
                           In addition to the exclusions in section IX. COMMON EXCLUSIONS — PART 1
                           COVERAGES, Coverage 1F does not apply to:

                             a.    Available Benefits
                                   Any claim for benefits to the extent that such benefits are available, with
                                   reasonable effort and cooperation of the insured, from the applicable funds
                                   accrued in your employee benefits program, or other collectible insurance.

                             b.    Bodily Injury, Property Damage or Personal and Advertising Injury
                                   Bodily injury, property damage or personal and advertising injury.

                             c.    Dishonest, Fraudulent, Criminal or Malicious Act
                                   Damages arising out of any intentional, dishonest, fraudulent, criminal or
                                   malicious act, error or omission committed by any insured, including the willful or
                                   reckless violation of any statute.

                             d.    ERISA
                                   Damages for which any insured is liable because of the liability imposed on a
                                   fiduciary by the Employee Retirement Income Security Act of 1974, as now or
                                   hereafter amended, or by any similar federal, state or local laws.

                             e.    Failure to Perform a Contract
                                   Damages arising out of failure of performance of a contract by any insurer.

                             f.    Inadequate Investment Performance/Advice Given with Respect to
                                   Participation
                                   Any claim arising out of:

                                   (1)   Failure of any investment to perform;

                                   (2)   Errors in providing information on past performance of investment
                                         vehicles; or

                                   (3)   Advice given to any person with respect to that person’s decision to
                                         participate or not in any plan included in the employee benefits program.

                             g.    Insufficiency of Funds
                                   Damages arising out of an insufficiency of funds to meet any obligation under
                                   any plan included in the employee benefits program.

                             h.    Known Wrongful Act
                                   Any wrongful act known, prior to the inception date, by a responsible
                                   insured to have taken place in whole or in part.



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                                    Taxes, fines or penalties, including those imposed under ERISA, the Internal
                                    Revenue Code or any similar state or local law.

                              j.   Workers Compensation and Similar Laws
                                   Any claim arising out of your failure to comply with the mandatory provisions of
                                   any workers’ compensation unemployment compensation insurance, social
                                   security or disability benefits law or any similar law.


               VIII. COVERAGE 1G – CRISIS MANAGEMENT COSTS

                      1.   Insuring Agreement
                           We will pay the crisis management costs that result from a crisis management event,
                           providing the crisis management event:

                              a.   arises directly from your product, or a pollution condition, that has resulted,
                                   or is reasonably likely to result, in damages covered under Coverage 1D or 1E;

                              b.   commences during the policy period; and

                              c.   first becomes known to a responsible insured during the policy period and
                                   reported to us in writing as soon as possible, but in any event during the policy
                                   period or within thirty (30) days after the end of the policy period.

                           We will pay those crisis management costs you incur even if coverage hereunder is
                           still to be confirmed by us but such payments shall cease as soon as it becomes evident,
                           to either you or us, that this insurance does not apply. Crisis management costs are
                           not subject to any retention or deductible.

                      2.   Specific Exclusions
                           In addition to the exclusions in section IX. COMMON EXCLUSIONS – PART 1
                           COVERAGES, Coverage 1G does not apply to:

                              a.   Covered Under Coverage 2E
                                   Crisis management costs to which Coverage 2E (Environmental Crisis
                                   Management Costs) applies or is held to apply.


               IX.   COMMON EXCLUSIONS – PART 1 COVERAGES

                      1.   The following exclusions apply to all Part 1 Coverages except where indicated. Part 1
                           Coverages do not apply to:

                              a.   Aircraft, Auto or Watercraft
                                   Bodily injury, property damage or environmental damage arising out of the
                                   ownership, maintenance, use or entrustment to others of any aircraft, auto or
                                   watercraft owned or operated by or rented or loaned to any insured. Use
                                   includes operation and loading or unloading.

                                   This Exclusion applies even if the claims against an insured allege negligence
                                   or other wrongdoing in the supervision, hiring, employment, training or
                                   monitoring of others by that insured, if the occurrence which caused the bodily
                                   injury, property damage or environmental damage involved the ownership,

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                                   owned or operated by or rented or loaned to any insured.

                             Solely with respect to Coverage 1A, this Exclusion does not apply to:

                                   (1)   a watercraft while ashore on premises you own or rent;

                                   (2)   a watercraft you do not own that is:

                                         (a) less than 26 feet long; and

                                         (b) not being used to carry persons or property for a charge;

                                   (3)   parking an auto on, or on the ways next to, premises you own or rent,
                                         provided the auto is not owned by or rented or loaned to you or the
                                         insured;

                                   (4)   liability assumed under any insured contract for the ownership,
                                         maintenance or use of aircraft or watercraft;

                                   (5)   bodily injury or property damage arising out of:

                                         (a) the operation of machinery or equipment that is attached to, or part of,
                                             a land vehicle that would qualify under the definition of mobile
                                             equipment if it were not subject to a compulsory or financial
                                             responsibility law or other motor vehicle insurance law in the state
                                             where it is licensed or principally garaged; or

                                         (b) the operation of any of the machinery or equipment listed in
                                             subparagraph f. (2) or (3) of the definition of mobile equipment;

                                   (6)   the delivery of any solid or liquid product into a wrong receptacle or to a
                                         wrong address; or

                                   (7)   the erroneous delivery of one solid or liquid product for another by an
                                         auto.

                                         Paragraphs (6) and (7) of this exclusion only apply if the bodily injury or
                                         property damage occurs after such operations have been completed or
                                         abandoned at the site of such delivery.

                                         Operations which may require further service, maintenance, correction,
                                         repair or replacement at the wrong address or because of any error, defect
                                         or deficiency, but which are otherwise completed, will be deemed
                                         completed.

                             b.    Asbestos or Lead
                                   Bodily injury, property damage or environmental damage arising out of the
                                   presence, ingestion or inhalation of, or exposure to, asbestos or lead in any
                                   form.

                             c.    Contractual Liability
                                   Bodily injury, property damage, environmental damage or a wrongful act
                                   for which the insured is obligated to pay damages by reason of the obligation to

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Reviewer: Lindsay Z.                perform under, or the assumption of liability in
                                                                                   a contract or agreement. This
                                    Exclusion does not apply to liability for damages:

                                    (1)   That the insured would have in the absence of the contract or agreement;
                                          or

                                    (2)   Assumed in an insured contract, provided the bodily injury, property
                                          damage, environmental damage or wrongful act occurs subsequent to
                                          the execution of the insured contract. Solely for the purposes of liability
                                          assumed in an insured contract, reasonable attorney fees and necessary
                                          litigation expenses incurred by or for a party other than an insured are
                                          deemed to be damages because of bodily injury, property damage,
                                          environmental damage or wrongful act, provided:

                                          (a) Liability to such party for, or for the cost of, that party’s defense has
                                              also been assumed in the same insured contract; and

                                          (b) Such attorney fees and litigation expenses are for defense of that party
                                              against a civil or alternative dispute resolution proceeding in which
                                              damages to which this insurance applies are alleged.

                                     Regardless of how legal defense costs are treated elsewhere in this Policy,
                                     any coverage afforded under subparagraph (b) for reasonable attorney fees
                                     and necessary litigation expenses incurred by or for a party other than an
                                     insured shall reduce the applicable limits of liability in section XXI. LIMITS OF
                                     LIABILITY AND DEDUCTIBLE.

                                     This Exclusion does not apply to Coverage 1B (Personal and Advertising Injury
                                     Liability), which is subject to its own Contractual Liability exclusion.

                              d.    Covered by Project-Specific Insurance
                                    Your work if the loss is covered by any project-specific insurance available to
                                    the insured.

                              e.    Covered Under Part 2 Coverages
                                    Bodily injury, property damage or environmental damage to which any Part
                                    2 Coverage applies or is held to apply.

                              f.    Damage to Impaired Property or Property Not Physically Injured
                                    Property damage or environmental damage to impaired property or property
                                    that is not physically injured, arising out of:

                                    (1)   a defect, deficiency, inadequacy or dangerous condition in your product
                                          or your work; or

                                    (2)   a delay or failure by anyone acting on your behalf to perform a contract or
                                          agreement in accordance with its terms.

                                    This Exclusion does not apply to the loss of use of other property arising out of
                                    sudden and accidental physical injury to your product or your work after it has
                                    been put to its intended use.




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Reviewer: Lindsay Z.                g. Damage to Property
                                  Property damage or environmental damage to:

                                  (1)   Property you own, rent, or occupy, including any costs or expenses
                                        incurred by you, or any other person, organization or entity, for repair,
                                        replacement, enhancement, restoration or maintenance of such property
                                        for any reason, including prevention of injury to a person or damage to
                                        another’s property;

                                  (2)   Premises you sell, give away or abandon, if the property damage or
                                        environmental damage arises out of any part of those premises;

                                  (3)   Property loaned to you;

                                  (4)   Personal property in the care, custody or control of the insured;

                                  (5)   That particular part of any real property on which you or any contractors or
                                        subcontractors, whether working directly or indirectly on your behalf, are
                                        performing operations, if the property damage or environmental
                                        damage arises out of those operations; or

                                  (6)   That particular part of any property that must be restored, repaired or
                                        replaced because your work was incorrectly performed on it.

                                  Paragraphs (1), (3) and (4) of this Exclusion do not apply to property damage
                                  (other than damage by fire) to premises, including the contents of such
                                  premises, rented to you for a period of 7 or fewer consecutive days. A separate
                                  limit of insurance applies to Damage To Premises Rented To You as described
                                  in section XXI. LIMITS OF LIABILITY AND DEDUCTIBLE.

                                  Paragraph (2) of this Exclusion does not apply if the premises are your work
                                  and were never occupied, rented or held for rental by you.

                                  Paragraphs (3), (4), (5) and (6) of this Exclusion do not apply to liability
                                  assumed under a sidetrack agreement.

                                  Paragraph (6) of this Exclusion does not apply to property damage or
                                  environmental damage included in the products-completed operations
                                  hazard.

                            h.    Damage to Your Product
                                  Property damage or environmental damage to your product, arising out of it
                                  or any part of it.

                            i.    Damage to Your Work
                                  Property damage or environmental damage to your work arising out of it or
                                  any part of it and included in the products-completed operations hazard.

                                  This Exclusion does not apply if the damaged work or the work out of which the
                                  damage arises was performed on your behalf by a subcontractor.




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Reviewer: Lindsay Z.                j. Electronic  Data
                                     Damages arising out of the loss of, loss of use of, damage to, corruption of,
                                     inability to access, or inability to manipulate electronic data. However, this
                                     Exclusion does not apply to liability for damages because of bodily injury.

                                     As used in this Exclusion, electronic data means information, facts or programs
                                     stored as or on, created or used on, or transmitted to or from computer software,
                                     including systems and applications software, hard or floppy disks, CD-ROMS,
                                     tapes, drives, cells, data processing devices or any other media which are used
                                     with electronically controlled equipment.

                               k.    Employer’s Liability
                                     Bodily injury to:

                                     (1)   An employee of the insured arising out of and in the course of:

                                           (a) Employment by the insured; or

                                           (b) Performing duties related to the conduct of the insured’s business; or

                                     (2)   The spouse, child, parent, brother or sister of that employee as a
                                           consequence of paragraph (1) above.

                                           This Exclusion applies whether the insured may be liable as an employer
                                           or in any other capacity and to any obligation to share damages with or
                                           repay someone else who must pay damages because of the injury.

                                           This Exclusion does not apply to liability assumed by the insured under an
                                           insured contract.

                               l.    Employment-Related Practices
                                     Any claim arising out of:

                                     (1)   Dismissal, discharge or termination of employment, whether actual,
                                           constructive or retaliatory;

                                     (2)   Failure or refusal to hire or promote;

                                     (3)   Discipline, demotion, coercion or retaliatory treatment;

                                     (4)   Failure to grant tenure;

                                     (5)   Negligent employment evaluation;

                                     (6)   Sexual or other workplace harassment, including quid pro quo and hostile
                                           work environment;

                                     (7)   Employment discrimination;

                                     (8)   Invasion of privacy, violation of employment related civil rights,
                                           employment related libel, slander or defamation;

                                     (9)   Creating or enforcing or failing to create or enforce employment related
                                           policies or procedures; or

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                                (10) Actual or alleged violations of the Family and Medical Leave Act of 1993
                                     or its amendments, or similar federal, state or local law.

                           m.   Expected or Intended Injury or Damage
                                Bodily injury, property damage or environmental damage expected or
                                intended from the standpoint of any responsible insured. This Exclusion does
                                not apply to bodily injury resulting from the use of reasonable force to protect
                                persons or property.

                           n.   Internal Expenses
                                Any costs, charges or expenses incurred by any insured for goods supplied or
                                services performed by any temporary workers, volunteer workers, staff or
                                salaried employees of the insured, its parent, subsidiary or affiliate.

                           o.   Known Injury or Damage
                                Bodily injury, property damage or environmental damage that prior to the
                                inception date was known by any responsible insured. Any continuation,
                                change or resumption of such bodily injury, property damage or
                                environmental damage during the policy period will be deemed to have been
                                known prior to the inception date.

                                Bodily injury, property damage or environmental damage will be deemed
                                known at the earliest time when a responsible insured: (i) reports all, or any
                                part, of the bodily injury, property damage or environmental damage to us
                                or any other insurer, (ii) receives a claim for damages because of the bodily
                                injury, property damage or environmental damage, or (iii) becomes aware or
                                reasonably should have been aware by any other means that bodily injury,
                                property damage or environmental damage has occurred or has begun to
                                occur.

                                This exclusion does not apply to any continuation, change or resumption of
                                environmental damage caused by your work after the inception date of the
                                policy period.

                           p.   Liquor Liability
                                Bodily injury or property damage for which any insured may be held liable by
                                reason of:

                                (1)   causing or contributing to the intoxication of any person;

                                (2)   the furnishing of alcoholic beverages to a person under the legal drinking
                                      age or under the influence of alcohol; or

                                (3)   any statute, ordinance or regulation relating to the sale, gift, distribution or
                                      use of alcoholic beverages.

                                This Exclusion applies even if the claims against any insured allege negligence
                                or other wrongdoing in:

                                      (a) The supervision, hiring, employment, training or monitoring of others
                                          by that insured; or



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Reviewer: Lindsay Z.                   (b) Providing or failingto provide transportation with respect to any person
                                            that may be under the influence of alcohol; if the occurrence which
                                            caused the bodily injury or property damage involved that which is
                                            described in Paragraph (1), (2) or (3) above.

                                   However, this Exclusion applies only if you are in the business of manufacturing,
                                   distributing, selling, serving or furnishing alcoholic beverages. For the purposes
                                   of this Exclusion, permitting a person to bring alcoholic beverages on your
                                   premises, for consumption on your premises, whether or not a fee is charged or
                                   a license is required for such activity, is not by itself considered the business of
                                   selling, serving or furnishing alcoholic beverages.

                             q.    Mobile Equipment
                                   Bodily injury, property damage or environmental damage arising out of:

                                   (1)   the transportation of mobile equipment by an auto owned or operated by
                                         or rented or loaned to any insured; or

                                   (2)   the use of mobile equipment in, or while in practice for, or while being
                                         prepared for, any racing, speed, demolition, or stunting activity.

                             r.    Nuclear Material

                                   (1)   The radioactive, toxic or explosive properties of nuclear material and with
                                         respect to which:

                                         (a) any person or organization is required to maintain financial protection
                                             pursuant to the Atomic Energy Act of 1954, or any law amendatory
                                             thereof; or

                                         (b) the insured is, or had this Policy not been issued would be, entitled to
                                             indemnity from the United States of America, or any agency thereof,
                                             under any agreement entered into by the United States of America, or
                                             any agency thereof, with any person or organization; or

                                   (2)   The actual, alleged, suspected or threatened ingestion of, inhalation of,
                                         contact with, exposure to, existence of, or presence of any radioactive
                                         matter or material arising out of your product.

                             s.    Professional Liability
                                   Bodily injury, property damage or environmental damage arising out of the
                                   rendering of or failure to render any professional services. This Exclusion
                                   does not apply to the evaluation, consultation, or opinion given by you, or others
                                   for whom you are legally liable, in connection with your product.

                             t.    Recall of Products, Work or Impaired Property
                                   Damages claimed for any loss, cost or expense incurred by you or others for the
                                   loss of use, withdrawal, recall, inspection, repair, replacement, adjustment,
                                   removal or disposal of your product, your work or impaired property, if such
                                   product, work, or property is withdrawn or recalled from the market or from use
                                   by any person or organization because of a known or suspected defect,
                                   deficiency, inadequacy or dangerous condition in it.



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Reviewer: Lindsay Z.                u. Recording and Distribution of Material In Violation of Statutes
                                    Bodily injury, property damage or environmental damage arising directly or
                                    indirectly out of any action or omission that violates or is alleged to violate:

                                    (1)   The Telephone Consumer Protection Act (TCPA), including any
                                          amendment of or addition to such law;

                                    (2)   The CAN-SPAM Act of 2003, including any amendment of or addition to
                                          such law;

                                    (3)   The Fair Credit Reporting Act (FCRA), and any amendment of or addition
                                          to such law, including the Fair and Accurate Credit Transactions Act
                                          (FACTA); or

                                    (4)   Any federal, state or local statute, ordinance or regulation, other than the
                                          TCPA, CAN-SPAM Act of 2003 or FCRA addresses, prohibits, or limits the
                                          printing, dissemination, disposal, collecting, recording, sending,
                                          transmitting, communicating or distribution of material or information.

                              v.    War

                                    (1)   War, including undeclared or civil war;

                                    (2)    War-like action by a military force, including action in hindering or
                                          defending against an actual or expected attack, by any government,
                                          sovereign or other authority using military personnel or other agents; or

                                    (3)   Insurrection, rebellion, revolution, usurped power, or action taken by
                                          governmental authority in hindering or defending against any of these.

                              w.    Waste Disposal Facilities
                                    The disposal of any products or materials, including waste, that have been
                                    delivered to any location or facility that is not owned, operated, leased, rented or
                                    occupied by you for the purpose of treatment, storage, processing, recycling or
                                    disposal.

                              x.    Workers’ Compensation and Similar Laws
                                    Any obligation of the insured under a workers’ compensation, disability benefits
                                    or unemployment compensation law or any similar law.

                      2.   Exclusions a., f., g., h., i., k., p., q., t., v., and x., do not apply to damage by fire to
                           premises while rented to or temporarily occupied by you with permission of the owner. A
                           separate limit of insurance applies to this coverage as described in section XXI. LIMITS
                           OF LIABILITY AND DEDUCTIBLE.


               X.    DEFENSE AND SUPPLEMENTARY PAYMENTS – PART 1 COVERAGES

                      The following provisions apply to purchased Part 1 Coverages only.

                      1.   Defense
                           We have the right and duty to defend the insured against any suit seeking damages to
                           which this insurance applies. We have no duty to defend the insured against a suit
                           seeking damages to which this insurance does not apply. Our duty to defend ends when
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Reviewer: Lindsay Z.                the applicable Limit
                                                   of Liability is exhausted by the payment of judgments or settlements.
                                We may, at our discretion, investigate any occurrence, offense, pollution condition or
                                wrongful act, and settle any claim or suit that may result.

                          2.    Supplementary Payments

                                   a.     We will pay, with respect to any claim we investigate or settle, or any suit
                                          against an insured we defend, the following Supplementary Payments:

                                          (1)     All expenses we incur.

                                          (2)     Up to $1,500 for cost of bail bonds required because of accidents or traffic
                                                  law violations arising out of the use of any vehicle resulting in bodily
                                                  injury subject to coverage under this Policy. We have no obligation to
                                                  furnish these bonds.

                                          (3)     The cost of bonds to release attachments, but only for bond amounts
                                                  within the applicable Limit of Liability. We have no obligation to furnish
                                                  these bonds.

                                          (4)     All reasonable expenses incurred by the insured at our request to assist
                                                  us in the investigation or defense of the claim or suit, including actual loss
                                                  of earnings up to $750 a day because of time off from work.

                                          (5)     All court costs taxed against the insured in the suit. However, these
                                                  payments do not include attorneys’ fees or attorneys’ expenses or
                                                  sanctions taxed to, awarded against or imposed upon the insured.

                                          (6)     Prejudgment interest awarded against the insured on that part of the
                                                  judgment we pay. If we make an offer to pay the applicable Limit of
                                                  Liability, we will not pay any prejudgment interest based on that period of
                                                  time after the offer.

                                          (7)     All interest on the full amount of any judgment within the applicable Limit
                                                  of Liability that accrues after entry of the judgment and before we have
                                                  paid, offered to pay, or deposited in court the part of the judgment that is
                                                  within the applicable Limit of Liability.

                                                These payments do not reduce the Limits of Liability.

                                   b.     Except with respect to Coverage 1F – Employee Benefits Administration
                                          Liability, if we defend an insured against a suit and an indemnitee of the insured
                                          is also named as a party to the suit, we will defend that indemnitee if all of the
                                          following conditions are met:

                                          (1)     The suit against the indemnitee seeks damages for which the insured has
                                                  assumed the liability of the indemnitee in an insured contract;

                                          (2)     This insurance applies to such liability assumed by the insured;

                                          (3)     The obligation to defend, or the cost of the defense of, that indemnitee,
                                                  has also been assumed by the insured in the same insured contract;

                                          (4)     The allegations in the suit and the information we know about the

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Reviewer: Lindsay Z.                   occurrence, offense or pollution condition are such that      no conflict
                                         appears to exist between the interests of the insured and the interests of
                                         the indemnitee;

                                 (5)     The indemnitee and the insured ask us to conduct and control the defense
                                         of that indemnitee against such suit and agree that we can assign the
                                         same counsel to defend the insured and the indemnitee; and

                                 (6)     The indemnitee:

                                         (a)    Agrees in writing to:

                                                (i)     Cooperate with us in the investigation, settlement or defense
                                                        of the suit;

                                                (ii)    Immediately send us copies of any demands, notices,
                                                        summonses or legal papers received in connection with the
                                                        suit;

                                                (iii)   Notify any other insurer whose coverage is available to the
                                                        indemnitee; and

                                                (iv)    Cooperate with us with respect to coordinating other
                                                        applicable insurance available to the indemnitee; and

                                         (b)    Provides us with written authorization to:

                                                (i)     Obtain records and other information related to the suit; and

                                                (ii)    Conduct and control the defense of the indemnitee in such
                                                        suit.

                                       So long as the above conditions are met, attorneys’ fees incurred by us in
                                       the defense of that indemnitee, necessary litigation expenses incurred by
                                       us, and necessary litigation expenses incurred by the indemnitee at our
                                       request, will be paid as Supplementary Payments. Notwithstanding the
                                       provisions of paragraph (2) of Exclusion c. Contractual Liability in section IX.
                                       COMMON EXCLUSIONS - PART 1 COVERAGES, such payments will not
                                       be deemed to be damages and will not reduce the limits of liability.

                                       Our obligation to defend an insured’s indemnitee and to pay for attorneys’
                                       fees and necessary litigation expenses as Supplementary Payments ends
                                       when we have used up the applicable Limit of Liability in the payment of
                                       judgments or settlements or the conditions set forth above, or the terms of
                                       the agreement described in Paragraph (6) above are no longer met.


              XI.   PART 2 COVERAGES – SPECIAL POLLUTION COVERAGES

                    Coverages 2A through 2E apply only if shown as purchased in the Declarations.




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Reviewer: Lindsay Z.XII. COVERAGE 2A – CONTRACTING SERVICES POLLUTION LIABILITY


                  1.    Insuring Agreements

                          a.   Third-Party Claims
                               We will pay on behalf of the insured loss the insured becomes legally obligated
                               to pay because of bodily injury, property damage or environmental damage
                               that: (i) takes place during the policy period, (ii) is caused by a pollution
                               condition in the coverage territory, (iii) results from your work performed for a
                               third party at a job site, and (iv) results in a claim for such bodily injury,
                               property damage or environmental damage.

                          b.   Emergency Expenses
                               We will pay the emergency expenses you first incur during the policy period
                               arising from a pollution condition in the coverage territory resulting from
                               your work performed for a third party at a job site.

                  2.    Specific Exclusions
                        In addition to the common exclusions in section XVII. COMMON EXCLUSIONS – PART
                        2 – SPECIAL POLLUTION COVERAGES, Coverage 2A does not apply to:

                          a. Damage To Your Work
                               Property damage or environmental damage to your work. However, this
                               Exclusion does not apply if the damaged work or the work out of which the
                               damage arises was performed on your behalf by a subcontractor.


            XIII. COVERAGE 2B – TRANSPORTATION POLLUTION LIABILITY

                  1.   Insuring Agreements

                          a.   Third-Party Claims
                               We will pay on behalf of the insured loss the insured becomes legally obligated
                               to pay because of bodily injury, property damage or environmental damage
                               that: (i) takes place during the policy period, (ii) is caused by a pollution
                               condition in the coverage territory, (iii) results from transportation, and (iv)
                               results in a claim for such bodily injury, property damage or environmental
                               damage.

                          b.   Emergency Expenses
                               We will pay the emergency expenses you first incur during the policy period
                               arising from a pollution condition in the coverage territory resulting from
                               transportation.

                  2.    Specific Exclusions
                        In addition the common exclusions in section XVII. COMMON EXCLUSIONS – PART 2
                        – SPECIAL POLLUTION COVERAGES, Coverage 2B does not apply to:

                          a.   Property Damage to a Conveyance
                               Property damage to a conveyance utilized by you or on your behalf during
                               transportation. However, this Exclusion does not apply to a claim brought a by
                               third-party carrier alleging negligence on your part.



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Reviewer: Lindsay Z.XIV. COVERAGE 2C – POLLUTION LIABILITY FOR WASTE DISPOSAL FACILITIES

                  AND SCHEDULED NON-OWNED LOCATIONS – CLAIMS MADE AND REPORTED

                  1.   Insuring Agreement
                       We will pay on behalf of the insured loss the insured becomes legally obligated to pay
                       because of a claim for bodily injury, property damage or cleanup costs caused by a
                       pollution condition in the coverage territory, provided:

                         a.   the pollution condition is on, under or migrating from a waste disposal
                              facility or non-owned location;

                         b.   the pollution condition commenced on or after the retroactive date, if
                              applicable, and before the end of the policy period; and

                         c.   a claim is first made against an insured during the policy period and first
                              reported to us, in writing, during the policy period or any applicable Extended
                              Reporting Period.

                              If a claim is first made against an insured and reported to us during this policy
                              period, then, provided you have maintained coverage for Pollution Liability For
                              Waste Disposal Facilities And Scheduled Non-Owned Locations with us or our
                              affiliate on a continuous, uninterrupted basis, all claims first made against an
                              insured and reported to us during a subsequent policy period that arise out of
                              the same, related, continuous or repeated pollution condition(s) that gave rise
                              to a claim first made against an insured and reported to us during this policy
                              period, will be deemed to have been first made against the insured and
                              reported to us during this policy period. All such claims will be subject to the
                              applicable limits, deductible, terms and conditions of this Policy.

                  2.   Specific Exclusions
                       In addition to the common exclusions in section XVII. COMMON EXCLUSIONS – PART
                       2 – SPECIAL POLLUTION COVERAGES, Coverage 2C does not apply to any claim:

                         a.   Claims Brought by Waste Disposal Facility Owner or Operator
                              Brought by or on behalf of an owner or operator of a waste disposal facility,
                              including any parent, subsidiaries, affiliates, related companies, predecessors-
                              in-interest or successors-in-interest or assignees of the owner or operator, for
                              any pollution condition that commenced after your waste was delivered to the
                              waste disposal facility.


            XV. COVERAGE 2D – POLLUTION LIABILITY FOR YOUR SITES – CLAIMS MADE
                AND REPORTED

                  1.   Insuring Agreements

                         a.   Bodily Injury and Property Damage – Scheduled Sites
                              We will pay on behalf of the insured loss the insured becomes legally obligated
                              to pay because of bodily injury or property damage caused by a pollution
                              condition on, under or migrating from a scheduled site, provided:

                              (1)   the pollution condition commenced on or after the retroactive date, if
                                    applicable, and before the end of the policy period;

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Reviewer: Lindsay Z.                (2) a claim for damages is   first made against an insured during the policy
                                        period; and

                                  (3)   the claim is first reported to us, in writing, during the policy period or any
                                        applicable Extended Reporting Period.

                            b.    On-Site Cleanup Costs – Scheduled Sites
                                  We will pay on behalf of the insured those sums that the insured becomes
                                  legally obligated to pay for cleanup costs on or under a scheduled site
                                  resulting from a pollution condition, provided:

                                  (1)   the pollution condition commenced on or after the retroactive date, if
                                        applicable, and before the end of the policy period; and

                                  (2)   (a) a claim for cleanup costs is first made against an insured
                                            during the policy period; and

                                        (b) the claim is first reported to us, in writing, during the policy
                                            period or any applicable Extended Reporting Period; or

                                  (3)   the pollution condition first becomes known to a responsible insured
                                        during the policy period and you report the pollution condition to us in
                                        writing as soon as practicable following discovery, and in any event during
                                        the policy period.

                            c.    Off-Site Cleanup Costs – Scheduled Sites
                                  We will pay on behalf of the insured those sums that the insured becomes
                                  legally obligated to pay for cleanup costs beyond the boundaries of a
                                  scheduled site caused by a pollution condition migrating from a scheduled
                                  site, provided:

                                  (1)   the pollution condition commenced on or after the applicable retroactive
                                        date and before the end of the policy period; and

                                  (2)   (a) a claim for cleanup costs is first made against an insured during the
                                            policy period, and

                                        (b) the claim is first reported to us, in writing, during the policy period or
                                            any applicable Extended Reporting Period.

                            d.    Emergency Expenses – Scheduled Sites
                                  We will pay the emergency expenses you first incur during the policy period
                                  resulting from a pollution condition on, under or migrating from a scheduled
                                  site.

                            e.    Time-Element Pollution Bodily Injury and Property Damage – Unscheduled
                                  Sites
                                  We will pay on behalf of the insured loss the insured becomes legally obligated
                                  to pay because of bodily injury or property damage caused by a pollution
                                  condition on, under or migrating from an unscheduled site in the coverage
                                  territory, provided the pollution condition:

                                  (1)   first commences at an identifiable time and place during the policy
                                        period;
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                                (2)   first becomes known to a responsible insured within fifteen (15) days
                                      after it commenced; and

                                (3)   is reported to us, in writing, within thirty (30) days after you discover it.

                           f.   Related Claims
                                With respect to Coverage 2D, if a claim is first made against an insured and
                                reported to us during this policy period, then, provided you have maintained
                                coverage for Pollution Liability For Your Sites with us or our affiliate on a
                                continuous, uninterrupted basis, all claims first made against an insured and
                                reported to us during a subsequent policy period that arise out of the same,
                                related, continuous or repeated pollution condition(s) that gave rise to a claim
                                first made against an insured and reported to us during this policy period, will
                                be deemed to have been first made against the insured and reported to us
                                during this policy period. All such claims will be subject to the applicable
                                limits, deductible, terms and conditions of this Policy.

                    2.   Specific Exclusions
                         In addition to the common exclusions in section XVII. COMMON EXCLUSIONS – PART
                         2 – SPECIAL POLLUTION COVERAGES, Coverage 2D does not apply to any claim or
                         loss arising out of:

                           a.   Asbestos and Lead-Based Paint
                                Asbestos, asbestos-containing materials or lead-based paint. However, this
                                Exclusion does not apply to:

                                (1)   cleanup costs for asbestos, asbestos-containing materials or lead-based
                                      paint in soil, groundwater, or any other body of water.

                           b.   Facility Inspections or Maintenance; Facility Upgrades and Improvements
                                Any costs, charges or expense for the:

                                (1)   routine evaluation, inspection, maintenance, cleaning or repair of; or

                                (2)   maintenance, upgrade or improvement of, or installment of any control to,
                                      any building system, component, equipment or process on, at or under
                                      any unscheduled or scheduled site.

                                This Exclusion applies even if such costs, charges or expenses are:

                                (1)   required by any ordinance, code, regulation, or law, including
                                      environmental law; or

                                (2)   the result of or related to, cleanup costs, emergency expenses, or loss
                                      otherwise covered under this Policy.

                           c.   Insured versus Insured
                                A claim made by or on behalf of an insured against any other insured. This
                                Exclusion does not apply to claims initiated by third parties or claims that arise
                                out of an indemnification given by you to another insured in an insured
                                contract.



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Reviewer: Lindsay Z.                d. Material Change in Use
                                  A change in use or operations during the policy period at an unscheduled site
                                  or scheduled site, which materially increases a risk covered under this Policy.

                            e.    Pollution Conditions After a Site is Divested
                                  A pollution condition that commences after the applicable unscheduled site
                                  or scheduled site is sold, given away or abandoned by you.

                            f.    Underground Storage Tanks
                                  Any underground storage tank at an unscheduled site or scheduled site.
                                  However, this Exclusion does not apply to those underground storage tanks:

                                  (1)   listed on a Schedule of Underground Storage Tank(s) endorsement
                                        attached to this Policy;

                                  (2)   removed or abandoned in-place prior to the inception date, provided any
                                        removal or abandonment in-place by you or on your behalf was conducted
                                        in compliance with all applicable federal, state, municipal or provincial
                                        regulations; or

                                  (3)   the existence of which is unknown to all responsible insureds as of the
                                        inception date.


              XVI. COVERAGE 2E - ENVIRONMENTAL CRISIS MANAGEMENT COSTS

                     1.   Insuring Agreement
                          We will pay the crisis management costs you incur as a direct result of a crisis
                          management event that:

                            a.    arises directly from a pollution condition that has resulted, or is reasonably
                                  likely to result, in loss covered under Coverage 2A, 2B, 2C or 2D;

                            b.    commences during the policy period; and

                            c.    first becomes known to a responsible insured during the policy period and is
                                  reported to us in writing as soon as possible, but in any event during the policy
                                  period or within thirty (30) days after the end of the policy period.

                                  We will pay those crisis management costs you incur even if coverage
                                  hereunder is still to be confirmed us but we will stop paying such fees as soon
                                  as it becomes evident, to either you or us, that this insurance does not apply.
                                  Crisis management costs are not subject to any retention or deductible.

                     2.   Specific Exclusions
                          In addition to the exclusions in section XVII. COMMON EXCLUSIONS – PART 2 –
                          SPECIAL POLLUTION COVERAGES, Coverage 2E does not apply to:

                            a.    Covered Under Coverage 1G

                                  Crisis management costs to which Coverage 1G (Crisis Management Costs)
                                  applies or is held to apply.



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Reviewer: Lindsay Z.XVII. COMMON EXCLUSIONS – PART        2 – SPECIAL POLLUTION COVERAGES

                   The following exclusions apply to all Part 2 Coverages except where indicated. Part 2
                   Coverages do not apply to loss arising out of:

                         a.    Contractual Liability
                               Bodily injury, property damage, environmental damage or a wrongful act
                               for which the insured is obligated to pay damages by reason of the assumption
                               of liability in a contract or agreement. This Exclusion does not apply to liability
                               for damages:

                               (1)     That the insured would have in the absence of the contract or agreement;
                                       or

                               (2)     Assumed in an insured contract, provided the bodily injury, property
                                       damage, environmental damage or wrongful act occurs subsequent to
                                       the execution of the insured contract. Solely for the purposes of liability
                                       assumed in an insured contract, reasonable attorney fees and necessary
                                       litigation expenses incurred by or for a party other than an insured are
                                       deemed to be damages because of bodily injury, property damage,
                                       environmental damage or wrongful act, provided:

                                       (a)   Liability to such party for, or for the cost of, that party’s defense has
                                             also been assumed in the same insured contract; and

                                       (b)   Such attorney fees and litigation expenses are for defense of that
                                             party against a civil or alternative dispute resolution proceeding in
                                             which damages to which this insurance applies are alleged.

                                     Regardless of how legal defense costs are treated elsewhere in this Policy,
                                     any coverage afforded under subparagraph (b) for reasonable attorney fees
                                     and necessary litigation expenses incurred by or for a party other than an
                                     insured shall reduce the applicable limits of liability in section XXI. LIMITS
                                     OF LIABILITY AND DEDUCTIBLE.

                                     This Exclusion does not apply to Coverage 1B (Personal and Advertising
                                     Injury Liability), which is subject to its own Contractual Liability exclusion.

                         b.    Covered by Project-Specific Insurance
                               Your work if the loss is covered by any project-specific insurance available to
                               the insured.

                         c.    Covered Under Part 1 Coverage
                               Bodily injury, property damage, environmental damage, cleanup costs or
                               emergency expenses to which any Part 1 Coverage applies or is held to apply.

                         d.    Criminal Fines, Penalties or Assessments
                               Criminal fines, criminal penalties or criminal assessments.

                         e.    Damage to Your Product
                               Property damage or environmental damage to your product, arising out of it
                               or any part of it.



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Reviewer: Lindsay Z.                f. Employer’s Liability
                                   Bodily injury to:

                                   (1)   An employee of the insured arising out of and in the course of:

                                         (a)   Employment by the insured; or

                                         (b)   Performing duties related to the conduct of the insured’s business; or

                                   (2)   The spouse, child, parent, brother or sister of that employee as a
                                         consequence of paragraph (1) above.

                                         This Exclusion applies whether the insured may be liable as an employer
                                         or in any other capacity and to any obligation to share damages with or
                                         repay someone else who must pay damages because of the injury.

                                         This Exclusion does not apply to liability assumed by the insured under an
                                         insured contract.

                             g.    Expected or Intended Injury or Damage
                                   Bodily injury, property damage or environmental damage expected or
                                   intended from the standpoint of the insured. This Exclusion does not apply to
                                   bodily injury resulting from the use of reasonable force to protect persons or
                                   property.

                             h.    Failure to Comply
                                   A responsible insured’s knowingly, willful or deliberate failure to comply with,
                                   or disregard of, any statute, regulation, ordinance, administrative complaint,
                                   notice of violation, directive, order, or instruction made by or on behalf of any
                                   governmental body or agency, including a failure to report any pollution
                                   condition to the appropriate governmental agency when required by law.

                                   This exclusion does not apply to a responsible insured’s non-compliance that
                                   is based upon good faith reliance on written advice of outside counsel received
                                   in advance of such non-compliance.

                             i.    Intentional Acts
                                   A responsible insured’s dishonest, fraudulent, malicious, willful, deliberate or
                                   knowingly wrongful act.

                             j.    Internal Expenses
                                   Any costs, charges or expenses incurred by any insured for goods supplied or
                                   services performed by any temporary workers, volunteer workers, staff or
                                   salaried employees of the insured, its parent, subsidiary or affiliate, unless and
                                   until, our consent, such consent being within our sole discretion, to incur such
                                   costs, charges or expenses is provided in writing to you.

                             k.    Known Pollution Condition, Injury or Damage
                                   Any pollution condition, bodily injury, property damage or environmental
                                   damage that was known to any responsible insured as of the inception date.
                                   This Exclusion does not apply to pollution conditions listed in any Schedule of
                                   Known Pollution Condition Endorsement attached to this Policy.



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                                 (1)   The radioactive, toxic or explosive properties of nuclear material and with
                                       respect to which:

                                       (a)   any person or organization is required to maintain financial
                                             protection pursuant to the Atomic Energy Act of 1954, or any law
                                             amendatory thereof; or

                                       (b)   the insured is, or had this Policy not been issued would be, entitled
                                             to indemnity from the United States of America, or any agency
                                             thereof, under any agreement entered into by the United States of
                                             America, or any agency thereof, with any person or organization; or

                                 (2)   The actual, alleged, suspected or threatened ingestion of, inhalation of,
                                       contact with, exposure to, existence of, or presence of any radioactive
                                       matter or material arising out of your product.

                           m.    Transportation Activities
                                 The ownership, maintenance, use, or entrustment to others of any conveyance
                                 beyond the legal boundaries of a job site, waste disposal facility, non-owned
                                 location, unscheduled site or scheduled site. However, this Exclusion does
                                 not apply to Coverage 2B (Transportation Pollution Liability).

                           n.    Your Product
                                 Your product. However, this Exclusion does not apply to:

                                 (1)   your products that are still possessed or controlled by you or by others
                                       directly on your behalf, or

                                 (2)   your products that are installed as part of your work at a job site.

                           o.    War

                                 (1)   War, including undeclared or civil war;

                                 (2)   War-like action by a military force, including action in hindering or
                                       defending against an actual or expected attack, by any government,
                                       sovereign or other authority using military personnel or other agents; or

                                 (3)   Insurrection, rebellion, revolution, usurped power, or action taken by
                                       governmental authority in hindering or defending against any of these.

                           p.    Waste Disposal Facilities
                                 The disposal of any products or materials, including waste, that have been
                                 delivered to any location or facility that is not owned, operated, leased, rented or
                                 occupied by you for the purpose of treatment, storage, processing, recycling or
                                 disposal. However, this Exclusion does not apply to Coverage 2C (Pollution
                                 Liability For Waste Disposal Facilities And Scheduled Non-Owned Locations).

                           q.    Workers’ Compensation and Similar Laws
                                 Any obligation of the insured under a workers’ compensation, disability benefits
                                 or unemployment compensation law or any similar law.


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Reviewer: Lindsay Z.XVIII. DEFENSE – SPECIAL POLLUTION      COVERAGES

                   The following applies to purchased Part 2 Coverages only.

                   We have the right and duty to defend the insured against a suit seeking damages to which
                   this insurance applies. We have no duty to defend the insured against any claim or suit
                   seeking damages to which this insurance does not apply. Our duty to defend ends when the
                   applicable Limit of Liability has been exhausted by the payment of loss. Solely with respect
                   to Coverage 2D (Pollution Liability for Your Sites), legal defense costs are included in loss
                   and reduce the applicable limits of liability. We may, at our discretion, investigate any
                   pollution condition and settle any claim or suit that may result.


            XIX. COVERAGE 3 – PROFESSIONAL LIABILITY – CLAIMS MADE AND REPORTED

                   Coverage 3 - Professional Liability only applies if shown as purchased in the Declarations.

                   1.   Insuring Agreement
                        We will pay on behalf of the insured loss that the insured becomes legally obligated to
                        pay because of a claim for a wrongful act in the rendering of or failure to render
                        professional services, provided:

                          a.   The wrongful act was committed on or after the retroactive date, if applicable,
                               and before the end of the policy period;

                          b.   A claim is first made against an insured during the policy period; and

                          c.   The claim is first reported to us, in writing, during the policy period or any
                               applicable Extended Reporting Period.

                               If a claim is first made against an insured and reported to us during this policy
                               period, then, provided you have maintained Professional Liability coverage with
                               us or our affiliate on a continuous, uninterrupted basis, all claims first made
                               against an insured and reported to us during a subsequent policy period that
                               arise out of the same, related, continuous or repeated wrongful act(s) that
                               gave rise to a claim first made against an insured and reported to us during this
                               policy period, will be deemed to have been first made against the insured and
                               reported to us during this policy period. All such claims will be subject to the
                               applicable limits, deductible, terms and conditions of this Policy.

                  2.    Specific Exclusions
                        The following exclusions apply to all Coverage 3 coverages except where indicated.
                        Coverage 3 does not apply to any claim arising out of:

                          a.   Aircraft, Auto or Watercraft
                               The ownership, maintenance, use or entrustment to others of any aircraft, auto
                               or watercraft owned or operated by or rented or loaned to any insured. Use
                               includes operation and transportation.

                               This Exclusion applies even if the claims against an insured allege negligence
                               or other wrongdoing in the supervision, hiring, employment, training or
                               monitoring of others by that insured.



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                              The bankruptcy or insolvency of an insured or of any other person, firm or
                              organization.

                         c.   Contractual Liability
                              Bodily injury or property damage for which the insured is obligated to pay by
                              reason of the assumption of liability in a contract or agreement. However, this
                              Exclusion does not apply to liability that the insured would have in absence of
                              the contract or agreement.

                         d.   Covered by Project-Specific Insurance
                              Professional Services if the loss is covered by any project-specific insurance
                              available to the insured.

                         e.   Discrimination
                              Discrimination by an insured on the basis of race, creed, national origin,
                              disability, age, marital status, gender or sexual orientation.

                         f.   Dishonest or Fraudulent Act
                              A dishonest, fraudulent, criminal or malicious act, error or omission committed
                              by or at the direction of a responsible insured.

                         g.   Disputed Fees
                              Disputes over the insured’s fees or charges or claims for the return of fees or
                              charges.

                         h.   Employer’s Liability
                              Bodily injury to:

                              (1)   An employee of the insured arising out of and in the course of:

                                    (a) Employment by the insured; or

                                    (b) Performing duties related to the conduct of the insured’s business; or

                              (2)   The spouse, child, parent, brother or sister of that employee as a
                                    consequence of subparagraph (1) above.

                                    This Exclusion applies whether the insured may be liable as an employer
                                    or in any other capacity and to any obligation to share damages with or
                                    repay someone else who must pay damages because of the injury.

                         i.   Failure to Comply
                              Failure to comply with any applicable federal, state, local or provincial statute,
                              regulation, ordinance, order or instruction, if such failure is a willful or deliberate
                              act or omission of a responsible insured.

                         j.   Failure to Maintain
                              The insured’s requiring, obtaining, maintaining, advising or failing to require,
                              obtain, maintain or advise of any bond, surety ship or any form of insurance or
                              self-insurance.




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                                  Cost to repair or replace faulty workmanship, assembly, construction, erection,
                                  fabrication, installation, or remediation if such work is performed in whole or in
                                  part by an insured or anyone for whom the insured is or is alleged to be legally
                                  responsible.

                            l.    Fiduciary Liability of Non-Named Insured

                                  (1)   An insured’s acting as a partner, officer, director, stockholder, employer or
                                        employee of an entity that is not a Named Insured; or

                                  (2)   An insured’s acting as a fiduciary under the Employee Retirement Income
                                        Security Act of 1974 and any amendments thereto, or any regulation or
                                        order issued pursuant thereto, or any other employee benefit plan.

                            m.    Fines, Penalties and Assessments
                                  Civil, administrative or criminal fines or penalties imposed directly against an
                                  insured.

                            n.    Insured versus Insured
                                  A claim brought by or on behalf of any insured against any other insured.

                            o.    Intellectual Property
                                  Actual or alleged misappropriation of trade secrets of infringement of paten,
                                  copyright, trademark, service mark or any other intellectual property right.

                            p.    Internal Expenses
                                  Any costs, charges or expenses incurred by any insured for goods supplied or
                                  services performed by any temporary workers, volunteer workers, staff or
                                  salaried employees of the insured, its parent, subsidiary or affiliate.

                            q.    Known Wrongful Act
                                  A wrongful act known by a responsible insured prior to the inception date
                                  and which reasonably could be expected to give rise to claim under this Policy.

                            r.    Nuclear Material

                                  (1)   The radioactive, toxic or explosive properties of nuclear material and with
                                        respect to which:

                                        (a) any person or organization is required to maintain financial protection
                                            pursuant to the Atomic Energy Act of 1954, or any law amendatory
                                            thereof; or

                                        (b) the insured is, or had this Policy not been issued would be, entitled to
                                            indemnity from the United States of America, or any agency thereof,
                                            under any agreement entered into by the United States of America, or
                                            any agency thereof, with any person or organization; or

                                  (2)   The actual, alleged, suspected or threatened ingestion of, inhalation of,
                                        contact with, exposure to, existence of, or presence of any radioactive
                                        matter or material arising out of your product.



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                                 Any location or facility that is or was owned, occupied, operated by or rented or
                                 leased to you or any entity that: (i) has any ownership interest or operates,
                                 manages or otherwise controls you; or (ii) in which you have any ownership
                                 interest or which you operate, manage or otherwise control.

                           t.    Personal and Advertising Injury
                                 Personal and advertising injury.

                           u.    Previously Reported Claims
                                 The same, related, continuous or repeated wrongful act(s) that were the
                                 subject of a claim reported under any policy of insurance issued prior to this
                                 policy irrespective of whether of this policy is a renewal or replacement of such
                                 prior policy, and irrespective of whether or not such prior policy affords coverage
                                 for such claim.

                           v.    Project Delays or Cost Overruns
                                 Failure to complete any project on schedule or exceeding by any insured of any
                                 project cost estimate.

                           w.    War

                                 (1)   War, including undeclared or civil war;

                                 (2)   War-like action by a military force, including action in hindering or
                                       defending against an actual or expected attack, by any government,
                                       sovereign or other authority using military personnel or other agents; or

                                 (3)   Insurrection, rebellion, revolution, usurped power, or action taken by
                                       governmental authority in hindering or defending against any of these.

                           x.    Workers’ Compensation and Similar Laws
                                 Any obligation of the insured under a workers’ compensation, disability benefits
                                 or unemployment compensation law or any similar law.

                           y.    Warranties
                                 Express warranties or guarantees. This Exclusion shall not apply if liability
                                 would have in the absence of such express warranties and guarantees.

                           z.    Your Product
                                 The design or manufacture of your product.

                    3.   Defense – Coverage 3 – Professional Liability
                         We have the right and duty to defend the insured against a suit seeking damages to
                         which this insurance applies. We have no duty to defend the insured against any suit
                         seeking damages to which this insurance does not apply. Our right and duty to defend
                         ends when we have used up the applicable Limit of Liability in the payment of loss.
                         Legal defense costs are included in loss and reduce the applicable limits of liability.
                         We may, at our discretion, investigate any wrongful act and settle any claim or suit
                         that may result.




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                   Applicable to Coverage Part 1 and Part 2:

                   Each of the following is an insured under Coverage Part 1 and Part 2:

                   1.   If you are designated in the Declarations as:

                           a.   An individual, you and your spouse are insureds, but only with respect to the
                                conduct of a business of which you are the sole owner.

                           b.   A partnership or joint venture, you are an insured. Your members, your
                                partners, and their spouses are also insureds, but only with respect to the
                                conduct of your business.

                           c.   A limited liability company, you are an insured. Your members are also
                                insureds, but only with respect to the conduct of your business. Your managers
                                are insureds, but only with respect to their duties as your managers.

                           d.   An organization other than a partnership, joint venture or limited liability
                                company, you are an insured. Your executive officers and directors are
                                insureds, but only with respect to their duties as your officers or directors. Your
                                stockholders are also insureds, but only with respect to their liability as
                                stockholders.

                           e.   A trust, you are an insured. Your trustees are also insureds, but only with
                                respect to their duties as trustees.

                   2.   With respect to all coverages other than Coverage 1F (Employee Benefits
                        Administration Liability), each of the following is also an insured:

                           a.   Your volunteer workers, but only while performing duties related to the conduct
                                of your business, or your employees, other than either your executive officers
                                (if you are an organization other than a partnership, joint venture or limited
                                liability company) or your managers (if you are a limited liability company), but
                                only for acts within the scope of their employment by you or while performing
                                duties related to the conduct of your business. However, none of these
                                employees or volunteer workers is an insured for:

                                (1)   Bodily injury or personal and advertising injury:
                                      (a) To you, to your partners or members (if you are a partnership or joint
                                          venture), or to your members (if you are a limited liability company);

                                      (b) For which there is any obligation to share damages with or repay
                                          someone else who must pay damages because of the injury described
                                          in subparagraph (1) (a) above; or

                                      (c) Arising out of the providing or failure to provide professional health
                                          care services except incidental health care services provided by any
                                          physician, dentist, nurse, emergency medical technician or paramedic
                                          who is employed by you to provide such services and provided you are
                                          not engaged in the business of providing such services.



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Reviewer: Lindsay Z.                (2) Property damage or environmental damage to property:
                                      (a) Owned, occupied or used by; or

                                      (b) Rented to, in the care, custody or control of, or over which physical
                                          control is being exercised for any purpose by you, any of your
                                          employees, volunteer workers, any partner or member (if you are a
                                          partnership or joint venture), or any member (if you are a limited
                                          liability company).

                          b.    Any person (other than your employee or volunteer worker), or any
                                organization while acting as your real estate manager.

                          c.    Any person or organization having proper temporary custody of your property if
                                you die, but only:

                                (1)   With respect to liability arising out of the maintenance or use of that
                                      property; and

                                (2)   Until your legal representative has been appointed.

                          d.    Your legal representative if you die, but only with respect to duties as such. That
                                representative will have all your rights and duties under this Policy.

                   3.   Any subsidiary, associated, affiliated or allied company or corporation, including
                        subsidiaries thereof, of which you have more than 50% ownership interest as of the
                        inception date is a Named Insured; however, such entities shall cease to be a Named
                        Insured if you cease to maintain more than a 50% ownership interest.

                   4.   Any organization you newly acquire or form, other than a partnership, joint venture or
                        limited liability company, and over which you maintain ownership or majority interest, will
                        qualify as a Named Insured if there is no other similar insurance available to that
                        organization. However:

                          a.    Coverage under this provision is afforded only until the 180th day after you
                                acquire or form the organization or the end of the policy period, whichever is
                                earlier;

                          b.    Coverage under this Policy does not apply to any bodily injury, property
                                damage, environmental damage or pollution condition that took place, or an
                                offense or wrongful act committed, before you acquired or formed the
                                organization.

                   5.   Any person or organization with whom you agree to include as an insured pursuant to a
                        written contract, written agreement or permit is an insured, but: (i) only with respect to
                        bodily injury, property damage, personal and advertising injury, environmental
                        damage or clean-up costs caused, in whole or in part, by your acts or omissions or the
                        acts or omissions of those acting on your behalf and arising out of your operations, your
                        work, equipment or premises leased, rented or owned by you, or your products which
                        are distributed or sold in the regular course of a vendor’s business; (ii) only for the
                        lesser of the applicable limits of liability set forth in section XXI. LIMITS OF LIABILITY
                        AND DEDUCTIBLE or the minimum limits of liability required by such written contract;
                        (iii) the insurance afforded only applies to the extent permitted by law; (iv) the insurance
                        afforded will not be broader than that which you are required by the contract or
                        agreement to provide for such insured. However:

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                            a.   A vendor is not an insured as respects bodily injury, property damage,
                                 environmental damage or clean-up costs arising out of:

                                 (1)   Damages the vendor is obligated to pay by reason of the assumption of
                                       liability in a contract or agreement except for any damages that the vendor
                                       would have been obligated to pay in the absence of the contract or
                                       agreement;

                                 (2)   Any express warranty unauthorized by you;

                                 (3)   Any physical or chemical change in the product made intentionally by the
                                       vendor;

                                 (4)   Repackaging, except when unpacked solely for the purpose of inspection,
                                       demonstration, testing, or the substitution of parts under instructions from
                                       you, and then repackaged in the original container;

                                 (5)   Any failure to make inspections, adjustments, tests or servicing as the
                                       vendor has agreed to make or normally undertakes to make in the usual
                                       course of business, in connection with the distribution or sale of the
                                       products;

                                 (6)   Demonstration, installation, servicing or repair operations, except such
                                       operations performed at the vendor’s location in connection with the sale
                                       of the product;

                                 (7)   Products which, after distribution or sale by you, have been labeled or
                                       relabeled or used as a container, part or ingredient of any other thing or
                                       substance by or for the vendor; or

                                 (8)   The sole negligence of the vendor for its own acts or omissions or those of
                                       its employees or anyone else acting on its behalf. However, this
                                       subparagraph does not apply to:

                                       (a) the exceptions contained in subparagraphs (4) or (6) above; or

                                       (b) such inspections, adjustments, tests or servicing as the vendor has
                                           agreed to make or normally undertakes to make in the usual course of
                                           business, in connection with the distribution or sale of the products.

                     6.   A manager or lessor of premises, a lessor of leased equipment, or a mortgagee,
                          assignee, or receiver is not an insured as respects bodily injury, property damage,
                          environmental damage, personal and advertising injury or clean-up costs:

                            a.   Arising out of any occurrence, offense, pollution condition, or wrongful act
                                 that takes place after the equipment lease expires or you cease to be a tenant;
                                 or

                            b.   Arising out of structural alterations, new construction or demolition operations
                                 performed by or on behalf of the manager or lesser of premises, or mortgagee,
                                 assignee, or receiver.



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Reviewer: Lindsay Z.           7. Solely with respect
                                                    to Coverage 1F (Employee Benefits Administration Liability), each of
                               the following is an insured:

                                 a.     Each of your employees who is or was authorized to administer your employee
                                        benefits program.

                                 b.     Any persons, organizations or employees having proper temporary
                                        authorization to administer your employee benefits program if you die, but
                                        only until your legal representative is appointed.

                          8.   Your legal representative if you die, but only with respect to duties as such. That
                               representative will have all your rights and duties under this Policy.

                               No person or organization is an insured with respect to the conduct of any current or
                               past partnership, joint venture or limited liability company that is not shown as a Named
                               Insured in the Declarations.

                          Applicable to Coverage 3 – Professional Liability

                         The following person(s) or entity(ies) are an insured under Coverage 3 - Professional
                         Liability:

                          1. the first named insured and other named insured(s) expressly added to Item 1 of the
                              Declarations;

                          2. any of your current or former directors, officers, partners, members, employees, or
                             shareholders, as applicable, while acting within the scope of his or her duties as such,
                             but only while rendering professional services on behalf of a named insured; and

                          3. the estate, heirs, executors, administrators and legal representatives of each named
                              insured in the event of death, incapacity or bankruptcy of such insured, but only with
                              respect to liability arising out of professional services rendered by a named insured
                              prior to such death, incapacity or bankruptcy, and only to the extent that coverage would
                              have been provided under Coverage 3 - Professional Liability.


                 XXI. LIMITS OF LIABILITY AND DEDUCTIBLE

                          Regardless of the number of claims, suits, claimants or insureds, the following limits of
                          liability apply:

                          1.   Limits Applicable to Part 1 Coverages

                                 a.     General Aggregate Limit and General Aggregate Cap

                                        (1)   The General Aggregate Limit set forth in Item 3 of the Declarations is the
                                              most we will pay for all loss under all Part 1 Coverages except: (i)
                                              damages because of bodily injury, property damage or environmental
                                              damage included in the products-completed operations hazard, and (ii)
                                              crisis management costs that result from a crisis management event
                                              arising directly from your product.

                                        (2)   Subject to subparagraph (3) below, the General Aggregate Limit applies
                                              separately to:

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                                      (a) loss covered under Coverages 1A and 1E arising from
                                          occurrences at any one location that you own or rent; and

                                      (b) loss covered under Coverages 1A and 1E arising from your on-
                                          going operations at any one job site.

                                (3)   Regardless of the number of locations or job sites, the General
                                      Aggregate Cap set forth in Item 3 of the Declarations is the most we will
                                      pay for all loss under all Part 1 Coverages except: (i) damages because of
                                      bodily injury, property damage or environmental damage included in
                                      the products-completed operations hazard, and (ii) crisis
                                      management costs that result from a crisis management event arising
                                      directly from your product.
                                .
                           b.   Products–Completed Operations Aggregate Limit
                                The Products-Completed Operations Aggregate Limit set forth in Item 3 of the
                                Declarations is the most we will pay for all: (i) damages under Coverages 1A
                                and 1D because of bodily injury, property damage or environmental
                                damage included in the products-completed operations hazard, and (ii)
                                crisis management costs that result from a crisis management event arising
                                directly from your product.

                           c.   Each Occurrence Limit
                                Subject to Paragraph 1.a. or 1.b. above, whichever applies, the Each
                                Occurrence Limit set forth in Item 3 of the Declarations is the most we will pay
                                for all loss under Coverages 1A, 1C, 1D and 1E arising out of the same,
                                related, continuous or repeated occurrence(s) or pollution condition(s).

                           d.   Personal and Advertising Injury Limit
                                Subject to Paragraph 1.a. above, the Personal and Advertising Injury Limit set
                                forth in Item 3 of the Declarations is the most we will pay for all loss under
                                Coverage 1B sustained by any one person or organization.

                           e.   Employee Benefits Administration Limit
                                Subject to Paragraph 1.a. above, the Employee Benefits Administration Limit of
                                Liability set forth in Item 3 of the Declarations is the most we will pay under
                                Coverage 1F for all loss sustained by any one employee, including loss
                                sustained by such employee’s dependents and beneficiaries, arising out of the
                                same, related, continuous or repeated wrongful act(s).

                                However, the amount paid under this Policy shall not exceed, and will be subject
                                to, the limits and restrictions that apply to the payment of benefits in any plan
                                included in the employee benefits program.

                           f.   Crisis Management Costs Limit – Coverage 1G
                                Subject to Paragraph 1.a. or 1.b. above, whichever applies, the Crisis
                                Management Costs Limit set forth in Item 3 of the Declarations is the most we
                                will pay for all crisis management costs under Coverage 1G.

                           g.   Damage to Premises Rented to You Limit
                                Subject to Paragraph 1.c. above, the Damage to Premises Rented to You Limit
                                set forth in Item 3 of the Declarations is the most we will pay under Coverage 1A
                                for all loss because of property damage to any one premises, while rented to

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Reviewer: Lindsay Z.                you, or in the case of damage by fire while rented to you   or temporarily occupied
                                   by you with permission of the owner.

                              h.   Medical Expense Limit
                                   Subject to Paragraph 1.c. above, the Medical Expense Limit set forth in Item 3
                                   of the Declarations is the most we will pay under Coverage 1C for all loss
                                   because of bodily injury sustained by any one person.

                     2.    Limits Applicable to Part 2 Coverages – Special Pollution Coverages

                              a.   Pollution Liability Aggregate Limit
                                   The Pollution Liability Aggregate Limit set forth in Item 3 of the Declarations is
                                   the most we will pay for all loss under all Part 2 Coverages (Special Pollution
                                   Coverages).

                              b.   Individual Coverage Limits
                                   Subject to Paragraph 2.a. above, the applicable Coverage Limit set forth in Item
                                   3 of the Declarations is the most we will pay for all loss under the applicable
                                   Part 2 – Special Pollution Coverage.

                              c.   Each Pollution Condition Limit
                                   Subject to Paragraphs 2.a. and 2.b. above, the Each Pollution Condition Limit
                                   set forth in Item 3 of the Declarations is the most we will pay for all loss arising
                                   out of the same, related, continuous or repeated pollution condition(s).

                     3.    Limits Applicable to Coverage 3 – Professional Liability

                              a.   Professional Liability Aggregate Limit
                                   The Professional Liability Aggregate Limit set forth in Item 3 of the Declarations
                                   is the most we will pay for all loss under Coverage 3.

                              b.   Each Wrongful Act Limit
                                   Subject to Paragraph 3.a. above, the Each Wrongful Act Limit set forth in Item 3
                                   of the Declarations is the most we will pay under Coverage 3 for all loss arising
                                   out of the same, related, continuous or repeated wrongful act(s).

                     4.    Multiple Coverage Sections
                           Subject to all applicable aggregate limits of liability, the highest applicable Each
                           Occurrence Limit, Each Pollution Condition Limit or Each Wrongful Act Limit is the most
                           we will pay under all Coverages arising out of any combination of the same, related,
                           continuous or repeated occurrences, pollution conditions or wrongful acts.

                     5.    Multiple Policies or Policy Periods
                           The following applies to all Part 1 and 2 Coverages except Coverages 2C and 2D:

                              a.   All progressive or indivisible bodily injury, property damage or environmental
                                   damage, including any continuation, change or resumption of such injury or
                                   damage, which occurs over a period of days, weeks, months or longer caused
                                   by continuous or repeated exposure to the same, related, continuous or
                                   repeated occurrence(s) or pollution condition(s) shall be deemed to have
                                   occurred only on the date of first exposure to such occurrence or pollution
                                   condition.



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Reviewer: Lindsay Z.                However, ifthe date of first exposure cannot be determined and the bodily
                                   injury, property damage or environmental damage continues in fact during
                                   this policy period, all such injury or damage shall be deemed to have occurred
                                   during the policy period of the first policy issued to you by us or our affiliate
                                   providing substantially the same coverage as provided by this Policy for bodily
                                   injury, property damage or environmental damage that takes place during
                                   the policy period.

                             b.    If the same, related, continuous or repeated occurrence(s) or pollution
                                   condition(s) take place over the periods of multiple policies issued by us or our
                                   affiliate to you providing substantially the same coverage as provided by this
                                   Policy for bodily injury, property damage or environmental damage that
                                   takes place during the policy period:

                                   (1)   all such bodily injury, property damage or environmental damage shall
                                         be deemed to have taken place only during the policy period of the first
                                         such policy in which any of the bodily injury, property damage or
                                         environmental damage took place; and

                                   (2)   all loss arising from all such bodily injury, property damage or
                                         environmental damage shall be deemed to have arisen from one
                                         occurrence or pollution condition and shall be subject to the limits of
                                         liability in effect for such first policy period.

                     6.    Extension of Policy Period
                           The Limits of Liability apply to the entire policy period. Any extension of the
                           policy period that occurs after the inception date shall be deemed part of the
                           preceding period for the purposes of determining the applicable Limits of
                           Liability.

                     7.    Deductible
                           We will pay loss in excess of the applicable Deductible set forth in Item 3 of the
                           Declarations. Deductible payments do not erode the Limits of Liability.

                           A separate Deductible will apply to:

                             a.    each occurrence, pollution condition or wrongful act;

                             b.    the same, related, continuous or repeated occurrence(s), pollution
                                   condition(s) or wrongful act(s); or

                             c.    any combination of a. and b. above.

                                   For Coverage 1B (Personal and Advertising Injury Liability), the Deductible
                                   applies to all personal and advertising injury sustained by any one person or
                                   organization. For Coverage 2D and Coverage 3, the Deductible includes legal
                                   defense costs. If the same, related, continuous or repeated occurrence(s),
                                   pollution condition(s) or wrongful act(s) results in application of more than
                                   one Coverage, only the highest applicable Deductible shall apply.

                                   Upon our request, the first named insured shall promptly reimburse us for
                                   advancing any portion of the Deductible we have paid. In the event that the
                                   first named insured does not promptly reimburse us for any Deductible amount
                                   so advanced, any costs incurred by us in the collection of those amounts shall
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Reviewer: Lindsay Z.                be added to the Deductible amounts due to us  including, but not limited to,
                                  collection agency fees, attorney fees and interest.


              XXII. NOTICE, RIGHTS AND DUTIES

                     1.   Your Duties in the Event of an Occurrence, Offense, or Wrongful Act
                          It is a condition precedent to coverage that you give us written notice as soon as
                          practicable of any occurrence, offense, or wrongful act which may result in a claim.
                          To the extent practicable, such notice should include:

                            a.    How, when and where the occurrence, offense, or wrongful act took place;

                            b.    The names and addresses of any injured persons and witnesses; and

                            c.    The nature and location of any injury or damage arising out of the occurrence,
                                  offense, or wrongful act.

                          Notice of an occurrence, offense, or wrongful act is not notice of a claim.

                     2.   Your Duties in the Event of a Pollution Condition

                            a.    It is a condition precedent to coverage that you give us written notice of a
                                  pollution condition as soon as practicable. Written notice shall contain all of
                                  the following information:

                                  (1)   The cause of the pollution condition;

                                  (2)   The address of the location where the pollution condition took place;

                                  (3)   The circumstances under which and the date the insured first became
                                        aware of the pollution condition;

                                  (4)   Bodily injury, property damage, environmental damage or cleanup
                                        costs which have resulted or may result from such pollution condition;

                                  (5)   The name of all insureds that may be subject to a claim and all potential
                                        claimants;

                                  (6)   All engineering information available relating to the pollution condition;
                                        and

                                  (7)   Any other information that we deem reasonably necessary and is
                                        reasonably available to the insured.

                            b.    You shall have the duty to mitigate and clean up any pollution condition to the
                                  extent required by environmental laws, including retaining appropriate
                                  environmental professionals. We may exercise our right to require that such
                                  environmental professionals have certain professional qualifications, including
                                  experience with similar pollution conditions and cleanup costs. We shall
                                  have the right but not the duty to review and approve all aspects of any such
                                  cleanup. You shall notify us of actions and measures taken pursuant to this
                                  Paragraph.


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Reviewer: Lindsay Z.         3.     Our Rights in the
                                                   Event of a Pollution Condition
                               We shall have the right, but not the duty, to clean up or mitigate a pollution condition
                               upon receiving notice as provided under Paragraph 2. above. Any sums we expend in
                               taking such action shall be deemed incurred or expended by the insured and shall be
                               applied against the Limits of Liability and Deductible of this Policy. Further, we shall
                               have the right, but not the duty, to participate in decisions regarding cleanup costs and
                               to assume direct control over all aspects of the cleanup and the adjustment of any claim
                               or emergency expenses up to the applicable Limits of Liability. If we exercise this
                               right, the insured shall promptly reimburse us for any element of loss falling within the
                               Deductible.

                         4.    Your Duties in the Event of a Claim or Suit
                               Without limiting the requirements of any insuring agreement in this Policy, you shall give
                               us written notice of any claim made or suit brought against an insured as soon as
                               practicable. Such written notice shall include the following:

                                  a.    All reasonably obtainable information with respect to the circumstances of the
                                        claim or suit, and the names and addresses of the claimants and available
                                        witnesses;

                                  b.    All demands, summonses, notices or other process or legal papers received in
                                        connection with the claim or suit; and

                                  c.    Other information in the possession of the insured or its hired experts which we
                                        deem reasonably necessary.

                         5.    Your Duties with Respect to Emergency Expenses
                               Within ten (10) days of the first discovery of the pollution condition for which
                               emergency expenses have been incurred, you shall forward to us all information
                               pertaining to the emergency expenses incurred. Such information shall include, to the
                               extent reasonably available, the cause and location of the pollution condition, costs
                               incurred and all associated invoices, technical reports, laboratory data, field notes,
                               expert reports, investigations, data collected, regulatory correspondence or any other
                               documents relating to the emergency expenses incurred.

                         6.    Knowledge of an Occurrence
                               Knowledge of an occurrence, offense, pollution condition or wrongful act by any of
                               your agents, servants or employees, or any other person shall not it itself constitute
                               knowledge by you unless a responsible insured or a manager or equivalent level
                               employee in your Risk Management, Insurance or Law Department possesses such
                               knowledge.

                         7.    Mistaken Notice
                               If you mistakenly notify another insurer rather than us of an occurrence, offense,
                               pollution condition or wrongful act, such mistaken failure to notify us shall not
                               invalidate coverage so long as you notify us of the occurrence, offense, pollution
                               condition or wrongful act within a reasonable time after you become aware of such
                               error.


                 XXIII. CONDITIONS

                         1.    Action against Company
                               No person or organization other than an insured has a right under this Policy:

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                           a.    To join us as a party or otherwise bring us into a suit against any insured; or

                           b.    To sue us, in connection with this insurance unless all of this Policy’s terms
                                 have been fully complied with.

                         However, a person or organization may sue us to recover on an agreed settlement or
                         on a final judgment against an insured; but we will not be liable for any loss that is not
                         payable under the terms of this Policy or that is in excess of the applicable Limit of
                         Liability. An agreed settlement means a settlement and release of liability signed by us,
                         the insured and the claimant or the claimant's legal representative.

                    2.   Appeals
                         At our discretion, we may appeal any judgment that would result in a payment under this
                         Policy. When we appeal, we will pay all costs associated with the appeal in addition to
                         the limits of liability. Any such appeal will not increase our limits of liability.

                    3.   Bankruptcy
                         Bankruptcy or insolvency of an insured or an insured’s estate shall not relieve us of our
                         obligations under this Policy. However, any such insolvency or bankruptcy of an
                         insured or an insured’s estate shall not increase our obligations including, but not limited
                         to, those with respect to any Deductible.

                    4.   Cancellation
                         The first named insured may cancel this Policy by delivery thereof to us or our
                         authorized agent, or by mailing to us written notice stating when thereafter the
                         cancellation shall be effective. We may cancel this Policy by mailing to the first named
                         insured at the address shown in Item 1 of the Declarations, a notice stating when such
                         cancellation shall be effective. We may cancel this Policy for the following reasons only:

                           a.    Non-payment of premium;

                           b.    Fraud or material misrepresentation; or

                           c.    A material change in the use of, or operations conducted at, any scheduled
                                 site that would materially increase the risk insured hereunder.

                                 The time of delivery or the effective date and hour of cancellation stated in the
                                 notice shall become the end of the policy period. Delivery of such written
                                 notice either by the first named insured or by us shall be equivalent to mailing.
                                 Proof of mailing such notice shall be sufficient proof of notice.

                                 We shall provide notice of cancellation not less than:

                                 (1)   ten (10) days prior to the effective date of cancellation for non-payment of
                                       premium; or

                                 (2)   sixty (60) days prior to the effective date of cancellation for fraud, material
                                       misrepresentation or a material change in the use of, or operations
                                       conducted at, any scheduled site that would materially increase the risk
                                       insured hereunder.




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Reviewer: Lindsay Z.         5.     Changes and Assignment
                           The terms, definitions, conditions, exclusions and limitations of this Policy shall not be
                           waived or changed, and no assignment of any interest in this Policy shall bind us,
                           except as provided by an endorsement issued by us and attached to this Policy.

                     6.    Consent
                           Where our consent or your consent is required under this Policy, such consent shall not
                           be unreasonably withheld, delayed, conditioned or denied.

                     7.    Cooperation
                           The insured shall assist and cooperate with us in the investigation, adjustment, defense
                           or settlement of any claim or suit, including participating in meetings, testifying at
                           hearings, depositions and trials, securing evidence, assisting us with investigating the
                           existence of and procuring access to any other applicable insurance coverage and
                           providing any written statements as we may require.

                     8.    Currency
                           Any reimbursement we make under this Policy will be made in U.S. currency at the
                           prevailing exchange rate on the date the judgment is rendered, or the date the amount
                           of the settlement is agreed upon, or the date any other reimbursable expenditure is
                           made by the insured, whichever is most applicable.

                     9.   Declarations and Representations
                          By acceptance of this Policy, you agree that:

                             a.    The statements contained in the Declarations, the Application and any
                                   supplemental materials and information submitted in connection with the
                                   Application or any amendments to the policy during the policy period, are your
                                   statements and representations;

                             b.    This Policy is issued in reliance upon the truth of such statements and
                                   representations;

                             c.    The statements and representations provided to us contain no material
                                   omissions; and

                             d.    This Policy embodies all agreements existing between you and us relating to the
                                   coverage provided hereunder.

                    10.    Economic and Trade Sanctions
                           This Policy shall not apply to any risk which would be in violation of the laws of the
                           United States including, but not limited to, U.S. economic or trade sanction laws or
                           export control laws administered by the U.S. Treasury, State, or Commerce
                           Departments.

                    11.    Headings
                           The descriptions in the headings and sub-headings of this Policy are included solely for
                           convenience and form no part of this Policy’s terms and conditions.

                    12.    Independent Counsel
                           In the event an insured is entitled by law to select independent counsel to represent or
                           defend an insured at our expense, the attorney’s fees and all other litigation expenses
                           incurred by us shall be limited to the rates we would pay to counsel normally retained by
                           us in the ordinary course of business when defending similar claims in the jurisdiction

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Reviewer: Lindsay Z.                where the claim arose or is being defended. In addition, we may exercise our right to
                            require that such counsel:

                               a.    meet certain minimum qualifications with respect to competency, including
                                     possessing a minimum of five (5) years experience in defending claims similar
                                     to those asserted against the insured;

                               b.    maintain suitable errors and omissions insurance coverage; and

                               c.    agree, in writing, to respond in a timely manner to our requests for information
                                     regarding the claim.

                                     An insured may, at any time, waive any right it may have to select independent
                                     counsel.

                     13.    Inspection and Audit
                            With reasonable notice to you, we shall be permitted, but not obligated, to inspect,
                            sample and monitor on a continuing basis your property, equipment and/or operations.
                            Neither our right to make inspections, sample and monitor, nor the actual undertaking
                            thereof, nor any report thereon shall constitute an undertaking, on behalf of or for the
                            benefit of you or others, to determine or warrant that such property or operations are
                            safe, healthful or conform to acceptable engineering practice or are in compliance with
                            environmental laws, or any other law, rule or regulation. Further, the first named
                            insured agrees on behalf of all insureds, to grant us both the right to interview, and
                            access to, any insured whom we reasonably believe may have relevant information
                            pertaining to any claim or pollution condition potentially covered under this Policy.

                     14.    Other Insurance
                            If other valid and collectible insurance is available for any loss subject to coverage
                            under this Policy, our obligations are limited as follows:

                               a.    Primary Insurance
                                     Except as provided in paragraph b. below, this insurance is primary. When this
                                     insurance is primary, our obligations are not affected unless any of the other
                                     insurance is also primary, in which case we will share with all other primary
                                     insurance by the method described in paragraph c. below. However, in the
                                     event that a written contract, written agreement or permit requires this insurance
                                     to be primary for any person or organization that you agreed to insure, and
                                     provided such person or organization is an insured under this Policy, this
                                     insurance will be primary and we will not seek contribution from any other
                                     insurance issued to such person or organization.

                               b.    Excess Insurance
                                     This insurance is excess over:

                                     (1) Any other insurance, whether primary, excess, contingent or on any other
                                         basis that is: (i) Fire, Extended Coverage, Builder’s Risk, Installation Risk or
                                         similar coverage for your work; (ii) Fire insurance for premises rented to
                                         you or temporarily occupied by you with permission of the owner; (iii)
                                         insurance purchased by you to cover your liability as a tenant for property
                                         damage to premises rented to you or temporarily occupied by you with
                                         permission of the owner; or (iv) insurance applicable to loss arising out of
                                         the maintenance or use of aircraft, autos or watercraft;


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Reviewer: Lindsay Z.                (2) Notwithstanding the provisions of paragraph a. above, any other primary
                                       insurance available to you covering liability for damages arising out of the
                                       premises or operations, the products-completed operations hazard,
                                       your work, transportation, waste disposal facility, non-owned location,
                                       scheduled site or unscheduled site for which you have been added as an
                                       additional insured; or

                                  (3) Any insurance:

                                       (a) available to the insured and issued, or applicable to, any territory
                                           outside the United States of America, its territories and
                                           possessions, Puerto Rico and Canada; or

                                       (b) required by law, regulation or other governmental authority in any
                                           country or jurisdiction outside the United States of America, its
                                           territories and possessions, Puerto Rico and Canada.

                                      When this insurance is excess:

                                       (a) We will have no duty to defend the insured against any suit if any other
                                           insurer has a duty to defend the insured against that suit; however

                                       (b) If no other insurer has a duty to defend, we will undertake to do so, but
                                           we will be entitled to the insured’s rights against all those other
                                           insurers.

                                            When this insurance is excess over other insurance, we will pay only
                                            our share of the amount of loss, if any, that exceeds the sum of the: (i)
                                            total amount that all such other insurance would pay for the loss in the
                                            absence of this insurance; and (ii) total of all deductibles, retained and
                                            self-insured amounts under all that other insurance. Then, we will
                                            share the remaining loss, if any, with any other insurance that is not
                                            described in this subparagraph (b) and was not bought specifically to
                                            apply in excess of the applicable Limits of Liability of this Policy.

                             c.   Method of Sharing
                                  If all of the other insurance permits contribution by equal shares, we also will
                                  follow such method. Under this method, each insurer contributes equal amounts
                                  until it has paid its limit of liability or no loss remains, whichever comes first.

                                  If any of the other insurance does not permit contribution by equal shares, we
                                  will contribute by limits. Under this method, each insurer’s share is based on the
                                  ratio of its limit of liability to the total applicable limits of insurance of all insurers.

                     15.   Separation of Insureds
                           Except with respect to the Limits of Liability, Deductible, Insured versus Insured
                           exclusion, and any rights and duties specifically assigned to the first named insured,
                           this insurance applies:

                             a.   As if each Named Insured were the only Named Insured; and

                             b.   Separately to each insured against whom a claim is made.



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Reviewer: Lindsay Z.                Misrepresentation or concealment by one insured shall not prejudice the interest
                                    or coverage for another insured under this Policy, except where such latter
                                    insured is a parent, subsidiary, or affiliate of the insured that committed such
                                    misrepresentation or concealment. For the purposes of this condition, an
                                    “affiliate” means an entity that directly or indirectly is controlled by, or is under
                                    common control with, the insured that committed such misrepresentation or
                                    concealment. Notwithstanding the forgoing, nothing stated herein shall preclude
                                    us from seeking and obtaining rescission of this Policy in the event of a material
                                    misrepresentation in the application for insurance. In addition, nothing stated
                                    herein shall operate to increase the limit(s) of liability provided hereunder.

                      16.   Sole Agent
                            The first named insured shall act on behalf of all insureds for the payment of the
                            Deductible, payment or return of premium, receipt and acceptance of any endorsement
                            issued to form a part of this Policy, giving and receiving notice of cancellation, and the
                            exercise of the rights provided in section XXIV. EXTENDED REPORTING PERIODS.

                      17.   Subrogation
                            In the event of any payments made pursuant to this Policy, we shall be subrogated to
                            any insured’s rights of recovery against any person, entity or organization. The insured
                            shall execute and deliver instruments and papers and do whatever is necessary to
                            secure and perfect such rights. No insured shall do anything to prejudice such rights.

                            Any recovery obtained as a result of subrogation, after such expenses incurred in the
                            subrogation proceedings are deducted by us, shall accrue first to the insured to the
                            extent of any payments in excess of the Limit of Liability; then us to the extent of any
                            payments made under this Policy; and then to the insured to the extent of its Deductible.

                            However, solely with respect to Coverage Part 1 or Coverage Part 2, if the insured has
                            waived rights of recovery against any person, entity or organization prior to a loss or
                            claim, we waive any right to recovery we may have under the policy against such
                            person, entity or organization.

                      18.   Voluntary Payments
                            The insured shall not settle any claim or suit or, with the exception of emergency
                            expenses, make any voluntary payments without our prior written consent. If we
                            recommend a settlement, the insured shall have the opportunity to consent to it, such
                            consent not to be unreasonably withheld or delayed. If we recommend a settlement that
                            is acceptable to a claimant for a total amount in excess of the applicable Deductible and
                            within the applicable Limits of Liability and the insured refuses to consent to such
                            settlement, then our liability for loss shall be limited to that portion of the recommended
                            settlement, and the legal defense costs incurred as of the date of the insured’s refusal,
                            which exceeds the Deductible and falls within the applicable Limit of Liability.


              XXIV.     EXTENDED REPORTING PERIODS

                       This section XXIV. applies to Coverages 2C, 2D and 3 only.

                       1.   We will provide one or more Extended Reporting Periods, as described below, if this
                            Policy is terminated for any of the following reasons:

                              a.    Cancellation by us for any reason other than failure to pay a premium when due
                                    or fraud or material misrepresentation;

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                            b.   Non-renewal by us; or

                            c.   Cancellation by you and you had not purchased any other insurance to replace
                                 this insurance.

                     2.   Extended Reporting Periods apply only to pollution conditions and wrongful acts that
                          commenced on or after any applicable retroactive date and before the end of the
                          policy period. Extended Reporting Periods do not extend the policy period or change
                          the scope of coverage provided. Once in effect, Extended Reporting Periods may not
                          be canceled. Neither the Automatic Extended Reporting Period nor the Optional
                          Extended Reporting Period, if purchased, reinstates or increases any applicable Limit of
                          Liability.

                     3.   Automatic Extended Reporting Period

                            a.   A ninety (90) day Automatic Extended Reporting Period is automatically
                                 provided without additional charge. The Automatic Extended Reporting Period
                                 starts with the end of the policy period.

                            b.   A claim first made against an insured during the policy period and first
                                 reported to us during the Automatic Extended Reporting Period shall be deemed
                                 to have been first reported to us on the last day of the policy period.

                            c.   If the Optional Extended Reporting Period is purchased, the Automatic
                                 Extended Reporting Period shall not apply.

                     4. Optional Extended Reporting Period

                            a.   The first named insured shall be entitled to purchase an Optional Extended
                                 Reporting Period of up to three (3) years in duration. The Optional Extended
                                 Reporting Period starts with the end of the policy period.

                                 The first named insured must make a written request to us for an Optional
                                 Extended Reporting Period Endorsement within thirty (30) days after the end of
                                 the policy period. The Optional Extended Reporting Period will not go into
                                 effect unless the first named insured pays the additional premium within thirty
                                 (30) days of making the request for an Optional Extended Reporting Period
                                 Endorsement. The charge for the Optional Extended Reporting Period shall not
                                 exceed two hundred percent (200%) of the total premium for this Policy set forth
                                 in Item 4 of the Declarations, as modified by any premium adjustments during
                                 the policy period.

                            b.   A claim first made against an insured during the policy period or the Optional
                                 Extended Reporting Period, and first reported to us during the Optional
                                 Extended Reporting Period, shall be deemed to have been first made against an
                                 insured and first reported to us on the last day of the policy period.

                            c.   At the commencement of the Optional Extended Reporting Period, the entire
                                 additional premium shall be deemed fully earned.

                            d.   The Optional Extended Reporting Period Endorsement shall set forth the terms,
                                 not inconsistent with this section, applicable to the Optional Extended Reporting
                                 Period, including a provision to the effect that the insurance afforded for claims

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Reviewer: Lindsay Z.                first made  and reported during such period is excess over any other valid and
                                    collectible insurance available under policies in force during or after the Optional
                                    Extended Reporting Period.


               XXV. DEFINITIONS

                       1.   Administration means:

                              a.    providing information to employees, including their dependents and
                                    beneficiaries, with respect to eligibility for or the scope of employee benefits
                                    programs;

                              b.    handling records in connection with the employee benefits program; or

                              c.    effecting, continuing or terminating any employee’s participation in any benefit
                                    included in the employee benefits program.

                                    Administration does not include handling payroll deductions.

                       2.   Advertisement means a notice that is broadcast or published to the general public or
                            specific market segments about your goods, products or services for the purpose of
                            attracting customers or supporters. For the purposes of this definition:

                              a.    published notices include material placed on the Internet or on similar electronic
                                    means of communication; and

                              b.    only that part of a website that pertains to your goods, products or services for
                                    the purposes of attracting customers or supporters is an advertisement.

                       3.   Auto means:

                              a.    a land motor vehicle, trailer or semitrailer designed for travel on public roads,
                                    including any attached machinery or equipment; or

                              b.    any other land vehicle that is subject to a compulsory or financial responsibility
                                    law or other motor vehicle insurance law in the state where it is licensed or
                                    principally garaged.

                                    Auto does not include mobile equipment.

                       4.   Bodily injury means the following injury(ies) sustained by any person, including, if
                            applicable, death resulting therefrom:

                              a.    physical injury, sickness, disease, or illness, including the cost of medical
                                    monitoring if resulting from any of the foregoing; and mental anguish, emotional
                                    distress, or shock.

                       5.   Cargo means your goods, products or wastes, or any goods, products or wastes for
                            which you are legally liable.

                       6.   Claim means a written notice, demand or assertion of a legal right alleging liability or
                            responsibility on the part of an insured for loss, and includes a suit.


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Reviewer: Lindsay Z.           7. Cleanup costs means reasonable and necessary expenses, including restoration
                           costs, incurred with our prior written consent which shall not be unreasonably withheld
                           or delayed, to investigate, remove, treat, remediate, neutralize or immobilize a pollution
                           condition, including associated monitoring or disposal costs, to the extent:

                             a.    required by environmental laws or if no applicable laws exist, to the extent
                                   recommended in writing by an environmental professional; or

                             b.    actually incurred by the government or any political subdivision of the United
                                   States of America or any state thereof, or by third parties.

                      8.   Conveyance means any auto, railcar, train, watercraft or aircraft, provided the person
                           or entity transporting the goods, products or waste is both in the business of and is
                           properly licensed to transport the materials being moved. Conveyance does not
                           include pipelines.

                      9.   Coverage territory means the following:

                             a.    The United States of America, its territories and possessions, Puerto Rico and
                                   Canada;

                             b.    International waters or airspace, but only if the injury or damage occurs in the
                                   course of travel or transportation between any places included in paragraph a.
                                   above; or

                             c.    Subject to paragraph d. below, anywhere in the world, with the exception of any
                                   country or jurisdiction listed in paragraph a. or b. above and any country in
                                   which this insurance would be in violation of the laws of the United States as set
                                   forth in section XXIII. CONDITIONS, paragraph 10. Economic and Trade
                                   Sanctions, but only if the injury or damage arises out of:

                                   (1)   (a) the activities of a person whose home is in the territory described in
                                             paragraph a. above, but is away for a short time on your business; or

                                         (b) personal and advertising injury offenses that take place through the
                                             internet or similar electronic means of communication, provided also
                                             that the insured’s responsibility to pay any damages is determined in
                                             a suit on the merits, in the territory described in paragraph a. above
                                             or in a settlement we agree to in writing;

                                   (2)   your product; or

                                   (3)   a pollution condition resulting from your work performed for a third party
                                         at a job site.

                              d.   When paragraph c. above applies, the following conditions also apply:

                                   (1)   Notwithstanding anything to the contrary in this Policy, we will have the
                                         right but not the duty to investigate and settle any claim and defend,
                                         investigate and settle any suit for damages. If we opt to defend any such
                                         claim or suit, subsequent to the satisfaction of any applicable deductible
                                         by you, we will pay legal defense costs. If we opt not to exercise the
                                         right to defend, then, notwithstanding anything to the contrary in this
                                         Policy, the following additional provisions will apply:

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                                       (a) the insured, under our supervision and as is reasonably necessary,
                                           will arrange for investigation and defense of any such claim or suit;

                                       (b) the insured may, subject to our prior written consent, settle any such
                                           claim or suit as we and the insured deem expedient; and

                                       (c) subject to any applicable deductible or retention, we will reimburse the
                                           insured for the reasonable costs of:

                                          (i)      the investigation and defense of such claim or suit to the extent
                                                   that we would have paid such costs as legal defense costs had
                                                   we exercised the right to defend; and

                                          (ii)     any damages other than legal defense costs to which this
                                                   insurance applies that the insured becomes legally obligated to
                                                   pay as a result of any judgment rendered against the insured, or
                                                   by a settlement effectuated in accordance with paragraph (b)
                                                   above.

                                       Any such reimbursement we make under subparagraph (i) or (ii) above is
                                       subject to section XXIII. CONDITIONS, paragraph 8. Currency.

                                       The rules that fix both (i) the treatment of legal defense costs with
                                       respect to reducing the applicable Limits of Liability, and (ii) our duty to
                                       defend or to continue defending any claim or suit as applicable to any
                                       particular coverage or coverage part will apply for that particular coverage
                                       or coverage part in the same manner as outlined in this Policy, or as
                                       amended by endorsement hereto.

                                 (2)   Any insuring agreement, coverage, or coverage part applicable to such
                                       claim or suit is hereby amended by deleting the phrase “will pay on behalf
                                       of the insured” and replacing it with “will reimburse the insured for”.

                                 (3)   This insurance shall not serve as proof of insurance: (i) in any country
                                       where non-admitted insurance is prohibited by local applicable law; or (ii)
                                       without our prior written consent.

                                 (4)   The insured must fully maintain any coverage required by law, regulation
                                       or other governmental authority during the policy period, except for
                                       reduction of the limits due to payments of claims, damages, loss, or other
                                       judgments or settlement. Failure to maintain such coverage required by
                                       laws, regulation or other governmental authority will not invalidate this
                                       insurance. However this insurance will apply as if the required coverage
                                       by law, regulation or other governmental authority was in full effect.

                                 (5)   Any disputes between you and us as to whether there is coverage under
                                       this Policy must be filed in the courts of the United States, its territories or
                                       possessions.

                    10.   Crisis management consultant means a professional firm or consultant that provides
                          crisis management services and has been approved in writing by us, the approval for
                          which shall not be unreasonably withheld.


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Reviewer: Lindsay Z.         11. Crisis management costs mean those reasonable and necessary fees and
                          expenses:

                            a.    incurred by you within ninety (90) days after the crisis management event is
                                  discovered by you, or thereafter as approved by us in writing; and

                            b.    for services provided to you by a crisis management consultant for the sole
                                  purpose of assisting you with:

                                  (1)   managing the media in direct response to a crisis management event to
                                        which this insurance applies; or

                                  (2)   minimizing the economic harm to you caused by a crisis management
                                        event to which this insurance applies by consulting with you with respect
                                        to maintaining and restoring your company’s public image or reputation.

                                        The insured must take reasonable steps to minimize crisis management
                                        costs.

                    12.   Crisis management event means the public announcement or accusation by a third
                          party that your product, or a pollution condition for which you are alleged to be
                          legally responsible, has caused:

                            a.    bodily injury involving multiple third parties; or

                            b.    property damage, but only to the extent resulting in actual physical damage, or
                                  environmental damage to real properties owned by multiple third parties,
                                  provided that one of your executive officers has proffered, in our sole
                                  discretion, a good faith opinion that the public announcement or accusation has
                                  caused or is reasonably likely to cause economic harm to, or a material adverse
                                  effect on, your company’s image or goodwill.

                    13.   Emergency expenses means reasonable and necessary expenses incurred within the
                          first ninety-six (96) hours of discovery of a pollution condition to abate or respond to
                          an imminent and substantial threat to human health or the environment resulting from
                          such pollution condition.

                          Emergency expenses includes, legal defense costs incurred in connection with the
                          foregoing expenses.

                    14.   Employee includes a leased worker. Employee does not include a temporary
                          worker. Solely with respect to Coverage 1F (Employee Benefits Administration
                          Liability), employee also means a person actively or formerly employed, on leave of
                          absence, disabled or retired.

                    15.   Employee benefit program means a program providing some or all of the following
                          benefits to employees, whether provided through a plan authorized by applicable law to
                          allow employees to elect to pay for certain benefits with pre-tax dollars or otherwise:

                            a.    Group life insurance, group accident or health insurance, dental, vision and
                                  hearing plans, and flexible spending accounts, provided that no one other than
                                  an employee may subscribe to such benefits and such benefits are made
                                  generally available to those employees who satisfy the plan’s eligibility
                                  requirements;

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                            b.    Profit sharing plans, employee savings plans, employee stock ownership plans,
                                  pension plans and stock subscription plans, provided that no one other than an
                                  employee may subscribe to such benefits and such benefits are made
                                  generally available to all employees who are eligible under the plan for such
                                  benefits;

                            c.    Unemployment insurance, social security benefits, workers’ compensation and
                                  disability benefits; and

                            d.    Vacation plans, including buy and sell programs; leave of absence programs,
                                  including military, maternity, family, and civil leave; tuition assistance plans;
                                  transportation and health club subsidies.

                    16.   Environmental damage means (i) physical damage to biota, soil, groundwater, surface
                          water or the atmosphere caused by a pollution condition, or (ii) the presence of
                          microbial matter; in either case giving rise to cleanup costs or emergency expenses.
                          Environmental damage does not include property damage.

                    17.   Environmental laws means any federal, state, provincial, commonwealth, municipal or
                          other local law, statute, directive, ordinance, rule, guidance document, regulation, and
                          all amendments thereto, including voluntary cleanup or risk-based corrective action
                          guidance, governing the liability or responsibilities of the insured with respect to a
                          pollution condition.

                    18.   Environmental professional means an individual designated by us or by you with our
                          prior written consent who is currently certified or licensed in a recognized field of
                          applicable environmental science as required by a state board or professional
                          association and who maintains errors and omissions coverage acceptable to us.

                    19.   Executive officer means a person holding any of the officer positions created by the
                          insured in its charter, constitution, by-laws or any other similar governing document.

                    20.   First named insured means the first person or entity identified in Item 1 of the
                          Declarations.

                    21.   Hostile fire means one which becomes uncontrollable or breaks out from where it was
                          intended to be.

                    22.   Illicit abandonment means the intentional placement, abandonment or disposal on, or
                          into a job site, unscheduled site or scheduled site by a person or entity that:

                            a.    is not an insured;

                            b.    is not affiliated by common ownership with an insured; and

                            c.    has never maintained an ownership or operational interest in the job site,
                                  unscheduled site or scheduled site.

                    23. Impaired property means tangible property, other than your product or
                        your work, that cannot be used or is less useful because:

                            a.    it incorporates your product or your work that is known or thought to be
                                  defective, deficient, inadequate or dangerous; or

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                            b.    you have failed to fulfill the terms of a contract or agreement; if such property
                                  can be restored to use or rendered useful by the repair, replacement,
                                  adjustment or removal of your product or your work or your fulfilling the terms
                                  of such contract or agreement.

                    24.   Inception date means the first date set forth in Item 2 of the Declarations.

                    25.   Insured contract means:

                            a.    With respect to all coverages other than Coverage 2D (Pollution Liability for
                                  Your Sites):

                                  (1)   A contract for a lease of premises. However, that portion of the contract
                                        for a lease of premises that indemnifies any person or organization for
                                        damage by fire to premises while rented to you or temporarily occupied by
                                        you with permission of the owner is not an insured contract;

                                  (2)   A sidetrack agreement;

                                  (3)   An obligation, as required by ordinance, to indemnify a municipality,
                                        except in connection with work for a municipality;

                                  (4)   An elevator maintenance agreement;

                                  (5)   That part of any other contract or agreement pertaining to your business
                                        (including an indemnification of a municipality in connection with work
                                        performed for a municipality) under which you assume the tort liability of
                                        another party to pay for bodily injury, property damage or
                                        environmental damage to a third person or organization. Tort liability
                                        means a liability that would be imposed by law in the absence of any
                                        contract or agreement.

                                        Paragraph (5) does not include that part of any contract or agreement:

                                        (a) That indemnifies an architect, engineer, or surveyor, his agents or
                                            employees, for injury or damage arising out of preparing, approving or
                                            failing to prepare or approve maps, drawings, opinions, reports,
                                            surveys, change orders, designs, or specifications; or giving directions
                                            or instructions, or failing to give them, if that is the primary cause of the
                                            injury or damage.

                                        (b) Under which the insured, if an architect, engineer or surveyor,
                                            assumes liability for an injury or damage arising out of the insured’s
                                            rendering or failure to render professional services, including those
                                            listed in (a) above and supervisory, inspection, architectural or
                                            engineering activities.

                            b.    With respect to Coverage 2D (Pollution Liability for Your Sites):

                                  A written contract or agreement with your customer that indemnifies them for
                                  loss arising from the storage, handling, treatment, processing, recycling or
                                  disposal of their waste by you at any scheduled site or unscheduled site.


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Reviewer: Lindsay Z.                c. A written contract or agreement listed on a Schedule of Insured Contracts
                                   endorsement to this Policy.

                     26.   Job site means a location where you perform your work other than any:

                             a.    scheduled site, unscheduled site, waste disposal facility or non-owned
                                   location; or

                             b.    location owned, operated, leased, rented, or managed by an insured, or any
                                   subsidiary or affiliate of an insured, at any time.

                                   However, paragraph b. above, does not apply to a location rented or leased for
                                   a short time in support of a project.

                     27.   Legal defense costs means:

                             a.    reasonable and necessary costs, charges and expenses including expert
                                   charges, incurred in the investigation, adjustment, defense or settlement of any
                                   claim or suit;

                             b.    all reasonable expenses incurred by the insured at our request to assist us in
                                   the investigation or defense of the claim or suit, including actual loss of
                                   earnings up to $750 a day because of time off from work;

                             c.    all court costs taxed against the insured in the suit; however, these payments
                                   do not include attorneys’ fees or attorneys’ expenses or sanctions taxed to,
                                   awarded against or imposed upon the insured;

                             d.    prejudgment interest awarded against the insured on that part of the judgment
                                   we pay; if we make an offer to pay the applicable Limit of Liability, we will not
                                   pay any prejudgment interest based on that period of time after the offer;

                             e.    all interest on the full amount of any judgment within the applicable Limit of
                                   Liability that accrues after entry of the judgment and before we have paid,
                                   offered to pay, or deposited in court the part of the judgment that is within the
                                   applicable Limit of Liability; and

                             f.    reasonable and necessary costs, charges and expenses including expert
                                   charges, incurred with our prior written consent, in representing the insured in
                                   an action brought by a regulatory agency with jurisdiction over environmental
                                   laws.

                     28.   Leased worker means a person leased to you by a labor leasing firm under an
                           agreement between you and the labor leasing firm, to perform duties related to the
                           conduct of your business. Leased worker does not include a temporary worker.

                     29.   Loading or unloading means the handling of property:

                             a.    after it is moved from the place where it is accepted for movement into or onto
                                   an auto, railcar, train, watercraft or aircraft;

                             b.    while it is in or on an auto, railcar, train, watercraft or aircraft; or

                             c.    while it is being moved from an auto, railcar, train, watercraft or aircraft to the
                                   place where it is finally delivered.
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Reviewer: Lindsay Z.
                                Loading or unloading does not include the movement of property by means of
                                a mechanical device, other than a hand truck, that is not attached to the auto,
                                railcar, train, watercraft or aircraft.

                    30.   Location means premises involving the same or connecting lots, or premises whose
                          connection is interrupted only by a street, roadway, waterway or right-of-way of a
                          railroad.

                    31.    Loss means:

                           a.   monetary awards or settlements of compensatory damages; and

                           b.   solely with respect to Part 2 Coverages (Special Pollution Coverages):

                                (1)   civil fines, civil penalties and civil assessments for bodily injury, property
                                      damage or environmental damage; and

                                (2)   where insurable by law, punitive, exemplary or the multiplied portion of
                                      multiplied damages;

                           c.   solely with respect to Coverage 1C, medical expenses;

                           d.   solely with respect to Coverages 2C and 2D, clean-up costs;

                           e.   solely with respect to Coverages 2A, 2B, and 2D, emergency expenses;

                           f.   solely with respect to Coverages 1G and 2E, crisis management costs;

                           g.   solely with respect to Coverages 2D and 3, legal defense costs.

                    32.   Low-level radioactive waste means waste that is radioactive but is not spent nuclear
                          fuel, byproduct material (as defined in 10 C.F.R. § 20.1003), uranium mill tailings,
                          transuranic radioactive waste, or classified as high-level radioactive waste by the U.S.
                          Nuclear Regulatory Commission.

                    33.   Microbial matter means mold, fungus or legionella on or within any building or
                          structure whether or not the substance is living.

                    34.   Mixed waste means waste containing some levels of both low-level radioactive
                          waste and hazardous waste as defined in the Resource Conservation and Recovery
                          Act, as amended.

                    35.   Mobile equipment means any of the following types of land vehicles, including any
                          attached machinery or equipment:

                           a.   Bulldozers, farm machinery, forklifts and other vehicles designed for use
                                principally off public roads;

                           b.   Vehicles maintained for use solely on or next to premises you own or rent;

                           c.   Vehicles that travel on crawler treads;



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Reviewer: Lindsay Z.                d. Vehicles, whether self-propelled or   not, maintained primarily to provide mobility
                                     to permanently mounted:

                                     (1)   Power cranes, shovels, loaders, diggers or drills; or

                                     (2)   Road construction or resurfacing equipment such as graders, scrapers or
                                           rollers;

                               e.    Vehicles not described in paragraphs a. through d. above that are not self-
                                     propelled and are maintained primarily to provide mobility to attached
                                     equipment of the following types:

                                     (1)   Air compressors, pumps and generators, including spraying, welding,
                                           building cleaning, geophysical exploration, lighting and well servicing
                                           equipment; or

                                     (2)   Cherry pickers and similar devices used to raise or lower workers;

                               f.    Vehicles not described in paragraphs a. through d. above maintained primarily
                                     for purposes other than the transportation of persons or cargo.

                                     However, self-propelled vehicles with the following types of permanently
                                     attached equipment are not mobile equipment but are autos:

                                     (1)   Equipment designed primarily for:

                                           (a) Snow removal;

                                           (b) Road maintenance, but not construction or resurfacing; or

                                           (c) Street cleaning;

                                     (2)   Cherry pickers and similar devices mounted on automobile or truck
                                           chassis and used to raise or lower workers; and

                                     (3)   Air compressors, pumps and generators, including spraying, welding,
                                           building cleaning, geophysical exploration, lighting and well servicing
                                           equipment.

                                           Mobile equipment does not include any land vehicles that are subject to a
                                           compulsory or financial responsibility law or other motor vehicle insurance
                                           law in the state where it is licensed or principally garaged. Land vehicles
                                           subject to a compulsory or financial responsibility law or other motor
                                           vehicle insurance law are considered autos.

                        36.   Natural resource damage means injury to, destruction of, or loss of value of, fish,
                              wildlife, biota, land, air, water, groundwater, drinking water supplies, and other such
                              resources belonging to, managed by, held in trust by, appertaining to, or otherwise
                              controlled by the United States of America (including the resources of the fishery
                              conservation zone established by the Magnuson-Stevens Fishery Conservation and
                              Management Act (16 U.S.C § 1801 et. seq.)), any state or local government, or foreign
                              government, or any Native American Tribe, or, if such resources are subject to a trust
                              restriction on alienation, any members of any Native American Tribe, including the
                              reasonable costs of assessing such injury, destruction or loss resulting therefrom.

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                     37.   Non-owned location means any location where your goods or materials are legally
                           stored on your behalf by a third party, provided the location is not and never was
                           owned, operated or leased by you, your parent, subsidiary or affiliate, and the location
                           is:

                            a.   not and never was listed, or proposed to be listed, on the U.S. Environmental
                                 Protection Agency’s (EPA’s) Final National Priorities List (NPL), or on the
                                 Superfund or Comprehensive Environmental Response, Compensation, and
                                 Liability Information System (CERCLIS) database, or any state or provincial
                                 equivalent to the federal NPL, Superfund or CERCLIS database; and

                            b.   listed in a Schedule of Non-Owned Locations endorsement attached to this
                                 Policy.

                     38.   Occurrence means an accident, including conditions or repeated exposure to
                           substantially the same general harmful conditions.

                     39.   Our affiliate means any parent, subsidiary, affiliate, division, related company, holding
                           company, merged company, acquired company, predecessor-in-interest or successor-
                           in-interest of the Company, listed in the Declarations, issuing this Policy.

                     40.   Personal and advertising injury means injury, including consequential bodily injury,
                           arising out of one or more of the following offenses:

                            a.   false arrest, detention or imprisonment;

                            b.   malicious prosecution;

                            c.   wrongful eviction from, wrongful entry into, or invasion of the right of private
                                 occupancy of a room, dwelling or premises that a person occupies, committed
                                 by or on behalf of its owner, landlord or lesser;

                            d.   oral or written publication, in any manner, of material that slanders or libels a
                                 person or organization or disparages a person’s or organization’s goods,
                                 products or services;

                            e.   oral or written publication, in any manner, of material that violates a person’s
                                 right of privacy;

                            f.   use of another’s advertising idea in your advertisement; or

                            g.   infringing upon another’s copyright, trade dress or slogan in your
                                 advertisement.

                     41.   Policy period means the period set forth in Item 2 of the Declarations or any shorter
                           period resulting from cancellation of this Policy.

                     42.   Pollutant means any solid, liquid, gaseous or thermal irritant or contaminant, including
                           smoke, vapor, soot, fumes, acids, alkalis, toxic or hazardous substances,
                           electromagnetic fields, chemicals, waste, and microbial matter.




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Reviewer: Lindsay Z.           43. Pollution condition means:

                               a.   the discharge, dispersal, release, or escape; or

                               b.   illicit abandonment;

                                    of any pollutant into or upon land or any structure on land, the atmosphere, or
                                    any watercourse or body of water, including groundwater, in concentrations or
                                    at levels in excess of those naturally present in the environment.

                       44.    Products-completed operations hazard:

                               a.   Includes all bodily injury, property damage and environmental damage
                                    occurring away from premises you own or rent and arising out of your product
                                    or your work, except:

                                    (1)   Products that are still in your physical possession; or

                                    (2)   Your work that has not yet been completed or abandoned. Your work
                                          will be deemed completed at the earliest of the following times:

                                          (a)    when all of your work called for in your contract has been
                                                 completed;

                                          (b)    when all of the work to be done at the job site has been completed
                                                 if your contract calls for your work at more than one job site; or

                                          (c)    when that part of your work done at a job site has been put to its
                                                 intended use by any person or organization other than another
                                                 contractor or subcontractor working on the same project.

                                          Work that may need service, maintenance, correction, repair or placement,
                                          but which is otherwise complete, will be treated as completed.

                               b.   Does not include bodily injury, property damage or environmental damage
                                    arising out of:

                                    (1)   Transportation of property, unless the injury or damage arises out of a
                                          condition in or on a vehicle not owned or operated by you, and that
                                          condition was created by the loading or unloading of that vehicle by any
                                          insured; or

                                    (2)   The existence of tools, uninstalled equipment or abandoned or unused
                                          materials.

                       45. Professional services means services the insured performs for a third party, but only
                           in the capacity as an architect, engineer, consultant, laboratory service provider,
                           inspector, surveyor, construction manager, LEED accredited professional, or as
                           otherwise specifically described in a Professional Services Endorsement attached to
                           this Policy. Professional Services includes recommendations made for the site
                           selection, transportation, disposal or treatment of pollutants generated by third parties.

                             Professional services does not include:


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Reviewer: Lindsay Z.                a. Services for or associated with the management or operation of any facility by
                                    you or on your behalf;

                              b.    Any evaluation, consultation, option or advice given by you, or others for whom
                                    you are legally liable in connection with your product; or

                              c.    Any actual construction, erection, demolition, dismantling, assembly, fabrication,
                                    installation or remediation service performed by you or on your behalf, including
                                    the means, methods, techniques, sequences and procedures employed in the
                                    performance of those operations by you or on your behalf.

                      46. Property damage means:

                              a.    With respect to Part 1 Coverages:

                                    (1)   Physical injury to tangible property, including all resulting loss of use of
                                          that property. All such loss of use shall be deemed to occur at the time of
                                          the physical injury that caused it; or

                                    (2)   Loss of use of tangible property that is not physically injured. All such loss
                                          of use shall be deemed to occur at the time of the occurrence that caused
                                          it.

                              b.    With respect to Part 2 Coverages (Special Pollution Coverages):

                                    (1)   Physical injury to or destruction of tangible property owned by third parties,
                                          including all resulting loss of use and diminution in value of such property;

                                    (2)   Loss of use of tangible property owned by third parties that has not been
                                          physically injured or destroyed; or

                                    (3)   Natural resource damage.

                                          Property damage does not include environmental damage, clean-up
                                          costs or emergency expenses.

                                          Electronic data is not tangible property. As used in this definition,
                                          electronic data means information, facts or programs stored as or on,
                                          created or used on, or transmitted to or from computer software, including
                                          systems and applications software, hard or floppy disks, CD-ROMS, tapes,
                                          drives, cells, data processing devices or any other media which are used
                                          with electronically controlled equipment.

                      47.    Responsible insured means your executive officers, managers and supervisors of
                             scheduled sites and unscheduled sites, your corporate risk manager, and your
                             managers and supervisors responsible for environmental affairs, control or compliance.

                      48.    Restoration costs mean reasonable and necessary costs, charges and expenses,
                             incurred with our prior written consent which shall not be unreasonably withheld or
                             delayed, required to restore, repair, replace or rebuild real or personal property to
                             substantially its condition immediately prior to damage that resulted from cleanup
                             costs. Restoration costs, however, shall not exceed the lesser of: (i) such costs,
                             charges and expenses incurred to restore, repair, replace or rebuild the property, or (ii)
                             the actual cash value of the property, immediately prior to incurring cleanup costs.

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Reviewer: Lindsay Z.
                          Restoration costs do not include costs, charges or expenses for improvements or
                          betterments.

                    49.   Retroactive date means the applicable date set forth in Item 3 of the Declarations.

                    50.   Scheduled site means any location owned, operated, managed under a written
                          contract, leased or rented by you during the policy period and listed in Item 3 of the
                          Declarations.

                    51.   Suit means a civil proceeding in which damages because of bodily injury, property
                          damage, environmental damage, personal and advertising injury, cleanup costs
                          or a wrongful act to which this insurance applies are alleged.

                          Suit includes an arbitration proceeding or any other alternative dispute resolution
                          proceeding in which such damages are claimed and to which the insured must submit
                          or does submit with our written consent.

                    52.   Temporary worker means a person who is furnished to you to substitute for a
                          permanent employee on leave or to meet seasonal or short-term workload conditions.

                    53.   Transportation means the movement by conveyance by the insured, or on behalf of
                          the insured by a properly licensed third-party carrier, of goods, products or wastes
                          beyond the boundaries of any scheduled site, unscheduled site, waste disposal
                          facility, non-owned location or job site, and includes any loading or unloading of
                          such goods, products or waste. Transportation also includes the delivery of a liquid
                          product or waste into the wrong receptacle, or to the wrong address, or the mistaken
                          delivery of one liquid product or waste for another.

                    54.   Underground storage tank means any tank and associated piping and
                          appurtenances connected thereto, that has at least ten percent (10%) of its volume
                          below ground.

                    55.   Unscheduled site means any location owned, operated, managed under a written
                          contract, leased or rented by you during the policy period other than a scheduled
                          site.

                    56.   Volunteer worker means a person who is not your employee, and who donates his or
                          her work and acts at the direction of and within the scope of duties determined by you,
                          and is not paid a fee, salary or other compensation by you or anyone else for their
                          work performed for you.

                    57.   Waste means materials to be disposed, recycled, reconditioned or reclaimed. Waste
                          includes medical, infectious and pathological waste, and radioactive waste but only if it
                          qualifies as low-level radioactive waste or mixed waste.

                    58.   Waste disposal facility means any location where your waste is sent for treatment,
                          storage, processing, recycling or disposal, provided the location is not and never was
                          owned, operated or leased by you or your parent, subsidiary or affiliate, and provided
                          such location:

                           a.   is listed in a Schedule of Waste Disposal Facilities endorsement attached to this
                                Policy; or


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Reviewer: Lindsay Z.                b. as of the date any waste or  materials are delivered by you or on your behalf,
                                     meets all of the following criteria:

                                     (1)   It is properly licensed, as applicable, by state, federal, municipal or
                                           provincial authority to conduct waste treatment, storage, processing,
                                           recycling or disposal; and

                                     (2)   It is not listed, or proposed to be listed, on the U.S. Environmental
                                           Protection Agency’s (EPA) Final National Priorities List (NPL), or on the
                                           Superfund or Comprehensive Environmental Response, Compensation,
                                           and Liability Information System (CERCLIS) database, or any state or
                                           provincial equivalent to the federal NPL, Superfund or CERCLIS database.

                      59.    Wrongful act means an act, error, or omission.

                      60.    Your product means:

                               a.    Goods or products, other than real property, manufactured, sold, handled,
                                     distributed, altered or repaired by you or others trading under your name; or

                               b.    Containers (other than a conveyance), materials, parts or equipment furnished
                                     in connection with such goods or products.

                             Your product includes:

                               a.    Warranties or representations made at any time with respect to the fitness,
                                     quality, durability, performance or use of your product; and

                               b.    The providing of or failure to provide warnings or instructions.

                      61.    Your work means:

                               a.    Work or operations performed by you or on your behalf; and

                               b.    Materials, parts or equipment furnished in connection with such work or
                                     operations.

                             Your work includes:

                               a.    Warranties or representations made at any time with respect to the fitness,
                                     quality, durability, performance or use of your work; and

                               b.    The providing of or failure to provide warning or instructions.




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Reviewer: Lindsay Z. THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                          NAMED INSURED ENDORSEMENT
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

                                                     SCHEDULE
         Named Insured(s):
            SOLAR ENERGY EPC LLC



        The Policy is amended to include the person(s) or organization(s) described in the SCHEDULE above as
        a Named Insured.

               ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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Reviewer: Lindsay Z. THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               MINIMUM EARNED PREMIUM ENDORSEMENT
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

        Section XXIII. CONDITIONS is amended by the addition of the following:
        Policy Premium
        Policy premium means the premium that is calculated as follows:
        1. The total annual premium as shown in the Policy Declarations, plus
        2. Any premium adjustment by endorsements, plus
        3. Any additional premium developed by audit.
        Cancellation and Minimum Earned Premium
        1. If you cancel this Policy, the return premium will be 90% of the unearned premium. However, as a
           minimum earned premium, we will retain no less than 25% of the policy premium.
        2. If we cancel the Policy:
            a. for non-payment of premium, the earned premium will be computed pro rata based on the length of
               the cancelled policy term; however, as a minimum earned premium, we will retain no less than 25%
               of the policy premium; or
            b. for any reason other than non-payment of premium, the earned premium will be computed pro rata
               based on the length of the cancelled policy term and the minimum earned premium as stated in
               Paragraph 2. a. above shall not apply.
            Any unearned premium will be returned as soon as practicable.

                  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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Reviewer: Lindsay Z. THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


         AMENDED GENERAL AGGREGATE ENDORSEMENT
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

        A. Section XXI. LIMITS OF LIABILITY AND DEDUCTIBLE, Paragraphs 1., 2. and 3. are deleted in their
           entirety and replaced with the following:
            XXI. LIMITS OF LIABILITY AND DEDUCTIBLE
               Regardless of the number of claims, suits, claimants or insureds, the following limits of liability
               apply:
               1. Limits Applicable to Part 1 Coverages, Part 2 Coverages and Coverage 3
                  a. General Aggregate Limit and General Aggregate Cap
                       The General Aggregate Limit set forth in Item 3 of the Declarations is the most we will pay
                       for all loss under all Part 1 Coverages, Part 2 Coverages and Coverage 3 except: (i)
                       damages because of bodily injury, property damage or environmental damage
                       included in the products-completed operations hazard, and (ii) crisis management
                       costs that result from a crisis management event arising directly from your product.
                  b. Subject to Paragraph 1.c. below, the General Aggregate Limit applies separately to:
                     (i) loss covered under Coverages 1A and 1E arising from occurrences at any one
                     location that you own or rent; and (ii) loss covered under Coverages 1A and 1E arising
                     from your ongoing operations at any one job site.
                  c. Regardless of the number of locations or job sites, the General Aggregate Cap set forth
                     in Item 3 of the Declarations is the most we will pay for all loss under all Part 1 Coverages
                     except: (i) damages because of bodily injury, property damage or environmental
                     damage included in the products-completed operations hazard, and (ii) crisis
                     management costs that result from a crisis management event arising directly from
                     your product.
                  d. Products – Completed Operations Aggregate Limit
                       The Products-Completed Operations Aggregate Limit set forth in Item 3 of the
                       Declarations is the most we will pay for all: (i) damages under Coverages 1A and 1D
                       because of bodily injury, property damage or environmental damage included in the
                       products-completed operations hazard, and (ii) crisis management costs that result
                       from a crisis management event arising directly from your product.
                  e. Each Occurrence Limit
                       Subject to Paragraph 1.a. or 1.d. above, whichever applies, the Each Occurrence Limit
                       set forth in Item 3 of the Declarations is the most we will pay for all loss under Coverages
                       1A, 1C, 1D and 1E arising out of the same, related, continuous or repeated
                       occurrence(s) or pollution condition(s).
                  f.   Personal and Advertising Injury Limit
                       Subject to Paragraph 1.a. above, the Personal and Advertising Injury Limit set forth in
                       Item 3 of the Declarations is the most we will pay for all loss under Coverage 1B
                       sustained by any one person or organization.




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                   g. Employee Benefits Administration Limit
                        Subject to Paragraph 1.a. above, the Employee Benefits Administration Limit of Liability
                        set forth in Item 3 of the Declarations is the most we will pay under Coverage 1F for all
                        loss sustained by any one employee, including loss sustained by such employee’s
                        dependents and beneficiaries, arising out of the same, related, continuous or repeated
                        wrongful act(s).
                        However, the amount paid under this Policy shall not exceed, and will be subject to, the
                        limits and restrictions that apply to the payment of benefits in any plan included in the
                        employee benefits program.
                   h. Crisis Management Costs Limit – Coverage 1G
                        Subject to Paragraph 1.a. or 1.d. above, whichever applies, the Crisis Management Costs
                        Limit set forth in Item 3 of the Declarations is the most we will pay for all crisis
                        management costs under Coverage 1G.
                   i.   Damage to Premises Rented to You Limit
                        Subject to Paragraph 1.e. above, the Damage to Premises Rented to You Limit set forth in
                        Item 3 of the Declarations is the most we will pay under Coverage 1A for all loss because
                        of property damage to any one premises, while rented to you, or in the case of damage
                        by fire while rented to you or temporarily occupied by you with permission of the owner.
                   j.   Medical Expense Limit
                        Subject to Paragraph 1.e. above, the Medical Expense Limit set forth in Item 3 of the
                        Declarations is the most we will pay under Coverage 1C for all loss because of bodily
                        injury sustained by any one person.
                   k. Part 2 Coverages – Special Pollution Coverages – Individual Coverage Limits
                        Subject to Paragraph 1.a. above, the applicable Coverage Limit set forth in Item 3 of the
                        Declarations is the most we will pay for all loss under the applicable Part 2 – Special
                        Pollution Coverage.
                   l.   Part 2 Coverages – Special Pollution Coverages – Each Pollution Condition Limit
                        Subject to Paragraphs 1.a. and 1.k. above, the Each Pollution Condition Limit set forth in
                        Item 3 of the Declarations is the most we will pay for all loss arising out of the same,
                        related, continuous or repeated pollution condition(s).
                   m. Coverage 3 – Professional Liability – Each Wrongful Act Limit
                        Subject to Paragraph 1.a. above, the Each Wrongful Act Limit set forth in Item 3 of the
                        Declarations is the most we will pay under Coverage 3 for all loss arising out of the same,
                        related, continuous or repeated wrongful act(s).
         B. All references in the Declarations and the Policy to Pollution Liability Aggregate Limit and
            Professional Liability Aggregate Limit are deleted.

                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                        HIRED AUTO AND NON-OWNED AUTO
                              LIABILITY INSURANCE
         This endorsement modifies insurance provided under the following:
         EnviroPACE Insurance Policy

         This Endorsement is subject to all of the provisions applicable to Coverage 1A – General Liability Bodily
         Injury And Property Damage, except as otherwise provided in this Endorsement. All numbers and letters
         used to designate paragraphs in this Endorsement are specific to this Endorsement only. They do not
         reference paragraphs in Coverage 1A. Insurance is provided only with respect to those coverages for
         which a specific Limit of Liability and Premium are shown:

                                                       SCHEDULE
                      Coverage                               Limits Of Liability                  Premium
         Hired Auto Liability Insurance            $1,000,000 Each Occurrence Limit           $ 250.00
         Non-owned Auto Liability Insurance        $1,000,000 Each Occurrence Limit           $ 250.00
                                                   $1,000,000 Aggregate Limit

         A. Hired Auto Liability
             The insurance provided under section II. COVERAGE 1A – GENERAL LIABILITY BODILY INJURY
             AND PROPERTY DAMAGE applies to bodily injury or property damage arising out of the
             maintenance or use of a hired auto by you or your employees in the course of your business.
         B. Non-owned Auto Liability
             The insurance provided under section II. COVERAGE 1A – GENERAL LIABILITY BODILY INJURY
             AND PROPERTY DAMAGE applies to bodily injury or property damage arising out of the use of a
             non-owned auto by any person in the course of your business.
         C. Changes In Exclusions
             Solely as respects the coverage provided by this Endorsement:
             1. The following exclusions under section IX. COMMON EXCLUSIONS – PART 1 COVERAGES do
                not apply:
                a. Aircraft, Auto or Watercraft;
                b. Contractual Liability;
                c. Damage to Impaired Property or Property Not Physically Injured;
                d. Damage to Property;
                e. Damage to Your Product;
                f.   Damage to Your Work;
                g. Employer’s Liability;
                h. Liquor Liability;
                i.   Mobile Equipment; and

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                j.   Recall of Products, Work or Impaired Property.
             2. Section II. COVERAGE 1A – GENERAL LIABILITY BODILY INJURY AND PROPERTY
                DAMAGE, 2. Specific Exclusions is amended by the addition of the following:
                Coverage 1A does not apply to any claim:
                a. Based upon or arising out of bodily injury or property damage for which the insured is
                   obligated to pay damages by reason of the assumption of liability in a contract or agreement.
                   This exclusion does not apply to liability for damages:
                   (1) That the insured would have in the absence of the contract or agreement; or
                   (2) Assumed in a contract or agreement that is an insured contract, provided the bodily
                       injury or property damage occurs subsequent to the execution of the contract or
                       agreement.
                b. Based upon or arising out of bodily injury to:
                   (1) An employee of the insured arising out of and in the course of:
                       (a) Employment by the insured; or
                       (b) Performing duties related to the conduct of the insured’s business; or
                   (2) The spouse, child, parent, brother or sister of that employee as a consequence of
                       Paragraph (1) above.
                   This exclusion applies:
                   (1) Whether the insured may be liable as an employer or in any other capacity; and
                   (2) To any obligation to share damages with or repay someone else who must pay damages
                       because of the injury.
                   This exclusion does not apply to:
                   (1) Liability assumed by the insured under an insured contract; or
                   (2) Bodily injury to domestic employees not entitled to workers’ compensation benefits.
                c. Based upon or arising out of property damage to:
                   (1) Property owned or being transported by, or rented or loaned to the insured; or
                   (2) Property in the care, custody or control of the insured.
         D. Who Is An Insured
             Solely as respects the coverage provided by this Endorsement, section XX. WHO IS AN INSURED is
             deleted and replaced with the following:
             WHO IS AN INSURED
             1. Each of the following is an insured under this insurance to the extent set forth below:
                a. You.
                b. Any other person using a hired auto with your permission in the course of your business.
                c. With respect to a non-owned auto, any partner or executive officer of yours, but only while
                   such non-owned auto is being used in your business.
                d. Any other person or organization, but only with respect to their liability because of acts or
                   omissions of an insured under Paragraph a., b. or c. above.
             2. None of the following is an insured:
                a. Any person engaged in the business of his or her employer with respect to bodily injury to
                   any co-employee of such person injured in the course of employment, or to the spouse, child,
                   parent, brother or sister of that co-employee as a consequence of such bodily injury, or for

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                       any obligation to share damages with or repay someone else who must pay damages
                       because of the injury;
                  b.   Any partner or executive officer with respect to any auto owned by such partner or officer or
                       a member of his or her household;
                  c.   Any person while employed in or otherwise engaged in performing duties related to the
                       conduct of an auto business, other than an auto business you operate;
                  d.   The owner or lessee (of whom you are a sublessee) of a hired auto or the owner of a non-
                       owned auto or any agent or employee of any such owner or lessee;
                  e.   Any person or organization with respect to the conduct of any current or past partnership, joint
                       venture or limited liability company that is not shown as a Named Insured in the Declarations.
         E. Limits Of Liability
             Solely as respects the coverage provided by this Endorsement, section XXI. LIMITS OF LIABILITY
             AND DEDUCTIBLE is amended by the addition of the following:
             LIMITS OF LIABILITY AND DEDUCTIBLE
             Regardless of the number of hired autos, non-owned autos, insureds, premiums paid, claims
             made or vehicles involved in the occurrence, the most we will pay for all damages resulting from any
             one occurrence is the applicable Limit of Liability indicated in the SCHEDULE above.
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         F. Changes In Conditions
             Solely as respects the coverage provided by this Endorsement, section XXIII. CONDITIONS, 14.
             Other Insurance is deleted and replaced with the following:
             Other Insurance
             This insurance is excess over any primary insurance covering the hired auto or non-owned auto.
         G. Additional Definitions
             Solely as respects the coverage provided by this Endorsement, section XXV. DEFINITIONS is
             amended by the addition of the following:
             1. Auto business means the business or occupation of selling, repairing, servicing, storing or
                parking autos.
             2. Hired auto means any auto you lease, hire, rent or borrow. This does not include any auto you
                lease, hire, rent or borrow from any of your employees, your partners or your executive officers,
                or members of their households.
             3. Non-owned auto means any auto you do not own, lease, hire, rent or borrow which is used in
                connection with your business. This includes autos owned by your employees, your partners or
                your executive officers, or members of their households, but only while used in your business.

                        ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.

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                    ACTION OVER EXCLUSION – NEW YORK
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

        Solely with respect to work or operations performed by or on behalf of the Named Insured within the
        State of New York, this Policy is amended as follows:
        A. Section IX. COMMON EXCLUSIONS – PART 1 COVERAGES, 1., k. Employer’s Liability is
           deleted and replaced with the following:
            k. Employer’s Liability
               Bodily injury to:
               (1) an employee or temporary worker of any insured arising directly or indirectly out of and in
                   the course of:
                   (a) employment by any insured; or
                   (b) performing duties related to the conduct of any insured’s business;
               (2) the spouse, child, parent, brother or sister of that employee or temporary worker as a
                   consequence of Paragraph (1) above;
               This Exclusion applies:
               (1) whether an insured may be liable as an employer or in any other capacity;
               (2) to any obligation to share damages with or repay someone else who must pay damages
                   because of the injury; or
               (3) to any liability assumed under any contract or agreement.
        B. Section IX. COMMON EXCLUSIONS – PART 1 COVERAGES, 1. is amended and the following is
           added:
           Subcontractors And Independent Contractors
           Based upon or arising out of bodily injury, property damage, or personal and advertising injury:
           (1) arising directly or indirectly out of the acts of your independent contractors or subcontractors
               unless you:
               (a) obtain certificates of insurance that evidence coverage and Limits of Insurance equal to or
                   greater than the coverages and Limits of Insurance provided by this policy in force for the
                   term of the work performed for you; and
               (b) provide us upon our request copies of Certificates of Insurance that you shall require and
                   have obtained from your subcontractors before any work performed on your behalf. You shall
                   maintain copies of these Certificates during and for up to 5 years after the term of such work;
           (2) sustained by any contractor, subcontractor or independent contractor or any of their employees,
               temporary workers or volunteer workers.
        C. For the purposes of this endorsement only, section XXV. DEFINITIONS, 52. Temporary worker is
           deleted and replaced with the following:
           52. Temporary worker means any person who is:
               a. furnished to you to substitute for a permanent employee;
               b. a short-term worker; or
               c. not an employee or volunteer worker.

                  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.

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                      EXCLUSION – UNMANNED AIRCRAFT
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

        A. Section IX. COMMON EXCLUSIONS – PART 1 COVERAGES, exclusion 1.a. Aircraft, Auto and
           Watercraft is deleted and replaced with the following:
               The following exclusions apply to all Part 1 Coverages except where indicated. Part 1 Coverages
               do not apply to:
               Aircraft, Auto Or Watercraft
               (1) Unmanned Aircraft
                  Bodily injury, property damage, personal and advertising injury or environmental
                  damage arising out of the ownership, maintenance, use or entrustment to others of any
                  aircraft that is an unmanned aircraft. Use includes operation and loading or unloading.
                  This Paragraph (1) applies even if the claims against any insured allege negligence or other
                  wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
                  insured, if the occurrence which caused the bodily injury, property damage, personal and
                  advertising injury or environmental damage involved the ownership, maintenance, use or
                  entrustment to others of any unmanned aircraft.
               (2) Aircraft (Other Than Unmanned Aircraft), Auto Or Watercraft
                  Bodily injury, property damage or environmental damage arising out of the ownership,
                  maintenance, use or entrustment to others of any aircraft (other than unmanned aircraft),
                  auto or watercraft owned or operated by or rented or loaned to any insured. Use includes
                  operation and loading or unloading.
                  This Paragraph (2) applies even if the claims against any insured allege negligence or other
                  wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
                  insured, if the occurrence which caused the bodily injury, property damage or
                  environmental damage involved the ownership, maintenance, use or entrustment to others
                  of any aircraft (other than unmanned aircraft), auto or watercraft that is owned or operated
                  by or rented or loaned to any insured.
                  Solely with respect to Coverage 1A, Paragraph (2) does not apply to:
                  (a) a watercraft while ashore on premises you own or rent;
                  (b) a watercraft you do not own that is:
                      (i) less than 26 feet long; and
                      (ii) not being used to carry persons or property for a charge;
                  (c) parking an auto on, or on the ways next to, premises you own or rent, provided the auto
                      is not owned by or rented or loaned to you or the insured;
                  (d) liability assumed under any insured contract for the ownership, maintenance or use of
                      aircraft or watercraft; or
                  (e) bodily injury or property damage arising out of:
                      (i) the operation of machinery or equipment that is attached to, or part of, a land vehicle
                           that would qualify under the definition of mobile equipment if it were not subject to a
                           compulsory or financial responsibility law or other motor vehicle insurance law where it
                           is licensed or principally garaged; or


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                        (ii) the operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of
                             the definition of mobile equipment.
                    (f) the delivery of any solid or liquid product into a wrong receptacle or to a wrong address; or
                    (g) the erroneous delivery of one solid or liquid product for another by an auto.
                    Paragraphs (f) and (g) of this exclusion only apply if the bodily injury or property damage
                    occurs after such operations have been completed or abandoned at the site of such delivery.
                    Operations which may require further service, maintenance, correction, repair or replacement
                    at the wrong address or because of any error, defect or deficiency, but which are otherwise
                    completed, will be deemed completed.

         B. Section XVII. COMMON EXCLUSIONS – PART 2 – SPECIAL POLLUTION COVERAGES is
            amended by the addition of the following:
                The following exclusions apply to all Part 2 Coverages except where indicated. Part 2 Coverages
                do not apply to loss arising out of:
                Unmanned Aircraft
                Bodily injury, property damage, or environmental damage arising out of the ownership,
                maintenance, use or entrustment to others of any aircraft that is an unmanned aircraft. Use
                includes operation and loading or unloading.
                This Paragraph applies even if the claims against any insured allege negligence or other
                wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
                insured, if the pollution condition which caused the bodily injury, property damage or
                environmental damage involved the ownership, maintenance, use or entrustment to others of
                any unmanned aircraft.

         C. Section XIX. COVERAGE 3 – PROFESSIONAL LIABILITY – CLAIMS MADE AND REPORTED 2.
            Specific Exclusions, a. Aircraft, Auto or Watercraft is deleted and replaced with the following:
             The following exclusions apply to all Coverage 3 coverages except where indicated. Coverage 3
             does not apply to any claim arising out of:
                Aircraft, Auto Or Watercraft
                (1) Unmanned Aircraft
                    The ownership, maintenance, use or entrustment to others of any aircraft that is an
                    unmanned aircraft. Use includes operation and transportation.
                    This Paragraph (1) applies even if the claims against any insured allege negligence or other
                    wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
                    insured.
                (2) Aircraft (Other Than Unmanned Aircraft), Auto Or Watercraft
                    The ownership, maintenance, use or entrustment to others of any aircraft (other than
                    unmanned aircraft), auto or watercraft owned or operated by or rented or loaned to any
                    insured. Use includes operation and transportation.
                    This Paragraph (2) applies even if the claims against any insured allege negligence or other
                    wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
                    insured.




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         D. Section XXV. DEFINTIONS, 8. Conveyance is deleted and replaced with the following:
             Conveyance means any auto, railcar, train, watercraft or aircraft (other than unmanned aircraft),
             provided the person or entity transporting the goods, products or waste is both in the business of and
             is properly licensed to transport the materials being moved. Conveyance does not include pipelines
             or unmanned aircraft.

         E. The following definition is added to the DEFINITIONS section:
             Unmanned aircraft means an aircraft that is not:
             a. Designed;
             b. Manufactured; or
             c. Modified after manufacture;
             to be controlled directly by a person from within or on the aircraft.

                    ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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          EXCLUSION – RECORDING AND DISTRIBUTION OF
         MATERIAL OR INFORMATION IN VIOLATION OF LAW
        This endorsement modifies insurance provided under the following:
        EnviroPACE Insurance Policy

        Section IX. COMMON EXCLUSIONS – PART 1 COVERAGES, 1.u. Recording and Distribution of
        Material In Violation of Statutes is deleted and replaced with the following:
        Part 1 Coverages do not apply to:
        u. Recording and Distribution of Material or Information in Violation of Law
            Bodily injury, property damage, environmental damage or personal and advertising injury
            arising directly or indirectly out of any action or omission that violates or is alleged to violate:
            (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to
                such law;
            (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
            (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including
                the Fair and Accurate Credit Transactions Act (FACTA); or
            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act
                of 2003 or FCRA and their amendments and additions, that addresses, prohibits or limits the
                printing, dissemination, disposal, collecting, recording, sending, transmitting, communicating or
                distribution of material or information.

                  ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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Reviewer: Lindsay Z. THIS ENDORSEMENT CHANGES THE              POLICY. PLEASE READ IT CAREFULLY.

                                 EXCLUSION – CYBER INJURY
         This endorsement modifies insurance provided under the following:
         EnviroPACE INSURANCE POLICY

         A. Section III. COVERAGE 1B – PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Specific
            Exclusions is amended by the addition of the following:
            In addition to the exclusions in section IX. COMMON EXCLUSIONS – PART 1 COVERAGES,
            Coverage 1B does not apply to personal and advertising injury:
                Cyber Injury
                (1) Arising out of cyber injury; or
                (2) Any claim or suit arising out of any litigation, proceeding, or administrative action or hearing
                    brought prior to or pending as of the inception date of this Policy, arising out of cyber injury.
         B. Section XIX. COVERAGE 3 – PROFESSIONAL LIABILITY – CLAIMS MADE AND REPORTED, 2.
            Specific Exclusions is amended by the addition of the following:
            Coverage 3 does not apply to:
                Cyber Injury
                (1) Any claim or loss arising out of cyber injury; or
                (2) Any claim or suit arising out of any litigation, proceeding, or administrative action or hearing
                    brought prior to or pending as of the inception date of this Policy, arising out of cyber injury.
         C. Section XXV. DEFINITIONS is amended by the addition of the following:
            Cyber injury means any actual or suspected, intentional or unintentional, breach of any data,
            software or hardware, wherever located, that results in:
                a. loss, destruction, disclosure, disruption, inspection, modification, recording, release, review or
                   use of personal information;
                b. oral or written publication, in any manner, of material that violates a person’s right of privacy;
                c. inability to access any website or any electronic system;
                d. release, introduction or facilitation of any malicious code;
                e. forensic or investigative expenses;
                f.   extortion or terrorism acts or threats;
                g. monitoring or notification costs or expenses;
                h. crisis management or public relations expenses;
                i.   data or system recovery, repair, replacement or restoration expenses; or
                j.   business interruption expenses.
            Malicious code means, but is not limited to, any virus, Trojan horse, worm, spyware, logic bomb,
            adware, malware or other similar software program.
            Personal information means any personal or personally identifiable or identifying information, as
            defined by federal, state or local laws, statutes or regulations.
                     ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.



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              CERTIFIED ACTS OF TERRORISM AND OTHER
                  ACTS OF TERRORISM EXCLUSION
        This endorsement modifies insurance provided under the following:
        COMMERCIAL GENERAL LIABILITY COVERAGE PART
        CONTRACTORS POLLUTION LIABILITY COVERAGE PART
        THIRD PARTY POLLUTION LIABILITY COVERAGE PART
        CLEANUP COSTS – YOUR LOCATION COVERAGE PART
        PREMISES ENVIRONMENTAL AND REMEDIATION LIABILITY (PEARL)
        EnviroPACE Insurance Policy

        A. The following exclusion is added:
               TERRORISM AND PUNITIVE DAMAGES
               This Policy does not apply to any “claim” (claim) arising, directly or indirectly, out of:
               1. A “certified act of terrorism” or an “other act of terrorism”, including any action taken in hin-
                  dering or defending against an actual or expected incident of a “certified act of terrorism” or
                  an “other act of terrorism”; or
               2. Any act of terrorism:
                  a. that involves the use, release or escape of nuclear materials (“nuclear materials”), or di-
                     rectly or indirectly results in nuclear reaction or radiation or radioactive contamination; or
                  b. that is carried out by means of the dispersal or application of pathogenic or poisonous bi-
                     ological or chemical materials; or
                  c. in which pathogenic or poisonous biological or chemical materials are released, and it
                     appears that one purpose of the terrorism was to release such materials;
               regardless of any other cause or event that contributes concurrently or in any sequence to the in-
               jury or damage in 1. or 2. above; including
               3. Damages (“damages”) arising, directly or indirectly, out of 1. or 2. above that are awarded as
                  punitive damages.
        B. The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a terrorism
           exclusion, do not serve to create coverage for loss (loss) or damage that is otherwise excluded un-
           der this Policy.
        C. The DEFINITIONS section is amended and the following added:
            “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accord-
            ance with the provisions of the federal Terrorism Risk Insurance Act to be an act of terrorism pursu-
            ant to such Act. The criteria contained in the Terrorism Risk Insurance Act for a “certified act of ter-
            rorism” include the following:
               a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all
                  types of insurance subject to the Terrorism Risk Insurance Act; and
               b. The act is a violent act or an act that is dangerous to human life, property or infrastructure
                  and is committed by an individual or individuals as part of an effort to coerce the civilian pop-
                  ulation of the United States or to influence the policy or affect the conduct of the United
                  States Government by coercion.



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                                                   with its permission.
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             “Other act of terrorism” means a violent act or an act that is dangerous to human life, property or in-
             frastructure that is committed by an individual or individuals and that appears to be part of an effort
             to coerce a civilian population or to influence the policy or affect the conduct of any government by
             coercion, and the act is not a “certified act of terrorism”. Multiple incidents of an “other act of terror-
             ism” which occur within a seventy-two hour period and appear to be carried out in concert or to have
             a related purpose or common leadership shall be considered to be one incident.

                   ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                                           IL P 001 01 04


             U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
                         ASSETS CONTROL ("OFAC")
                    ADVISORY NOTICE TO POLICYHOLDERS
          No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
          policy. You should read your policy and review your Declarations page for complete information on the coverages
          you are provided.
          This Notice provides information concerning possible impact on your insurance coverage due to directives issued
          by OFAC. Please read this Notice carefully.
          The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
          declarations of "national emergency". OFAC has identified and listed numerous:
                Foreign agents;
                Front organizations;
                Terrorists;
                Terrorist organizations; and
                Narcotics traffickers;
          as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treas-
          ury's web site – http//www.treas.gov/ofac.
          In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
          claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
          Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
          provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
          a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
          Other limitations on the premiums and payments also apply.




          IL P 001 01 04                            © ISO Properties, Inc., 2004                              Page 1 of 1
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                 IMPORTANT POLICYHOLDER INFORMATION
         In the event you need to contact someone about this policy for any reason, please contact your agent
         first.
         If you have additional questions or need to report a claim, you may contact the insurance company issu-
         ing this policy at the following address, telephone number or email address:

             General Counsel
             Colony Insurance Company
             Colony Specialty Insurance Company
             P. O. Box 469011
             San Antonio, Texas 78246

             Toll Free: 1-877-474-8808

             Electronic reporting: claimreporting@colonyspecialty.com

         When contacting your agent or insurance company, please have your policy number available. This
         notice is for information only and does not become a part of or condition of this policy.




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                POLICYHOLDER DISCLOSURE NOTICE OF TERRORISM INSURANCE
Envelope: 2958999
Reviewer: Lindsay Z.
                                     COVERAGE
      You are hereby notified that under the Terrorism Risk Insurance Act, as amended, that you have a right to purchase insurance
      coverage for losses resulting from acts of terrorism, as defined in Section 102(1) of the Act: The term “act of terrorism” means any act
      or acts that are certified by the Secretary of the Treasury, in consultation with the Secretary of Homeland Security, and the Attorney
      General of the United States - that is certified by the Secretary of the Treasury, in concurrence with the Secretary of State and the
      Attorney General of the United States - to be an act of terrorism; to be a violent act or an act that is dangerous to human life, property,
      or infrastructure; to have resulted in damage within the United States, or outside the United States in the case of certain air carriers or
      vessels or the premises of a United States mission; and to have been committed by an individual or individuals as part of an effort to
      coerce the civilian population of the United States or to influence the policy or affect the conduct of the United States Government by
      coercion.
      YOU SHOULD KNOW THAT WHERE COVERAGE IS PROVIDED BY THIS POLICY FOR LOSSES RESULTING FROM CERTIFIED
      ACTS OF TERRORISM, SUCH LOSSES MAY BE PARTIALLY REIMBURSED BY THE UNITED STATES GOVERNMENT UNDER A
      FORMULA ESTABLISHED BY FEDERAL LAW. HOWEVER, YOUR POLICY MAY CONTAIN OTHER EXCLUSIONS WHICH MIGHT
      AFFECT YOUR COVERAGE, SUCH AS AN EXCLUSION FOR NUCLEAR EVENTS. UNDER THE FORMULA, THE UNITED STATES
      GOVERNMENT GENERALLY REIMBURSES 85% THROUGH 2015; 84% BEGINNING ON JANUARY 1, 2016; 83% BEGINNING ON
      JANUARY 1, 2017; 82% BEGINNING ON JANUARY 1, 2018; 81% BEGINNING ON JANUARY 1, 2019 AND 80% BEGINNING ON
      JANUARY 1, 2020, OF COVERED TERRORISM LOSSES EXCEEDING THE STATUTORILY ESTABLISHED DEDUCTIBLE PAID BY
      THE INSURANCE COMPANY PROVIDING THE COVERAGE. THE PREMIUM CHARGED FOR THIS COVERAGE IS PROVIDED
      BELOW AND DOES NOT INCLUDE ANY CHARGES FOR THE PORTION OF LOSS COVERED BY THE FEDERAL GOVERNMENT
      UNDER THE ACT.
      YOU SHOULD ALSO KNOW THAT THE TERRORISM RISK INSURANCE ACT, AS AMENDED, CONTAINS A $100 BILLION CAP
      THAT LIMITS U.S. GOVERNMENT REIMBURSEMENT AS WELL AS INSURER’S LIABILITY FOR LOSSES RESULTING FROM
      CERTIFIED ACTS OF TERRORISM WHEN THE AMOUNT OF SUCH LOSSES IN ANY ONE CALENDAR YEAR EXCEEDS $100
      BILLION. IF THE AGGREGATE INSURED LOSSES FOR ALL INSURERS EXCEED $100 BILLION, YOUR COVERAGE MAY BE
      REDUCED.
      PLEASE ALSO BE AWARE THAT YOUR POLICY DOES NOT PROVIDE COVERAGE FOR ACTS OF TERRORISM THAT ARE NOT
      CERTIFIED BY THE SECRETARY OF THE TREASURY.
                                             Acceptance or Rejection of Terrorism Insurance Coverage
      You must accept or reject this insurance coverage for losses arising out of acts of terrorism, as defined in Section 102(1) of the Act,
      before the effective date of this policy. Your coverage cannot be bound unless our representative has received this form signed by you
      on behalf of all insureds with all premiums due.
           Coverage acceptance:
           I hereby elect to purchase coverage for certified acts of terrorism, as defined in Section 102(1) of the Act for a
           Prospective annual premium of 5% of the total policy premium, subject to $100 minimum. I understand that I will not have
           coverage for losses arising from any non-certified acts of terrorism.
                                                                           OR
       X   Coverage rejection:
           I hereby decline to purchase coverage for certified acts of terrorism, as defined in Section 102(1) of the Act. I understand
           that I will not have coverage for any losses arising from either certified or non-certified acts of terrorism.

                             Signature On File                                            COLONY INSURANCE COMPANY
                  Policyholder/Applicant’s Signature-                                               Insurance Company
           Must be person authorized to sign for all Insureds.
                                   On File                                                             PACE306698
                                 Print Name                                                            Policy Number
                           ENERGY EPC, LLC                                                                 On File
                                                                                                   Submission Number
                              Named Insured                                                                18003
                                   On File                                                           Producer Number
                                    Date                                              CRC INSURANCE SERVICES, INC. - ME,
                                                                                               SCARBOROUGH
                                                                                                      Producer Name
                                                                                           25 SPRING STREET, SUITE 100
                                                                                                      Street Address
                                                                                              SCARBOROUGH, ME 04074
                                                                                                       City, State, Zip
                   The producer shown above is the wholesale insurance broker your insurance agent used to place your
                        insurance coverage with us. Please discuss this Disclosure with your agent before signing.




      TRIA Notice ENV-0115                                                                                                         Page 1 of 1
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                                            EXHIBIT B
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Envelope: 2958999
Reviewer: Lindsay Z.




              October 29, 2020



              VIA EMAIL AND CERTIFIED MAIL – RETURN RECEIPT REQUESTED

              Ryan Palumbo
              Energy EPC, LLC
              117 Metro Center Blvd.
              Warwick, RI 02886
              ryan@revityenergy.com

              Re:     Named Insured.:        Energy EPC, LLC
                      Insurer:               Colony Insurance Co.
                      Policy(ies):           PACE306698-2 (2/1/19-2/1/20)
                      Claim No.:             287875


              Dear Mr. Palumbo:

              Thank you for your notice of claim. Colony Insurance Company (“CIC” or the “Insurer”)
              previously acknowledged receipt of the above referenced claim from Energy EPC, LLC (“Energy
              EPC” or the “Insured”). This letter is being addressed to you as the representative of the Insured.
              The purpose of this letter is to advise you of CIC’s determination regarding your tender under the
              Colony Specialty EnviroPACE Insurance Policy issued to Energy EPC for the policy period
              effective February 1, 2019 to February 1, 2020 (the “Policy”). As explained below, this letter is to
              advise you that CIC will continue investigating this matter subject to the reservation of rights
              discussed below.

                                        FACTUAL BACKGROUND AND ALLEGATIONS

              The following is a summary of the facts, but the totality of the allegations were considered in
              reaching this determination. Based on the information provided to CIC, the Insured received a
              demand for indemnification from an unspecified amount of damages based upon issues with solar
              panels manufactured by LG Corporation for installation at a project in Hopkinton, Rhode Island
              on an 80-acre wooded site. Energy EPC specializes in the engineering, procurement, and
              construction of solar PV systems. We understand that Energy EPC/Revity Energy contracted Mass
              Electric to provide the installation at the project site. We have been advised that there were a total
              of 43 modules to be installed for this project and that an undetermined number of modules
              sustained scratches or punctures during the handling and installation process. We have received
              and are reviewing reports and contracts related to this project. This letter should not be construed
              as an admission of any of the facts and circumstances set forth in the claim/pleading.

                                             EXPLANATION OF COVERAGE

              CIC issued Energy EPC a Colony Specialty EnviroPACE Insurance Policy, Policy No
              PACE306698-2 with a Policy Period of February 1, 2019 to February 1, 2020 (hereinafter the

              P.O. Box 469012                         T 413.773.6304
              San Antonio, TX 78246                   F 303.773.7373
              www.colonyspecialty.com
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              “Policy”). The Policy contains occurrence-based General Liability Bodily Injury and Property
              Damage coverage with a $1,000,000 each occurrence limit, a $2,000,000 products-completed
              operations aggregate limit, and a $2,000,000 general aggregate limit, subject to a $5,000
              deductible each occurrence.

              Your Policy contains the following Insuring Agreements, in the relevant part:

                     II. COVERAGE 1A – GENERAL LIABILITY BODILY INJURY AND
                     PROPERTY DAMAGE
                           1. Insuring Agreement
                           We will pay those sums that the insured becomes legally obligated to pay as
                           damages because of bodily injury or property damage that takes place during
                           the policy period and is caused by an occurrence in the coverage territory.

              Coverage 1A is subject to the following exclusions:

                     g. Damage to Property
                     Property damage or environmental damage to:
                            (5) That particular part of any real property on which you or any contractors or
                           subcontractors, whether working directly or indirectly on your behalf, are
                           performing operations, if the property damage or environmental damage arises
                           out of those operations; or
                           (6) That particular part of any property that must be restored, repaired or replaced
                           because your work was incorrectly performed on it.

                            Paragraphs (3), (4), (5) and (6) of this Exclusion do not apply to liability assumed
                            under a sidetrack agreement.

                            Paragraph (6) of this Exclusion does not apply to property damage or
                            environmental damage included in the products-completed operations
                            hazard.

                     h. Damage to Your Product
                     Property damage or environmental damage to your product, arising out of it
                     or any part of it.

                     i. Damage to Your Work
                     Property damage or environmental damage to your work arising out of it or any part
                     of it and included in the products-completed operations hazard. This Exclusion does
                     not apply if the damaged work or the work out of which the damage arises was
                     performed on your behalf by a subcontractor. (Section IX. Common Exclusions 1.i.)

                     n. Internal Expenses
                     Any costs, charges or expenses incurred by any insured for goods supplied or services
                     performed by any temporary workers, volunteer workers, staff or salaried employees
                     of the insured, its parent, subsidiary or affiliate. (Section IX. Common Exclusions 1.n.)
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              CIC would like to direct your attention to the following Policy definitions:

                     6. Claim means a written notice, demand or assertion of a legal right alleging liability or
                     responsibility on the part of an insured for loss, and includes a suit. (Section XXV.
                     Definitions 6.)

                     38. Occurrence means an accident, including conditions or repeated exposure to
                     substantially the same general harmful conditions. (Section XXV. Definitions 38.)

                     44. Products-completed operations hazard:
                            a. Includes all bodily injury, property damage and environmental damage
                            occurring away from premises you own or rent and arising out of your product
                            or your work, except:
                                    (1) Products that are still in your physical possession; or
                                    (2) Your work that has not yet been completed or abandoned. Your work
                                    will be deemed completed at the earliest of the following times:
                                            (a) when all of your work called for in your contract has been
                                            completed;
                                            (b) when all of the work to be done at the job site has been completed
                                            if your contract calls for your work at more than one job site; or
                                            (c) when that part of your work done at a job site has been put to its
                                            intended use by any person or organization other than another
                                            contractor or subcontractor working on the same project.
                                    Work that may need service, maintenance, correction, repair or placement,
                                    but which is otherwise complete, will be treated as completed.
                            b. Does not include bodily injury, property damage or environmental damage
                            arising out of:
                                    (1) Transportation of property, unless the injury or damage arises out of a
                                    condition in or on a vehicle not owned or operated by you, and that
                                    condition was created by the loading or unloading of that vehicle by any
                                    insured; or
                                    (2) The existence of tools, uninstalled equipment or abandoned or unused
                                    materials

                     46. Property damage means:
                            a. With respect to Part 1 Coverages:
                                   (1) Physical injury to tangible property, including all resulting loss of use
                                   of that property. All such loss of use shall be deemed to occur at the time
                                   of the physical injury that caused it; or
                                   (2) Loss of use of tangible property that is not physically injured. All such
                                   loss of use shall be deemed to occur at the time of the occurrence that
                                   caused it. (Section XXV. Definitions 46.)

                     61. Your work means:
                           a. Work or operations performed by you or on your behalf; and
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                              b. Materials, parts or equipment furnished in connection with such work
                                 operations.

                      Your work includes:
                            a. Warranties or representations made at any time with respect to the fitness,
                               quality, durability, performance or use of your work; and
                            b. The providing of or failure to provide warning or instructions. (Section XXV.
                               Definitions 61.)

                                              EXPLANATION OF COVERAGE

              Here, Energy EPC has provided materials indicating that solar panels were damaged at some point
              prior to or during installation at a project site in Hopkinton, Rhode Island.

              At this time, with the information currently available, this claim will be analyzed under Coverage
              1A – General Liability Bodily Injury and Property Damage. Please note that CIC reserves the
              right to address this claim under other coverage parts of the Policy as additional information
              becomes available.

              Coverage 1A General Liability Bodily Injury and Property Damage provides, provides coverage,
              in part, for “loss” that the insured becomes legally obligated to pay because of “bodily injury” or
              “property damage” that takes place during the “policy period” and is caused by an “occurrence”
              in the coverage territory. “Property Damage” means physical injury to tangible property, including
              all resulting loss of use of that property. All such loss of use shall be deemed to occur at the time
              of the physical injury that caused it; or loss of use of tangible property that is not physically injured.
              All such loss of use shall be deemed to occur at the time of the occurrence that caused it.
              “Occurrence” means an accident, including conditions or repeated exposure to substantially the
              same general harmful conditions. CIC must reserve its right to restrict or disclaim coverage to the
              extent that the facts do not satisfy the Insuring Agreement that “property damage” was caused by
              an “occurrence”.

              Coverage 1A General Liability Bodily Injury and Property Damage excludes coverage, in part,
              for “property damage” related to that particular part of any real property on which you are
              performing operations, if the “property damage” arises out of those operations. To the extent that
              the Energy EPC was performing operations on the damaged solar panels at issue, CIC must reserve
              its rights to disclaim coverage for such costs.

              Likewise, coverage is unavailable under Coverage 1A General Liability Bodily Injury and
              Property Damage, for that particular part of any property that must be restored, repaired or
              replaced because “your work” was incorrectly performed on it. To the extent that the claim
              concerning damaged solar panels includes any such damages, CIC must reserve its rights to
              disclaim coverage for such costs.

              Further, coverage is unavailable under Coverage 1A General Liability Bodily Injury and Property
              Damage for property damage or environmental damage to your product, arising out of it or any
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              part of it. To the extent the damaged solar panels are determined to be the Insured’s product, CIC
              must reserve its rights to disclaim coverage for such costs.

              This letter is written to notify the Insured that CIC is reserving its rights and defenses under the
              terms, conditions, and provisions of the Policy. No action taken by CIC, its agents, representatives,
              or attorneys in the investigating, defending, evaluating, monitoring, or attempting to resolve this
              claim should be considered an estoppel or waiver of any rights or policy defenses that may be
              available now or at any time, or of CIC’s right to assert that no coverage is available at a later time
              with regard to insurance coverage limitations described herein or later discovered in the course of
              handling this claim. CIC’s determination is based on the information and allegations in the lawsuit
              it has received to date. CIC reserves the right to amend this letter and advise of further defenses as
              additional information becomes available. We reserve the right to file a declaratory relief action
              to determine its rights and duties under the Policy.

              If you receive additional information regarding this incident that you would like CIC to consider,
              please contact me immediately by the fax, e-mail, or postal address below. It is important that we
              receive any such paperwork promptly.

                                  FAX:                303.773.7373
                                  MAIL:               P.O. Box 469012, San Antonio, TX 78246
                                  E-MAIL:             CommercialClaimsMail@argogroupus.com

              Any person who knowingly presents a false or fraudulent claim for the payment of a loss is guilty
              of a crime and may be subject to fines and confinement in state prison. If you have any questions
              or concerns regarding the contents of this letter, please feel free to contact the undersigned at (413)
              773-6403. Thank you for your cooperation.

              Sincerely,


              Jesse D. Russell
              Jesse D. Russell
              Senior Technical Claims Specialist - Environmental
              Colony Insurance Company
              Direct Phone: 413-773-6403
              Email: jesse.russell@argogroupus.com

              Mailing Address: PO Box 469012 San Antonio, TX 78246

              cc.       Peter Gibb, Cross Insurance, pgibb@crossagency.com

              Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or knowingly presents false
              information in an application for insurance is guilty of a crime and may be subject to fines and confinement in prison. The lack
              of such a statement does not constitute a defense in any prosecution for a fraudulent insurance act.
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Reviewer: Lindsay Z.




                                        EXHIBIT C
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Reviewer: Lindsay Z.




                                                                                                      WILLIAM L. BOESCH
                                                                                            BOESCH@SUGARMANROGERS.COM




                 December 23, 2020




                 Via Email

                 Energy EPC, LLC
                 Solar Energy EPC, LLC
                 Revity EPC, LLC
                 117 Metro Center Blvd., Suite 1007
                 Warwick, RI 02886

                        Re:     Damage to Solar Panels at 100-106 Alton Bradford Road, Hopkinton,
                                Rhode Island
                                Colony Insurance Co. Policy No. PACE306698
                                Policy Period 02/01/19 to 02/01/20
                                Colony Reference No. 287875

                 Dear Sir/Madam:

                         This firm represents Colony Insurance Company, which issued the above-
                 referenced Environmental Pollution and Casualty Exposures insurance policy to Energy
                 EPC, LLC. Colony has asked us to assist in its ongoing analysis of your request for
                 coverage under the policy for damage to solar panels at a facility in Hopkinton, Rhode
                 Island.

                        As you know, Energy EPC notified Colony of the matter on September 21, 2020.
                 On October 29, Colony sent you a letter explaining that Colony was reserving its rights as
                 to whether there would be coverage under the policy. Since that time, Colony has
                 received some additional information about the matter, and has continued its coverage
                 analysis. The purpose of this letter is to provide an updated explanation of Colony’s
                 assessment of the matter, and to request that you provide additional information needed
                 to complete the coverage analysis.
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                 William Boesch to Energy EPC et al.
                 December 23, 2020
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                          Background – The Alton Bradford Road Project. As Colony understands the
                 pertinent history of this matter, it is as follows. Energy EPC, LLC is a Rhode Island
                 business, organized in December 2016 as a limited-liability company, which provides
                 engineering, procurement, and construction (EPC) services for the development of solar-
                 energy facilities. In February 2017, Energy EPC obtained the first of a series of one-year
                 liability-insurance policies with Colony. In October 2017, a related entity, Solar Energy
                 EPC, LLC, was formed. Beginning in February 2018, Solar Energy EPC was included as
                 a Named Insured under Energy EPC’s series of insurance policies with Colony.

                         In March 2019, Solar Energy EPC entered into an agreement to perform
                 engineering, procurement, and construction services in connection with a solar-generation
                 project at the 100-106 Alton Bradford Road site. The other party to the March 2019
                 agreement, identified as the site owner, was an entity named “Southern Sky Renewable
                 Energy RI – Alton Road – Hopkinton LLC” (hereinafter, Southern Sky Alton Road). Both
                 Solar Energy EPC and Southern Sky Alton Road operate from the same business address,
                 which is also the address of Energy EPC. The Manager of both Southern Sky Alton Road
                 and Solar Energy EPC is Ralph Palumbo.

                         In June 2019, Solar Energy EPC entered into a subcontract with Massachusetts
                 Electric Construction Company (MEC) to perform certain of the electrical-installation
                 and procurement work, and related services, required for the Alton Bradford Road
                 project. The solar panels or modules were delivered to the site in July 2019, and were
                 installed by MEC between July and October 2019. Based on information you have
                 provided, we understand that during this period, Solar Energy EPC discovered issues
                 with scratching and/or cracking of the panels.

                         In November 2019, Solar Energy EPC assigned all of its rights and obligations
                 concerning the Alton Bradford Road project to a newly formed entity, Revity EPC, LLC.
                 Revity EPC operates from the same business address as Energy EPC, Solar Energy EPC,
                 and Southern Sky Alton Road. Revity EPC’s Manager is Ralph Palumbo. Also in
                 November 2019, Revity EPC and Southern Sky Alton Road executed an amended and
                 restated agreement for the project, which Mr. Palumbo signed on behalf of both parties.

                         The Acuity/BrightSpot Investigation. The Alton Bradford Road project was
                 completed in or about December 2019. By June 2020, two firms, Acuity Power Group
                 and BrightSpot Automation, had been retained to investigate problems with the solar-
                 generation system. On September 3, 2020, Acuity and BrightSpot delivered a report, in
                 the form of presentation slides, about their findings. A summary included in the report
                 refers to a series of problems, including “bypass diode activation,” “hot J-boxes that are
                 not related to bypass diode activation,” “a systematic problem with high contact
                 resistance,” and “cracked cells.” Acuity and BrightSpot made various recommendations
                 for further investigation and resolution of the problems. At some point, LG, the
                 manufacturer of the panels, conducted its own investigation, and prepared a report.
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                          Revity EPC’s Claim Against MEC. On September 11, 2020, Revity EPC sent a
                 letter to MEC asserting a claim for breach of one or more warranties under the June 2019
                 subcontract. While this letter has not yet been provided to Colony, we understand the gist
                 of Revity EPC’s claim to have been that MEC followed improper methods for handling
                 the panels during installation, that a number of the panels received “scratches” on their
                 back sides, that these scratches in many cases produced “microcracks,” and that the
                 cracks interfere with the performance of the panels, requiring that they be replaced.
                 Based on information from Acuity/BrightSpot, Revity EPC estimated that approximately
                 6,000 of the 43,000 panels needed replacement.

                         MEC denied Revity EPC’s claim in a letter of October 19, 2020. MEC argued that
                 Revity EPC failed to show (1) how MEC’s installation work was deficient and fell below
                 the standard required by the subcontract; (2) how MEC caused the scratching of the
                 panels; (3) how the scratching caused the microcracks; and (4) the extent of the cracking
                 problem.

                         Revity EPC’s Request for Coverage. As Colony understands the current request,
                 Revity EPC seeks coverage, under the 2019-20 Colony policy referenced above, for
                 damage to solar panels that Revity EPC believes occurred during MEC’s installation
                 work between July and October 2019. Revity EPC has informed Colony that the owner of
                 the Alton Bradford Road facility, Southern Sky Alton Road, is making a claim against
                 Revity EPC for the damage.

                          The Colony policy provides, in relevant part, that Colony will pay sums that an
                 “insured” becomes “legally obligated to pay as damages” because of “property damage
                 that takes place during the policy period and is caused by an occurrence.”1 In the event of
                 a “suit seeking damages to which this insurance applies,” Colony has “the right and duty
                 to defend the insured against” any such suit.2 The policy also contemplates that Colony
                 may agree to provide assistance in connection with a “claim” against an insured. The
                 policy defines a “claim” as “a written notice, demand or assertion of a legal right alleging
                 liability or responsibility on the part of an insured for a loss….”3




                         1
                           Policy, Form EPACE 001-0415 at 7, ¶ II(1). For purposes of the discussion
                 herein, some policy language may be quoted selectively, and some terms that appear in
                 the policy in bold type, in capital letters, or with other forms of emphasis may be
                 rendered here in plain text. This is for convenience only, and should not be understood as
                 altering or characterizing the coverage afforded by the policy, or limiting the parties’
                 rights or obligations. At all times, reference should be made to the policy itself for a
                 complete statement of the coverage afforded.
                         2
                           Id. at 19, ¶ X(1).
                         3
                           See id. at 20, ¶ X(2); at 49, ¶ XXV(6).
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                         In this case, no suit has been brought, and no actual “claim,” within the meaning
                 of the policy, has yet been asserted against any insured. For this reason, Colony’s
                 assessment of the potential for coverage is necessarily preliminary.

                         Coverage Limited to Insureds. The coverage afforded by the policy applies only
                 to a person or entity who is an “insured” under the policy. The Named Insured listed on
                 the policy’s declarations page is Energy EPC.4 In an endorsement included at the time the
                 policy was issued, on February 1, 2019, Solar Energy EPC is also included as a Named
                 Insured.5 The terms of the policy also include certain other categories of persons and
                 entities as “insureds.”6

                         Revity EPC, however, was not an insured under the policy between February 1,
                 2019 and November 22, 2019. Effective on the latter date, Revity EPC was included by
                 endorsements as an “additional insured.”7 But this additional-insured status provided
                 potential coverage only in the event of Revity EPC’s liability for property damage caused
                 by work performed by, or caused by the acts or omissions of, Energy EPC or Solar
                 Energy EPC.8 Further, these endorsements became effective only after the installation
                 work and alleged damage at issue in this matter. Therefore, there would appear to be no
                 basis for coverage of Revity EPC in connection with a claim involving the solar panels
                 on the Alton Bradford Road project.

                         Other Coverage Issues. The policy’s coverage would apply to a claim for
                 damage to the solar panels only if the damage was caused by an “occurrence”—that is, an
                 accident.9 It is widely recognized in insurance law that “a claim for faulty workmanship...
                 is not an occurrence under a commercial general liability policy because a failure of
                 workmanship does not involve the fortuity required to constitute an accident.”10 Thus, to
                 the extent the alleged damage to the solar panels resulted from MEC’s failure to comply
                 with required standards in handling the panels, there would be no coverage.

                         Further, coverage under the policy is subject to specified exclusions. To begin
                 with, the policy makes clear that it does not appy to property damage “for which the
                 insured is obligated to pay damages by reason of the obligation to perform under, or the
                 assumption of liability in, a contract or agreement.”11 In the event Southern Sky Alton
                 Road were to assert a claim that an insured was liable under the EPC agreement for the


                         4
                           Declarations, Item 1.
                         5
                           Schedule of Forms and Endorsements; Form EPACE 104-0714.
                         6
                           Form EPACE 001-0415 at 34-35, ¶ XX (“Who is an Insured”).
                         7
                           Policy Change No. 2, Form EPACE 100-0814, EPACE 101-0814.
                         8
                           Id.
                         9
                           Form EPACE 001-0415 at 58, ¶ XXV(38).
                         10
                            Couch on Insurance, § 129:4 (Dec. 2020) (emphasis added).
                         11
                            Form EPACE 001-0415 at 13, ¶ IX(1)(c).
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                 Alton Bradford Road facility for damage to the solar panels, there would be no
                 coverage.12

                         The policy also makes clear that it affords no coverage for property damage to an
                 insured’s own “product.”—including any product that the insured “distributed,” “sold,”
                 or “handled.”13 To the extent an insured was involved in procurement of the solar panels
                 for the Alton Bradford Road project, this exclusion could bar coverage.

                         The policy provides no coverage for damage to property “that must be restored,
                 repaired or replaced because your work was incorrectly performed on it.”14 Procurement
                 and installation of the solar panels on the Alton Bradford Road project appears to have
                 been part of an insured’s “work” within the meaning of the policy, which defines “your
                 work” as “work or operations performed by you or on your behalf.”15 Thus, any claim
                 involving an alleged deficiency in the handling and/or installation of the panels would
                 appear likely to fall outside the policy’s coverage.

                          Notice. As indicated above, we understand that issues with scratching and/or
                 cracking of the solar panels were observed during the period of their installation between
                 July and October 2019. The policy requires, as a “condition precedent to coverage,” that
                 an insured give Colony notice “as soon as practicable” of any “occurrence… which may
                 result in a claim.”16 To the extent there was a delay in this case in providing notice to
                 Colony, this may preclude coverage.

                         Application. The policy makes clear that its issuance was “in reliance upon all
                 the statements made in the Application” submitted to Colony. The application for the
                 2019-20 policy asked a variety of questions on topics including the applicant’s
                 relationship and work with affiliated companies and subcontractors. Colony is seeking to
                 ensure, in connection with this matter, that the responses provided on the application
                 were indeed accurate.

                        Additional Information Needed. To further assist Colony in its assessment of
                 this matter, we ask that you please provide, within 14 days, the following documents and
                 information:




                         12
                            Neither of the exceptions to this exclusion appears to apply. The EPC
                 agreement is not an “insured contract” within the meaning of the policy. See Form
                 EPACE 001-0415 at 54, ¶ XXV(25). And the putative claim would not involve liability
                 that an insured would have in the absence of a contract.
                         13
                            Form EPACE 001-0415 at 15, ¶ IX(h); at 62, ¶ XXV(60).
                         14
                            Id. at 15, ¶ IX(g)(6).
                         15
                            Id. at 62, ¶ XXV(61).
                         16
                            Id. at 41, ¶ XXII(1).
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                 1.      The March 1, 2019 agreement between Southern Sky Alton Road and Solar
                         Energy EPC.

                 2.      Details as to the procurement of the solar panels for the Alton Bradford Road
                         project, including the date(s) of and parties to each purchase and sale of panels,
                         and the date(s) of delivery of panels to the site.

                 3.      Details as to the dates of MEC’s work on the project, including the date on which
                         the work began and the date on which MEC last performed work on the project.

                 4.      The assignment agreement dated on or about November 12, 2019, between Solar
                         Energy EPC and Revity EPC.

                 5.      An explanation of the circumstances that led to the November 2019 assignment.

                 6.      Any amendments to the June 2019 subcontract between Solar Energy EPC and
                         MEC resulting from or related to the November 2019 assignment.

                 7.      The date(s) of, and all reports of, any inspections of the solar panels installed at
                         the site from the time of installation to the present, including without limitation
                         inspections by LG, Acuity, and BrightSpot.

                 8.      All communications between Southern Sky Alton Road and any insured or other
                         person or entity (including anyone acting on their behalf) concerning any claim or
                         potential claim concerning the solar panels at the site.

                 9.      All documents concerning any insurance maintained by MEC in connection with
                         the Alton Bradford Road project, and all communications concerning naming of
                         additional insureds on such insurance.

                 10.     All communications between any insured and MEC (including anyone acting on
                         their behalf) with respect to any scratching, cracking, or other problem or
                         deficiency in the solar panels at the site, or any issue with MEC’s installation
                         work, including without limitation the letter dated on or about September 11,
                         2020 from Attorney William Dolan to MEC.

                 11.     As to each of the following entities, identification of (a) all members of the LLC,
                         (b) all other persons or entities who own, directly or indirectly, any interest in the
                         entity, and (c) all other persons or entities involved, directly or indirectly, in
                         controlling the activities of the entity:

                         a.      Energy EPC, LLC

                         b.      Solar Energy EPC, LLC
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                         c.      Revity EPC, LLC

                         d.      Southern Sky Renewable Energy RI – Alton Road – Hopkinton LLC

                         e.      Southern Sky Renewable Energy Rhode Island, LLC

                          Reservation of Rights. For the reasons given above, and subject to its ongoing
                 analysis and evaluation, Colony reserves all its rights with respect to the potential for
                 coverage of a claim involving the solar panels at the Alton Bradford Road site. Naturally,
                 this letter is not intended to explore all conceivable coverage issues that may arise if and
                 when a claim is presented and pursued, and one right that Colony reserves, therefore, is
                 the right to amend and supplement its coverage assessment in the future.

                          The explanation provided in this letter is, furthermore, based on the information
                 available to Colony at this time. If you believe that Colony has misunderstood any of the
                 material facts, or if you believe that Colony should consider additional matters as to the
                 potential claim or the matter of coverage, please bring these to our attention as soon as
                 possible. Colony remains ready and willing to consider any such new information, and to
                 alter its position if and when warranted. Likewise, if you should have any questions about
                 this letter or the positions outlined herein, please feel free to contact me.

                        We look forward to receiving the materials and information requested, and will
                 contact you further following our review.



                                                               Very truly yours,

                                                               /s/ William L. Boesch

                                                               William L. Boesch
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                                        EXHIBIT D
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Envelope: 2958999
Reviewer: Lindsay Z.                                                                       One Citizens Plaza, 8th floor
                                                                                           Providence, RI 02903-1345
                                                                                           Telephone 401-274-7200
                                                                                           Fax 401-751-0604 / 351-4607

                                                                                           175 Federal Street
                                                                                           Boston, MA 02110-2210
                                                                                           Telephone 617-482-0600
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             January 28, 2021

             VIA EMAIL

             William L. Boesch
             Sugarman, Rogers, Barshak & Cohen, P.C.
             101 Merrimac Street, Suite 900
             Boston, MA 02114
             boesch@sugarmanrogers.com

                    Re:     Policy PACE306698-2; Claim No. 287875

             Dear Attorney Boesch:

                    This law firm represents Revity EPC, LLC (“Revity EPC”) and its affiliates with respect
             to Claim No. 287575 (the “Claim”) made by Revity EPC under Policy PACE306698-2 (the
             “Policy”) for indemnification for losses incurred as a result of damage sustained to solar modules
             located at the photovoltaic project constructed at 53D Alton Bradford Road in Hopkinton, Rhode
             Island (the “Property”). More specifically, I am responding to your December 23, 2020
             correspondence (the “Sugarman Correspondence”) as well as the October 29, 2020
             correspondence of Jesse Russell (the “Russell Correspondence”) through which Colony Insurance
             Company (“Colony”) has reserved its rights with respect to the Claim. The purpose of this
             correspondence is to articulate the basis for coverage for the Claim and to respond to the exclusions
             pursuant to which Colony has reserved its rights through the Sugarman Correspondence and the
             Russell Correspondence.

                    A. The Claim is covered under Coverage 1A of the Policy entitled “General Liability
                       Bodily Injury and Property Damage.”

                     The Russell Correspondence acknowledges that Coverage 1A of the Policy entitled
             “General Liability Bodily Injury and Property Damage” provides coverage for losses for which
             the insured becomes legally obligated to pay in connection with property damage caused by an
             occurrence, as later defined in the Policy. The insureds have become legally responsible for
             damages arising from the installation of 43,342 solar modules at the Property. The solar panel
             installation was subcontracted by the insureds to Mass. Electric Construction Co. (“MECC”),
             located in Waltham, Massachusetts, pursuant to a June 12, 2019 Solar System Electrical
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             Installation Subcontract. The solar panels are owned by Southern Sky Renewable Energy RI –
             Alton Road – Hopkinton, LLC (“Southern Sky”) which entity is the project owner. The Property
             has been leased to Southern Sky for the purpose of operating the photovoltaic solar farm.
             Following the discovery of the damage in January of 2020, Southern Sky had the panels studied
             by Acuity Power Group (“Acuity”) which concluded (in a comprehensive report issued in
             September of 2020) that 23.1% of the panels studied exhibit backside scratches which pose a
             significant risk of panel degradation and safety hazard. Extrapolated over the entire solar field of
             43,342 panels, these defects are likely to be present in approximately 10,012 panels. Acuity further
             determined that these backside scratches were caused by manual handling of the modules after the
             pallet was opened in the field or from handling during the installation by MECC. Lastly, it must
             be emphasized that the safety hazards posed by the backside scratches include an increased risk of
             personal injury to personnel working at the Property. The insureds have advised all such personnel
             of the issue and are undertaking a safety taping regime (as recommended by the engineers) to limit
             any risk; however, Colony’s continued refusal to replace these panels increases the risk of a serious
             personal injury at the Property.

                     Based on the Acuity analysis, it is apparent that a significant portion of the panels installed
             at the Property in 2019 have microcracks resulting from backside scratches caused during the
             installation of the panels by MECC. Again, Acuity’s estimates reflected that there are likely as
             many as 10,012 panels damaged by backside scratches resulting from installation defects. Each
             panel costs $212.19 and labor cost per panel is estimated at $100 and, thus, replacement of these
             10,012 panels is estimated to cost $3,125,646. This figure is, of course, an estimate and does not
             include third party consultant expenses that Revity has incurred to address this Claim. This firm
             transmitted a letter to MECC on September 11, 2020 demanding that MECC compensate Revity
             EPC for the losses resulting from the installation errors. Southern Sky issued notice to Revity EPC
             on January 25, 2021 demanding that Revity EPC honor its common law and contractual
             indemnification obligations.

                    B. The Exclusions cited in the Russell Correspondence do not apply to exclude coverage
                       of the Claim.

                    The October 29, 2020 Russell Correspondence cites to several exclusions to Coverage 1A
             under which Colony is reserving its rights under the Policy. First, the Letter cites Exclusions (g)(5)
             and (g)(6) which provide, in relevant part, as follows:

                    g. Damage to Property
                       Property damage or environmental damage to:

                            ...

                           (5) That particular part of any real property on which you or any contractors
                           or subcontractors, whether working directly or indirectly on your behalf, are
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Reviewer: Lindsay Z.                                                                                One Citizens Plaza, 8th floor
                                                                                                    Providence, RI 02903-1345
                                                                                                    Telephone 401-274-7200
                                                                                                    Fax 401-751-0604 / 351-4607

                                                                                                    175 Federal Street
                                                                                                    Boston, MA 02110-2210
                                                                                                    Telephone 617-482-0600
                                                                                                    Fax 617-482-0604

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                              performing operations, if the property damage or environmental damage
                              arises out of those operations; or

                              (6) That particular part of any property that must be restored, repaired or
                              replaced because your work was incorrectly performed on it.

                              ...

                              Paragraphs (3), (4), (5) and (6) of this Exclusion do not apply to liability
                              assumed under a sidetrack agreement.

                              Paragraph (6) of this Exclusion does not apply to property damage or
                              environmental damage included in the products-completed operations
                              hazard.

             EPACE001-0415 at p. 15.1 The Letter states that Exclusion (g) applies to “‘property damage’
             related to that particular part of any real property on which you are performing operations, if the
             ‘property damage’ arises out of those operations” and thus “[t]o the extent that Energy EPC was
             performing operations on the damaged solar panels at issue, CIC must reserve its rights to disclaim
             coverage for such costs.” Exclusion (g)(5) only applies to property damage to real property and
             “real property” is legally defined as “[l]and and anything growing on, attached to, or erected on it,
             excluding anything that may be severed without injury to the land.” BLACK’S LAW DICTIONARY
             574 (3d ed. 1933). Solar panels are not real property under this recognized legal definition and
             thus Exclusion (g)(5) does not apply to this Claim.



             1
                 With respect to Part 1 Coverage, the Policy defines “property damage” as follows:

                       46. Property damage means:

                          a. With respect to Part 1 Coverages:

                          (1) Physical injury to tangible property, including all resulting loss of use of that
                              property. All such loss of use shall be deemed to occur at the time of the physical
                              injury that caused it; or

                          (2) Loss of use of tangible property that is not physically injured. All such loss of use
                              shall be deemed to occur at the time of the occurrence that caused it.
                              ...
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                     Furthermore, Exclusion (g)(6) only applies to damage to “property that must be restored,
             repaired or replaced because your work was incorrectly performed on it.” (second emphasis
             supplied). Again, this Exclusion only applies to property upon which work can be performed (i.e.,
             real property) but, even still, this Exclusion does not apply to any damage included in the products-
             completed operations hazard. The “products-completed operations hazard” provides as follows:

                    44. Products-completed operations hazard:

                       a. Includes all bodily injury, property damage and environmental damage
                          occurring away from premises you own or rent and arising out of your
                          product or your work, except:

                        (1) Products that are still in your physical possession; or

                        (2) Your work that has not been completed or abandoned. Your work will be
                            deemed completed at the earliest of the following times:

                           (a) when all of your work called for in your contract has been completed;

                           (b) when all of the work to be done at the job site has been completed if the
                               contract calls for your work at more than one job site; or

                           (c) when that part of your work done at a job site has been put to its
                               intended use by any person or organization other than another contractor
                               or subcontractor working on the same project.

                            Work that may need service, maintenance, correction, repair or
                            replacement, but which is otherwise complete, will be treated as completed.

                       b. Does not include bodily injury, property damage or environmental
                          damage arising out of:

                 (1) Transportation of property, unless the injury or damage arises out of a condition
                     in or on a vehicle not owned or operated by you, and that condition was created by
                     the loading or unloading of that vehicle by any insured; or

                 (2) The existence of tools, uninstalled equipment or abandoned or unused materials.

             EPACE001-0415 at p. 59. The damage to the solar panels is property damage that occurred on
             premises that the insureds do not own or rent and, moreover, Revity EPC’s work had been
             completed when the products were damaged during MECC’s installation. Thus, Exclusion (g)(6)
             does not apply by virtue of the products-completed operations hazard.
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                                                                                          Providence, RI 02903-1345
                                                                                          Telephone 401-274-7200
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                     Next, the Russell Correspondence cites to Exclusion (h) which excludes the following: “h.
             Damage to Your Product. Property damage or environmental damage to your product,
             arising out of it or any part of it.” EPACE001-0415 at p. 15. The Policy defines “your product” as
             follows:

                    60. Your product means:

                    a. Goods or products, other than real property, manufactured, sold, handled,
                       distributed, altered or repaired by you or others trading under your name; or

                    b. Containers (other than conveyance), materials, parts or equipment furnished in
                       connection with such goods or products.

                    Your product includes:

                    a. Warranties or representations made at any time with respect to the fitness,
                       quality, durability, performance or use of your product; and

                    b. The providing of or failure to provide warnings or instructions.

             EPACE001-0415 at p. 62. The solar panels are not products that were manufactured, sold, handled,
             distributed, altered or repaired by the insureds or “others trading in” the insureds’ name and,
             accordingly, Exclusion (h) does not apply.

                    Lastly, the Russell Correspondence further cites to exclusion (i) which states as follows:

                    i. Damage to Your Work.

                    Property damage or environmental damage to your work arising out of it or any
                    part of it and included in the products-completed operations hazard.

                    This Exclusion does not apply if the damaged work or the work out of which the
                    damage arises was performed on your behalf by a subcontractor.
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             EPACE001-0415 at p. 15 (last emphasis supplied). The property damage underlying the Claim
             was caused by insureds’ subcontractor and, thus, Exclusion (i) does not apply, by virtue of its
             express limitations.

                    C. The Exclusions cited in the Sugarman Correspondence do not apply to exclude
                       coverage of the Claim.

                     Following Mr. Russell’s October 29 correspondence, you transmitted a letter dated
             December 23, 2020 through which you echoed many of the exclusions cited in the previous letter
             but also identified additional reasons why Colony was reserving its rights under the Policy. For
             example, your correspondence asserts that “[t]he policy’s coverage would apply to a claim for
             damage to the solar panels only if the damage was caused by an ‘occurrence’—that is, an accident”
             and “[i]t is widely recognized in insurance law that ‘a claim for faulty workmanship . . . is not an
             occurrence under a commercial general liability policy because a failure of workmanship does not
             involve the fortuity required to constitute an accident.’”

                      While that reasoning may have governed coverage under commercial general liability
             policies at one time, over the last four decades that reasoning has shifted and, “by 1986, insurance
             carriers and policyholders agreed that CGL policies should cover defective construction claims ‘so
             long as the allegedly defective work had been performed by a subcontractor rather than the
             policyholder itself.’” Black & Veatch Corp. v. Aspen Ins. (UK) Ltd., 882 F.3d 952, 959 (10th Cir.
             2018) (citing Christopher C. French, Revisiting Construction Defects as “Occurrences” under
             CGL Insurance Policies, 19 U. Pa. J. Bus. L. 101, 107 (2016)). This sea change arose from a
             revision to Insurance Services Office’s standard form CGL policy in 1976 which “broadened
             coverage by no longer excluding damages arising from faulty subcontractor work” which revision
             responded to complaints from general contractors “who were increasingly reliant on
             subcontractor’s work [and] had become dissatisfied with the lack of CGL policy coverage when
             the general contractor was not directly responsible for the defective work.” Black & Veatch Corp.,
             882 F.3d at 959 (citing Steve Plitt et al., 9A COUCH ON INS. § 129:19 (3rd ed. 2017)). “The majority
             of state supreme courts that have decided whether inadvertent faulty workmanship is an accidental
             ‘occurrence’ potentially covered under the CGL policy have ruled that it can be an ‘occurrence.’”
             Thomas E. Miller, et al., § 6.02 Third Party Coverage, Handling Construction Defect Claims:
             Western States 123 (2018). Thus, with respect to damage to third party property resulting from a
             subcontractor’s faulty workmanship, “the overwhelming trend among state supreme courts has
             been to recognize such damages as ‘occurrences.’” Black & Veatch Corp., 882 F.3d at 971.

                     With respect to the timing and notice issues that you raised in your letter, Solar Energy
             EPC, LLC was the general contractor on the project from March 1, 2019 until November 12, 2019
             when its rights and obligations were assigned to Revity EPC. At all relevant times, Solar Energy
             EPC, LLC was an insured under the Policy and its contractual and common law indemnification
             obligations remained extant following the assignment. Revity EPC has issued a demand to Solar
             Energy EPC with respect to those obligations. Following the assignment, and as your
Case Number: KC-2021-0144
Filed in Kent County Superior Court
               Case 1:21-cv-00136-JJM-LDA
Submitted: 2/12/2021 11:16 AM
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Envelope: 2958999
Reviewer: Lindsay Z.                                                                       One Citizens Plaza, 8th floor
                                                                                           Providence, RI 02903-1345
                                                                                           Telephone 401-274-7200
                                                                                           Fax 401-751-0604 / 351-4607

                                                                                           175 Federal Street
                                                                                           Boston, MA 02110-2210
                                                                                           Telephone 617-482-0600
                                                                                           Fax 617-482-0604

                                                                                           www.apslaw.com



             correspondence notes, Revity EPC was added as an insured on November 22, 2019 and MECC
             completed its installation in December of 2019. The damages to the solar panel modules were
             discovered in January of 2020 and there was extensive investigation of the damage conducted
             thereafter. The manufacturer, LG Electronics USA issued a report on July 7, 2020 and Acuity
             Power Group (“Acuity”) released a 108 page report on September 3, 2020 which concluded that
             23.1% of the sampled modules had backside scratches which had resulted in microcracking of the
             panel cells. Colony was put on notice on September 21, 2020. The suggestion that the insureds
             have not been diligent in their investigation and reporting of this matter is incorrect. Furthermore,
             other third parties who have been given notice of these damages (such as the manufacturer and the
             builder’s risk insurer) undertook extensive engineering reviews of the solar modules before issuing
             their respective legal positions. Colony, on the other hand, has drawn its conclusion without so
             much as visiting the Property.

                    Lastly, your correspondence echoes many of the exclusions cited in the Russell
             Correspondence and asserts that the Claim would be excluded “[t]o the extent that an insured was
             involved in the procurement of the solar panel for the Alton Bradford Road project” and for “any
             claim involving an alleged deficiency in handling and/or installation of the panels . . . .” Like the
             Russell Correspondence, this conclusion is a fundamental misinterpretation and/or misapplication
             of Exclusions (h) and (i) and we strongly urge Colony to reconsider its position.

                    D. The insureds hereby demand that Colony confirm that it will honor its
                       indemnification obligations under the Policy.

                      Under Rhode Island law, where an insurer seeks to deny coverage under a policy exclusion,
             it carries the burden of proving that the exclusion applies. Pickering v. American Employers Ins.
             Co., 109 R.I. 143, 148, 282 A.2d 584, 587 (1971). “[I]f the clause in question is one of exclusion
             or exception, designed to limit the protection, a strict interpretation is applied.” Jackson v. Quincy
             Mutual Fire Ins. Co., 159 A.3d 610, 614 (R.I. 2017). “If a policy contains ambiguous terms that
             are capable of more than one reasonable meaning, [the Court] will strictly construe the policy in
             favor of the insured and against the insurer.” Metro Properties, Inc. v. National Union Fire Ins.
             Co. of Pittsburgh, Pa., 934 A.2d 204, 208 (R.I. 2007) (citing Mallane v. Holyoke Mut. Ins. Co. in
             Salem, 658 A.2d 18, 20 (R.I. 1995)). Additionally, R.I. Gen. Laws § 9-1-33(a) creates a cause of
             action in favor of the insured where an insurer “wrongfully and in bad faith refuse[s] to pay or
             settle a claim made pursuant to the provisions of the policy, or otherwise wrongfully and in bad
             faith refuse[s] to timely perform its obligations under the contract for insurance” and permits
             recovery of compensatory damages, punitive damages, and reasonable attorneys’ fees.
Case Number: KC-2021-0144
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               Case 1:21-cv-00136-JJM-LDA
Submitted: 2/12/2021 11:16 AM
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Reviewer: Lindsay Z.
             January 28, 2021
             Page 8

                    Your correspondence requested eleven categories of documents, some of which exceed the
             boundaries of the insureds’ duty to reasonably cooperate with the insurer’s investigation of a claim.
             Other of your requests seek documents disclosure of which would violate the insureds’ various
             confidentiality covenants. With that said, I have enclosed with this letter documents that respond
             to your request. Please confirm within fourteen (14) days of the date of this correspondence that
             Colony will honor its obligations under the Policy to indemnify the insureds for the losses
             associated with the microcracks/back scratches that have been sustained to Southern Sky’s solar
             modules located at Alton Bradford Road in Hopkinton, Rhode Island. Once you have confirmed
             coverage, we will continue to work with Colony to assemble any additional data needed to
             evidence the magnitude of the losses.


             Regards.




             WILLIAM M. DOLAN III
             wdolan@apslaw.com




             Copy:          Ryan Palumbo (ryan@revityenergy.com)
                            Ralph Palumbo (ralph@revityenergy.com)
                            Kyle Palumbo (kpalumbo@revityenergy.com)
                            Peter Gibb (pgibb@crossagency.com)
                            Chris Plympton (cplympton@crossagency.com)
                            Peter Troy (pjtroy@crossagency.com)
                            Chris Bignon (cbignon@englemartin.com)
                            Jesse Russell (jesse.russell@argogroupus.com)




             Enclosures (transmitted via secured Biscom message)
